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                                                                            Review

     1          IN THE UNITED STATES DISTRICT COURT
     2           FOR THE NORTHERN DISTRICT OF OHIO
     3                   EASTERN DIVISION
     4                        - - -
     5
             IN RE: NATIONAL                       :    HON. DAN A.
     6       PRESCRIPTION OPIATE                   :    POLSTER
             LITIGATION                            :
     7                                             :
             APPLIES TO ALL CASES                  :    NO.
     8                                             :    1:17-MD-2804
                                                   :
     9
                        - HIGHLY CONFIDENTIAL -
    10
           SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
    11
                                         -    -    -
    12
                               November 9, 2018
    13
                                         -    -    -
    14
    15                  Videotaped deposition of
           ERIC CHERVENY, taken pursuant to notice,
    16     was held at the law offices of Reed
           Smith, LLP, 1717 Arch Street,
    17     Philadelphia, Pennsylvania, beginning at
           9:50 a.m., on the above date, before
    18     Michelle L. Gray, a Registered
           Professional Reporter, Certified
    19     Shorthand Reporter, Certified Realtime
           Reporter, and Notary Public.
    20
                                       -     -    -
    21
    22               GOLKOW LITIGATION SERVICES
                  877.370.3377 ph | 917.591.5672 fax
    23                     deps@golkow.com
    24

   Golkow Litigation Services                                         Page 1 (1)
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                                                                            Review
                                          Page 2                                               Page 4
    1   APPEARANCES:                                1   APPEARANCES: (Cont'd.)
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   19
                                                   18   Par Pharmaceutical Holdings, Inc.
                                                   19
   20                                              20
   21                                              21
   22                                              22
   23                                              23
   24                                              24

                                          Page 3                                               Page 5
    1
    2
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    1     APPEARANCES: (Cont'd.)                 1             - - -
    2                                            2        E X H I B I T S (Cont'd.)
          ALSO PRESENT:
                                                 3             - - -
                                                 4
    3                                            5   NO.      DESCRIPTION           PAGE
    4     VIDEOTAPE TECHNICIAN:                  6   AmerisourceBergen
    5      David Lane                                Cherveny-3 E-mail Thread       360
    6                                            7          2/21/18
          LITIGATION TECHNICIAN:                            Subject, DNS List
    7
                                                 8          ABDCMDL00162810-13
                                                 9   AmerisourceBergen
            Zach Hone                                Cherveny-4 E-mail, 8/25/15     371
    8                                           10          Subject, Time Sensitive
    9     ALSO PRESENT:                                     Feedback Requested
   10      Elizabeth Campbell, Esq.
                                                11          ABDCMDL00137146-47
                                                12
           Drew Schnizel, Esq.                       AmerisourceBergen
   11      (AmerisourceBergen)                  13   Cherveny-5 E-mail Thread,      374
   12                                                       7/12/17
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                                                14          Subject, Agenda for
   14                                                       RAC Conference Call
                                                15          ABDCMDL00047022-23
   15                                           16   AmerisourceBergen
   16                                                Cherveny-6 E-mail Thread       367
   17                                           17          2/26/13
   18                                                       Subject, Proposed Meeting
   19
                                                18          With Barbara Bookholdt
                                                            ABDCMDL00145773-74
   20                                           19
   21                                           20
   22                                           21
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    2            INDEX                           2        DEPOSITION SUPPORT INDEX
    3            - - -                           3           - - -
    4                                            4
        Testimony of:      ERIC CHERVENY         5   Direction to Witness Not to Answer
    5                                            6   PAGE LINE
    6       By Mr. Cluff        11                   290 7
    7       By Mr. Pifko        199              7   290 14
    8                                            8
    9
                                                     Request for Production of Documents
   10            - - -                           9
   11           EXHIBITS                             PAGE LINE
   12            - - -                          10   None.
   13
                                                11
   14   NO.      DESCRIPTION        PAGE             Stipulations
   15   AmerisourceBergen                       12
        Cherveny-1 E-mail, 12/11/13  261             PAGE LINE
   16          Subject, Memo of                 13   None.
               Understanding                    14
   17          4/20/2000
               ABDCMDL00146183-86                    Questions Marked
   18                                           15

        AmerisourceBergen                            PAGE LINE
   19   Cherveny-2 Security &    312
                                                16   None.
                                                17
               Regulatory Update                18
   20          VP/DCM Meeting
               Dallas, Texas                    19
   21          8/28/07                          20
               ABDCMDL00269291                  21
   22                                           22
   23                                           23
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    1                - - -                              1   a named party?
    2           THE VIDEOGRAPHER: We are                2        A. No.
    3       now on the record. My name is               3        Q. Who were you testifying --
    4       David Lane, videographer for                4   let me back up.
    5       Golkow Litigation Services.                 5            What was the -- what was the
    6           Today's date is November 9,             6   litigation about?
    7       2018. Our time is 9:50 a.m.                 7        A. I believe it was one of our
    8           This deposition is taking               8   customers.
    9       place in Philadelphia,                      9        Q. Okay. Customer, and you
   10       Pennsylvania, in the matter of             10   said "we." Who is the "we"?
   11       National Opioid Litigation MDL.            11        A. AmerisourceBergen.
   12           Our deponent today is Eric             12        Q. AmerisourceBergen is a large
   13       Cherveny.                                  13   corporation. When you say
   14           Counsel will be noted on the           14   AmerisourceBergen, do you mean the parent
   15       stenographic record.                       15   company or some subsidiary of that
   16           The court reporter is                  16   entity?
   17       Michelle Gray and will now swear           17        A. I believe it was -- when I
   18       in our witness.                            18   just answered that, it was for
   19               - - -                              19   AmerisourceBergen Drug Corp.
   20           ... ERIC CHERVENY, having              20        Q. Okay. So today, if we refer
   21       been first duly sworn, was                 21   to AmerisourceBergen Drug Corp., could we
   22       examined and testified as follows:         22   abbreviate that as ABDC?
   23              - - -                               23        A. Yes, of course.
   24           THE VIDEOGRAPHER: Please               24        Q. And if we are talking about
                                             Page 11                                             Page 13
    1         begin.                                    1   its parent company, AmerisourceBergen
    2             MR. CLUFF: Thank you.                 2   Corp., we can call that ABC. Is that
    3                - - -                              3   good?
    4              EXAMINATION                          4        A. Yes.
    5                - - -                              5        Q. Okay. And so in that New
    6   BY MR. CLUFF:                                   6   York case, do you remember when it was
    7         Q. Mr. Cherveny, before we get            7   filed?
    8   started, can you just spell your first          8        A. No.
    9   and last name on the record to make sure        9        Q. Okay. But you recall giving
   10   it's clear?                                    10   a deposition approximately a year ago?
   11         A. Yeah. Eric, E-R-I-C. Last             11        A. No, no. It was several
   12   name Cherveny, C-H-E-R-V-E-N-Y.                12   years ago.
   13         Q. Okay. Thank you.                      13        Q. Oh, I'm sorry. Several
   14             And you understand that              14   years ago, thank you.
   15   you're here as a fact witness today to         15            Within the last five years?
   16   give a deposition, correct?                    16        A. No. I believe it was longer
   17         A. Yes.                                  17   than that.
   18         Q. Okay. And have you ever               18        Q. Okay. So maybe between five
   19   given a deposition before?                     19   and ten?
   20         A. Yes.                                  20        A. Yes.
   21         Q. When was that?                        21        Q. All right. And you said
   22         A. A few years ago in New York.          22   that you believed it was one of ABDC's
   23         Q. Okay. And was that in                 23   customers. What -- do you have a
   24   connection with litigation where you were      24   recollection of what the allegation was?
   Golkow Litigation Services                                                   Page 4 (10 - 13)
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    1        A.   Absolutely no recollection               1         Q. But today you don't recall?
    2   at all.                                            2         A. That's correct.
    3        Q.   Absolutely no recollection.              3         Q. Makes perfect sense.
    4   Okay.                                              4             I may ask you questions that
    5            Do you know if it was in                  5   touch on issues that you may have
    6   state court or federal court?                      6   discussed with your attorneys. I'm never
    7        A. It was Eliot Spitzer's team                7   asking you to disclose what we call
    8   that was deposing me, so...                        8   attorney/client privilege. And your
    9        Q. So since it's been a while                 9   attorney may at times interject an
   10   since you've given a deposition, I wanted         10   objection to clarify that you can answer
   11   to go over some things called                     11   the question, but caution you not to
   12   admonitions, just so you can understand           12   reveal communications that you had with
   13   again. I mean, I'm sure your lawyer has           13   your attorneys.
   14   prepared you for today's deposition.              14             But I am entitled to know
   15            One of the things that we                15   information that's within your own
   16   like to do, though, just to make sure             16   personal knowledge, aside from what you
   17   everybody is on the same page on the              17   learned from them. Does that make sense?
   18   record.                                           18         A. Yes.
   19            So I'm entitled to have your             19         Q. Okay. Great. I want to
   20   best understanding and your best                  20   stay with this New York litigation a
   21   recollection to all of my questions               21   little bit.
   22   today. Your attorney is entitled to               22             Are you aware of any other
   23   object to my questions. But unless your           23   litigation that was filed by
   24   attorney specifically instructs you not           24   AmerisourceBergen customers against ABDC?
                                                Page 15                                           Page 17
    1   to answer a question, I'm entitled to an           1        A. No.
    2   answer. Okay?                                      2        Q. Never?
    3        A. Yes.                                       3        A. Not that I -- not that comes
    4        Q. I'm not going to ask you to                4   to mind right now.
    5   guess ever. But I am entitled to, as I             5        Q. Not that comes to mind.
    6   said earlier, your best recollection.              6   Okay.
    7   Sometimes I may ask you for an estimate            7            Is there any other
    8   or your best attempt at getting to the             8   litigation that AmerisourceBergen has
    9   information that I'm asking.                       9   been involved in that you can recall
   10            At times, I may ask you                  10   aside from the litigation here today?
   11   questions to which you may not know the           11            MR. NICHOLAS: Object to the
   12   answer. I'm entitled to know, though,             12        form.
   13   whether you knew the answer to that               13            THE WITNESS: I mean,
   14   question at the time, and you just can't          14        there's litigation that's
   15   recall, or whether you never knew.                15        happening, but it's really not a
   16            Do you understand the                    16        part of my direct job
   17   difference?                                       17        responsibilities. So I might be
   18        A. Yes.                                      18        generally aware of it. But it's
   19        Q. Right. So for an example,                 19        not something that I know any
   20   this New York litigation, at some point           20        detail.
   21   in time you knew something about the              21   BY MR. CLUFF:
   22   allegations, correct?                             22        Q. What litigation are you
   23        A. Yeah, at some time I did,                 23   generally aware of?
   24   yeah.                                             24            MR. NICHOLAS: Object to the
   Golkow Litigation Services                                                    Page 5 (14 - 17)
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    1        form.                                      1         Q. And you don't know -- you
    2            THE WITNESS: I couldn't                2   mentioned earlier that it was about a
    3        even -- I couldn't even state. I           3   customer. You don't know which specific
    4        can't tell you anything at this            4   customer, right?
    5        point.                                     5         A. No.
    6   BY MR. CLUFF:                                   6         Q. We're going to talk later
    7        Q. But you said that you're                7   about your job responsibilities in a
    8   generally aware of litigation. What is          8   little more detail. But do you have any
    9   your general awareness?                         9   familiarity in your role at
   10            MR. NICHOLAS: Object to the           10   AmerisourceBergen or ABDC about the kinds
   11        form.                                     11   of complaints that customers might have
   12            THE WITNESS: I'll see                 12   against ABDC that would lead to
   13        e-mails from time to time. But,           13   litigation?
   14        again, it's something that I'll           14             MR. NICHOLAS: Object to the
   15        see in passing. But I have a very         15         form.
   16        busy job. So it's not something           16             Go ahead.
   17        that I spend any time reviewing.          17             THE WITNESS: Not in any
   18   BY MR. CLUFF:                                  18         detail.
   19        Q. Okay. This New York                    19   BY MR. CLUFF:
   20   lawsuit, do you know who was suing who at      20         Q. Okay. But do you have a
   21   the time?                                      21   general understanding?
   22        A. It was so long ago that it's           22         A. I know that lawsuits are
   23   something that I couldn't even -- I            23   filed against the company. But I don't
   24   wouldn't feel comfortable answering that.      24   really spend time going into it in any
                                             Page 19                                            Page 21
    1   I don't know.                                   1   detail. Like I said, I have a different
    2        Q. You mentioned the name Eliot            2   set of job responsibilities. It doesn't
    3   Spitzer and their team. Do you know if          3   really include that.
    4   it was an action brought by a                   4        Q. I understand that your job
    5   governmental entity?                            5   responsibilities might include other
    6        A. No.                                     6   aspects of ABDC's business. But if
    7        Q. You don't know if it was an             7   you're telling me that you have a general
    8   Attorney General?                               8   understanding, I'm entitled to understand
    9        A. I don't know.                           9   your understanding.
   10        Q. Is there anything else that            10            So aside from the fact that
   11   you remember at all?                           11   you can't give me any particular detail,
   12        A. I remember absolutely                  12   what general understanding do you have of
   13   nothing about it.                              13   the lawsuits that get filed against ABDC?
   14        Q. Okay. You don't remember if            14            MR. NICHOLAS: Object to the
   15   it was resolved by way of a settlement?        15        form.
   16        A. No.                                    16            THE WITNESS: Very little.
   17        Q. No judgment entered?                   17        Like I said, it doesn't really
   18        A. No.                                    18        come into play with my direct
   19        Q. What were you called on to             19        responsibilities with the company
   20   testify about?                                 20        at this time.
   21            MR. NICHOLAS: Objection.              21   BY MR. CLUFF:
   22            THE WITNESS: I don't                  22        Q. But what little do you
   23        recall.                                   23   understand? That's what I'm asking you
   24   BY MR. CLUFF:                                  24   to explain to me.
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    1            MR. NICHOLAS: Object to the            1        A. Yes.
    2       form. Asked and answered.                   2        Q. Okay. So going forward I
    3            THE WITNESS: I mean, it's              3   think we'll understand that, and there
    4       going to vary depending on                  4   won't be an issue.
    5       lawsuit, from lawsuit to lawsuit.           5            All right. We might come
    6       I'm not going -- - I'm sure they            6   back to these lawsuits a little bit
    7       have a case against the company             7   later. But I think let's talk about your
    8       for whatever reasons, you know,             8   experience and your job. Does that make
    9       that they have. But I don't know            9   sense?
   10       anything -- any details about the          10        A. Yes.
   11       litigation beyond that.                    11        Q. Okay. So are you employed
   12   BY MR. CLUFF:                                  12   by ABDC?
   13       Q. When you say "they," do you             13        A. No.
   14   mean customers?                                14        Q. Okay. So who are you
   15       A. It could be customers. It               15   employed by?
   16   could be government entities.                  16        A. I'm employed by the parent
   17       Q. What kind of cases do                   17   company, ABC.
   18   government entities file against ABDC?         18        Q. Okay. How does your
   19            MR. NICHOLAS: Objection to            19   relationship to ABDC work out then?
   20       form. Asked and answered.                  20            MR. NICHOLAS: Object to the
   21            THE WITNESS: I think I've             21        form.
   22       answered the question. I don't             22            THE WITNESS: Subsidiary
   23       have anything more than a basic            23        company of ABC.
   24       understanding that the company has         24   BY MR. CLUFF:
                                             Page 23                                             Page 25
    1        lawsuits placed against it. I              1        Q. Okay. And so what
    2        don't have any detailed knowledge          2   responsibilities as an employee of ABC do
    3        about anything about the lawsuits          3   you have towards ABDC?
    4        that are placed against it other           4        A. I'm the director of
    5        than what I've told you.                   5   diversion control and security for the
    6   BY MR. CLUFF:                                   6   company.
    7        Q. Sure. So your lawyer just               7        Q. Is diversion control the
    8   objected "asked and answered." And your         8   same thing as security?
    9   response was "I think I've answered the         9        A. No.
   10   question."                                     10        Q. So you have kind of two
   11             So your lawyer, like I said,         11   responsibilities then, it sounds like,
   12   is entitled to object. But I'm entitled        12   diversion control and then security
   13   to the answer that you were going to give      13   separate from diversion control?
   14   me prior to the objection unless you're        14        A. The formal title has some
   15   instructed not to answer.                      15   security components to it. But it's
   16             So if you hear an objection          16   primarily diversion that I'm responsible
   17   like asked and answered, I'm still             17   for.
   18   entitled to my answer. You can't just          18        Q. Okay. How long have you
   19   change your answer to say that you've          19   been an employee of ABC?
   20   answered the question.                         20        A. Going on 22 years.
   21             Sometimes my questions are           21        Q. 22 years. So that's
   22   going to be slightly different than the        22   sometime in the '90s, maybe '96?
   23   ones that I've previously asked. Does          23        A. Yes.
   24   that make sense?                               24        Q. Okay. And when you started
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    1   with -- when you started working in '96,        1        record. We'll get it corrected.
    2   did you join ABC or some prior iteration        2   BY MR. CLUFF:
    3   of that entity?                                 3        Q. What do you mean by
    4        A. The company I joined at the             4   conducting a patrol?
    5   beginning was Bergen Brunswick                  5        A. We could -- we could conduct
    6   Corporation.                                    6   detect patrols. We had a wand and --
    7        Q. And what was your title when            7   that had little readers throughout the
    8   you joined Bergen Brunswick?                    8   building and would document that a
    9        A. I was a security officer.               9   security patrol was done and when it was
   10        Q. What were your -- what were            10   done.
   11   your job responsibilities as a security        11        Q. You said had a wand that
   12   officer?                                       12   helped you document when the patrols were
   13        A. Basic security functions,              13   conducted. But what were the patrols?
   14   conducting patrols, conducting escorts,        14        A. To walk through the entire
   15   transporting executives.                       15   building, all floors, and just monitor
   16        Q. What are basic security                16   the building to make sure that there was
   17   functions?                                     17   no dangers, that there was no fire, that
   18        A. Dealing with security                  18   there was nothing -- nothing going on
   19   issues, if a fight occurs, if                  19   from a security nature that would be
   20   unauthorized personnel enter the               20   concerning.
   21   property.                                      21        Q. Okay. And you mentioned
   22        Q. So, basically, making                  22   that you were responsible for conducting
   23   sure --                                        23   escorts. What would you be escorting?
   24            MR. NICHOLAS: He wasn't --            24        A. Associates to their cars, if
                                             Page 27                                             Page 29
    1        he wasn't finished.                        1   they had a spousal dispute, executives to
    2   BY MR. CLUFF:                                   2   the airport, executives from the airport
    3        Q. I'm sorry. I didn't mean to             3   and related duties.
    4   interrupt you. Sorry.                           4        Q. So it sounds like there was
    5        A. Basically just related                  5   some overlap with the conducting escorts
    6   duties.                                         6   and transporting executives that you
    7        Q. Okay. So if I'm                         7   mentioned, right?
    8   understanding you correctly, it sounds          8        A. Yes.
    9   like that aspect of your job was to just        9        Q. Okay. So when you were with
   10   make sure that the physical location           10   Bergen Brunswick, there was -- there was
   11   where you were employed was safe and           11   no diversion control responsibilities, it
   12   secure. Would you agree with that?             12   sounds like, correct?
   13            MR. NICHOLAS: Object to the           13        A. That's correct.
   14        form.                                     14        Q. Okay. And how long did you
   15            THE WITNESS: Yes, I would.            15   hold this title of security officer at
   16   BY MR. CLUFF:                                  16   Bergen Brunswick?
   17        Q. Okay. You also mentioned               17        A. I don't recall exactly.
   18   conducting controls. What does it mean         18   Approximately two years.
   19   to conduct a control?                          19        Q. Two years. So maybe like
   20        A. I'm not --                             20   '96 to '98-ish?
   21            MR. NICHOLAS: I think he              21        A. Yes.
   22        said patrol.                              22        Q. Before you joined Bergen
   23            MR. CLUFF: Okay. Patrol.              23   Brunswick, did you -- what level of
   24        My fault. There's a typo in the           24   education did you complete?
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     1         A. Just high school and some              1        Q. So we said that -- or you
     2   college.                                        2   said that from '96 to '98 you were a part
     3         Q. Okay. High school and some             3   of the security office or group at Bergen
     4   college. And where did you do the               4   Brunswick, right?
     5   college?                                        5            And was that at a facility
     6         A. Golden West College in                 6   in Southern California?
     7   Huntingdon Beach, California.                   7        A. Yes, it was.
     8         Q. Oh, yeah. I know it.                   8        Q. Do you know where it was?
     9            So are you originally from             9        A. 4000 Metropolitan Boulevard,
    10   west coast?                                    10   Orange, California.
    11         A. Yes.                                  11        Q. I know it.
    12            MR. CLUFF: It's time to               12            Okay. And what did you do
    13         wake up for somebody.                    13   after you were a security officer?
    14   BY MR. CLUFF:                                  14        A. Well, they were looking for
    15         Q. When you were working with            15   a volunteer to type confidential
    16   Bergen Brunswick, did you work with Chris      16   transcriptions of interrogations that our
    17   Zimmerman?                                     17   investigators conducted. I type fast. I
    18         A. Yes. He was with the                  18   typed about 60 words a minute back then
    19   company when I joined.                         19   accurately. So I volunteered and I
    20         Q. Okay. And what was his                20   listened to recordings for eight hours a
    21   position at that time?                         21   day, five days a week, and typed
    22         A. I don't recall his exact              22   transcriptions of those investigations
    23   title.                                         23   they never used, and after about six
    24         Q. Okay. But you stayed with             24   months of doing that, I got noticed by
                                              Page 31                                              Page 33
     1   the company as it merged up into                1   the executives upstairs and I got
     2   eventually becoming ABC, correct?               2   promoted to -- to upstairs.
     3        A. That's correct.                         3        Q. I want to go back to Golden
     4        Q. When you were at Golden                 4   West just for a second. How long -- how
     5   West, what kind of classes did you take?        5   long were you attending classes at Golden
     6        A. General education, mainly.              6   West?
     7        Q. Okay. Anything specialized              7        A. What time period?
     8   towards security?                               8        Q. Yeah. Like in terms of
     9        A. No.                                     9   months, years, weeks?
    10        Q. Did you complete an                    10        A. I think it was about one
    11   Associate's degree?                            11   year.
    12        A. No, I did not.                         12        Q. About a year.
    13        Q. Did you have any law                   13            And were you a full-time
    14   enforcement-type classes?                      14   student?
    15        A. No, I did not at that time.            15        A. I don't know if I was
    16        Q. So you'd agree with me that            16   formally full-time, but I was taking a
    17   none of your college classes overlapped        17   pretty full load.
    18   with the security responsibilities you         18        Q. Okay. And so were you
    19   had at Bergen Brunswick, right?                19   taking a full load for two semesters
    20            MR. NICHOLAS: Object to the           20   or -- what was your workload while you
    21        form.                                     21   were at Golden West?
    22            THE WITNESS: Yes, I would             22        A. It was -- I think it was
    23        agree.                                    23   close to a full load. I think I was
    24   BY MR. CLUFF:                                  24   taking about five classes per semester.
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     1        Q. Per semester. How come you               1   four investigators, and I would type
     2   decided not to pursue a further education        2   transcriptions for their individual
     3   at Golden West?                                  3   investigations as per their request. So
     4        A. I decided to join the Navy.              4   given the time period that's passed, I
     5        Q. Awesome. When were you in                5   wouldn't feel comfortable answering how
     6   the Navy?                                        6   many investigations were conducted, you
     7        A. I was in the United States               7   know, at one time, or during the entire
     8   Navy from -- from '86 to '91.                    8   six months. I just have no recollection
     9        Q. Were you on a boat?                      9   of that.
    10        A. Yes.                                    10        Q. The investigators that
    11        Q. Or ship, excuse me?                     11   worked at that time, were they full-time?
    12        A. Yes, I was assigned to the              12        A. Yes. I believe so.
    13   USS Nimitz.                                     13        Q. Okay. And were they
    14        Q. What -- what was your                   14   employed by Bergen Brunswick, or were
    15   responsibility in the Navy?                     15   they outside consultants?
    16        A. I was a radar air traffic               16        A. No. They were Bergen
    17   controller. I was a final, final                17   Brunswick associates.
    18   controller on board the Nemitz from '87         18        Q. So Bergen Brunswick -- is it
    19   to '91.                                         19   fair to say that Bergen Brunswick had a
    20        Q. So no, no security                      20   serious concern about internal theft at
    21   responsibilities there though, right?           21   that time?
    22        A. I volunteered for shore                 22            MR. NICHOLAS: Object to the
    23   patrol pretty much every time I had duty.       23        form.
    24   So in that capacity I had -- I had              24            THE WITNESS: Yes. We've
                                               Page 35                                              Page 37
     1   security experience.                             1        always taken that very seriously
     2        Q. Makes sense. The                         2        as a company.
     3   interrogations that you were typing, I           3   BY MR. CLUFF:
     4   believe that's the word you used, right?         4        Q. In 1998 was there -- what --
     5        A. Yes.                                     5   what were the drugs being stolen, or what
     6        Q. Okay. Those were from                    6   products were being stolen?
     7   investigations that Bergen Brunswick             7        A. I mean I would say generally
     8   employees were conducting?                       8   it would have been controlled substances.
     9        A. Yes, that's correct.                     9   Also Viagra was a -- was a product that
    10        Q. What kind of investigations             10   was commonly stolen from our distribution
    11   were they?                                      11   centers.
    12        A. They were various                       12        Q. Any particular category of
    13   investigations. But per my recollection,        13   controlled substances that were being
    14   they primarily involved internal thefts         14   stolen at that time?
    15   of controlled substances.                       15        A. No, they spanned all
    16        Q. In the six months that you              16   categories. We had vault products as
    17   were transcribing those interrogations          17   well as caged products that would be
    18   how many investigations do you think were       18   Schedule II, as well as Schedule III
    19   ongoing at that time?                           19   through V products.
    20        A. I have no idea.                         20        Q. Okay. What is a vault
    21        Q. Could you give me a                     21   product?
    22   ballpark, maybe like more than 10, more         22        A. The vaults are maintained to
    23   than 20?                                        23   hold Schedule II narcotics, and that's
    24        A. I mean there were three or              24   per federal regulations.
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     1        Q. Okay. Are all narcotics                   1        Q. And it sounds like what
     2   Schedule II narcotics or is there some            2   you're saying is per the DEA regulations,
     3   variation in that group?                          3   those needed to be more secure than the
     4        A. Narcotics are broken into                 4   Schedule IIIs, correct?
     5   Schedule II and II-N. There'd be two,             5        A. That's correct.
     6   Schedule II narcotics and non-narcotics.          6        Q. And what is your
     7        Q. Okay. And then what's a                   7   understanding of why they needed to be
     8   caged product?                                    8   more secure?
     9        A. Those are products                        9        A. Generally speaking, per, per
    10   categorized in Schedule IIIs, IVs and Vs.        10   federal regulations, the more powerful
    11        Q. What's the difference                    11   the drug family, you know, the higher the
    12   between a cage and a vault?                      12   regulatory requirement for storage.
    13        A. Well, a vault is pretty much             13        Q. What do you mean when you
    14   what you would see in a bank. It's got           14   say a more powerful?
    15   steel walls and it's constructed in              15        A. Well, controlled substances
    16   accordance with federal regulations to           16   are broken into Schedule I through Vs.
    17   hold controlled substances, specifically         17   Is, Schedule I products have no medicinal
    18   narcotics.                                       18   value like LSD. It's used for like in a
    19            The cage is really just                 19   research and laboratories.
    20   exactly the way it's indicated. It's a           20            Schedule IIs generally are
    21   cage that's chain-link fence that                21   from the opiate pop, either it's
    22   generally has five sides, four sides plus        22   basically narcotics, opium. Generally
    23   a ceiling. That's basically -- and it's          23   used for cancer patients, pain
    24   all constructed within federal                   24   medications. Schedule IIIs, IVs and Vs,
                                                Page 39                                             Page 41
     1   regulation, regulatory requirements.              1   as you move up that number, the lesser
     2        Q. Sure. So if I understand                  2   control it has. Like Schedule V would be
     3   you correctly, the cage products, they go         3   children's NyQuil with codeine. It still
     4   inside this fence enclosure, and those            4   has the codeine in it so it has to be
     5   are Schedule IIIs -- or III, IV and Vs,           5   categorized as a control. But has very
     6   correct?                                          6   little potential for abuse because it's
     7        A. That's correct.                           7   in a lower quantity.
     8        Q. It would seem like maybe                  8         Q. Is it your opinion that
     9   less security is necessary around those           9   children's NyQuil with codeine does not
    10   products is -- is what is happening,             10   have a likelihood of abuse?
    11   because there's a cage, not a vault?             11             MR. NICHOLAS: Object to the
    12        A. Yes, per federal regulation.             12         form.
    13        Q. Okay. In your experience                 13             Go ahead.
    14   was there less likelihood of theft of the        14             THE WITNESS: I would say
    15   Schedule IIIs versus Schedule IIs?               15         that it has less likelihood of
    16        A. No. No, pretty much it was               16         abuse than -- than some other
    17   all stolen pretty -- pretty -- I mean            17         products, yeah.
    18   based on my recollection I think it was          18   BY MR. CLUFF:
    19   pretty common negative inventories for           19         Q. I'm going to circle back to
    20   the cage and the vault product.                  20   my question because you gave me a lot of
    21        Q. Mm-hmm. And then so the                  21   information. I'm not sure if -- if I
    22   vault products, those were the Schedule          22   understand the answer to the answer to my
    23   IIs, correct?                                    23   question.
    24        A. Yes.                                     24             You earlier testified that,
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     1   per federal regulations, the more               1            MR. NICHOLAS: Object to the
     2   powerful the drug family the higher the         2        form. Go ahead.
     3   regulatory requirement. My question was,        3            THE WITNESS: Yes, I would
     4   what do you mean when you say the more          4        agree with that.
     5   powerful the drug is it needs more              5   BY MR. CLUFF:
     6   security.                                       6        Q. Okay. So I'm just wondering
     7            What would you describe as a           7   if in your head there's a connection
     8   more powerful effect that one drug has          8   between a drug being more prone to
     9   versus another?                                 9   diversion and abuse and a drug being more
    10            MR. NICHOLAS: Object to the           10   powerful?
    11        commentary before the question.           11            MR. NICHOLAS: Object to the
    12        Go ahead.                                 12        form.
    13            THE WITNESS: Well, our DEA            13            THE WITNESS: Not always.
    14        categorizes these drugs. And they         14   BY MR. CLUFF:
    15        determine the -- the higher               15        Q. But sometimes?
    16        propensity for diversion and              16        A. Yes.
    17        abuse, and they are the ones that         17        Q. Okay. So like the drugs in
    18        basically set where they are to be        18   Schedule II, you mentioned narcotics and
    19        stored.                                   19   opium-based products, those are more
    20            So we just follow those               20   powerful than some drugs in Schedule III,
    21        regulations. I'm not a                    21   correct?
    22        pharmacist. I don't have, you             22        A. Yes.
    23        know, I don't have detailed               23        Q. Okay. And based on your
    24        knowledge of -- of the actual             24   testimony earlier, drugs in Category 2
                                              Page 43                                            Page 45
     1         chemical breakdown of those drugs,        1   would be as determine -- would have been
     2         so I would just leave it at that.         2   determined by the DEA to be more prone to
     3             But the DEA pretty much sets          3   diversion and abuse, correct?
     4         the requirements and we follow            4             MR. NICHOLAS: Object to the
     5         that requirement.                         5         form.
     6   BY MR. CLUFF:                                   6             THE WITNESS: Well, they are
     7         Q. That makes sense. Okay. So             7         more powerful. Not all Schedule
     8   I just want to make sure I understand.          8         IIs are as prone for abuse as --
     9   I'm not trying to rehash anything here.         9         as other -- other Schedule IIs.
    10   Earlier you said more powerful, and then       10         But I would say DEA makes those
    11   I asked for a little more of an                11         determinations and we follow that
    12   explanation. And then you followed up          12         like I said.
    13   with this explanation that the DEA sets        13   BY MR. CLUFF:
    14   these lists or categories.                     14         Q. Okay. I'm confused though.
    15             Does that make sense at that         15   So you said that in your head there is a
    16   point?                                         16   connection between the power of a drug
    17             MR. NICHOLAS: Object to the          17   and its -- its likelihood of diversion
    18         form.                                    18   and abuse, right?
    19             THE WITNESS: Yes.                    19         A. Based on DEA. Because based
    20   BY MR. CLUFF:                                  20   on DEA's findings and their -- and their
    21         Q. And that the -- that the              21   analysis of those drugs, yes.
    22   lists or categories are based on               22         Q. Okay. So then it's your --
    23   likelihood of abuse and diversion. Did I       23   it's your opinion that the DEA has
    24   get that correct?                              24   categorized the more powerful drugs as
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     1   you've referred to them as drugs that are        1        think that's what -- yes. That's
     2   more prone to diversion and abuse, right?        2        what DEA -- that's what DEA
     3            MR. NICHOLAS: Object to the             3        determines.
     4        form.                                       4   BY MR. CLUFF:
     5            THE WITNESS: Yes.                       5        Q. Okay. I think earlier you
     6   BY MR. CLUFF:                                    6   talked about that AmerisourceBergen is
     7        Q. Okay. And C-IIs are higher               7   committed to -- and I don't want to put
     8   than C-IIIs, right?                              8   words in your mouth. So if I get this
     9        A. That's correct.                          9   wrong, please help me understand -- is
    10        Q. Let me back up. I used an               10   committed to making sure that they follow
    11   abbreviation. I said C-II and C-III. If         11   DEA direction regarding C-IIs and C-IIIs,
    12   I say C-II, do you understand that I'm          12   right?
    13   talking to Schedule II drugs, right?            13        A. I'm sorry. Can you restate
    14        A. Yes.                                    14   that?
    15        Q. And if I say C-III we are               15        Q. Sure. When we were talking
    16   talking about Schedule III drugs?               16   about how the DEA classifies drugs into
    17        A. Yes.                                    17   the schedules, right, Schedule I,
    18        Q. Okay. So C-IIs -- backing               18   Schedule II, Schedule III, I recall you
    19   up again -- they're more powerful than          19   answering to the effect that
    20   C-III?                                          20   AmerisourceBergen or ABDC is committed to
    21        A. Yes, they are.                          21   following DEA direction about the
    22        Q. So as a general category                22   classification of drugs, right?
    23   they are more likelihood -- more likely         23        A. We're committed to following
    24   to be diverted and subject to abuse than        24   direction as per the regulation as to
                                               Page 47                                             Page 49
     1   C-III, right?                                    1   where they are stored.
     2            MR. NICHOLAS: Object to the             2        Q. As to where they're stored.
     3       form.                                        3   Okay.
     4            THE WITNESS: Well, not                  4            So then that means
     5       always. I mean, prometh with                 5   AmerisourceBergen's commitment only
     6       codeine is a Schedule V, and it's            6   extends as far as the cages and the
     7       highly abused in the United                  7   vaults are concerned; is that right?
     8       States, in many cases more so than           8            MR. NICHOLAS: Object to the
     9       narcotics.                                   9        form.
    10            So I would say that the DEA            10            THE WITNESS: Yes.
    11       breaks down those drug categories,          11   BY MR. CLUFF:
    12       and they tell us where we are               12        Q. All right. I'd like to go
    13       supposed to store them. So                  13   back to the investigations for a second.
    14       generally the DEA considers them            14            Do you recall any of the
    15       more likely to be abused.                   15   outcome of these investigations that you
    16   BY MR. CLUFF:                                   16   were transcribing?
    17       Q. Okay. Understood. So I                   17        A. No. I wasn't involved in
    18   think we'd agree then that the higher you       18   that at all.
    19   go on the schedule, right, C-V, C-IV,           19        Q. Do you know if Bergen
    20   C-III, C-II, there's a higher likelihood        20   Brunswick ever uncovered any internal
    21   of abuse?                                       21   thefts of C-II or C-III?
    22            MR. NICHOLAS: Object to the            22        A. Based on my experience as a
    23       form.                                       23   regional director, yes, I can tell you
    24            THE WITNESS: I mean, I                 24   that we have identified internal thefts
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     1   and we have -- we have -- through the             1   specific investigations about thefts of
     2   investigation, we identified who -- who           2   prescription opioids?
     3   the theft was happening -- or who was             3        A. Yes. That was a -- that was
     4   conducting the theft.                             4   a category of drug that we conducted
     5        Q. Okay. Maybe our -- maybe                  5   investigations on.
     6   our lines got crossed there, because you          6        Q. Okay. What is your earliest
     7   answered about your experience as a               7   recollection of an investigation of a
     8   regional director. And you said that              8   theft of a prescription opioid?
     9   you -- that we -- I'm using the "we" that         9        A. I don't remember.
    10   you used -- have identified thefts. Were         10        Q. Okay. You worked for the
    11   you answering about your current                 11   company for 22 years. Would you have
    12   responsibilities as a regional director          12   become aware of an investigation
    13   for ABC?                                         13   regarding the theft of prescription
    14        A. No.                                      14   opioids when you were transcribing
    15        Q. Oh, okay. So you were                    15   investigations between -- or after '98?
    16   talking about Bergen Brunswick at the            16        A. Yes. I mean, that's --
    17   time?                                            17   that's when I would have been exposed to
    18        A. Well, I'm not currently --               18   those kinds of investigations.
    19   I'm not currently regional director.             19        Q. Okay. So that's maybe a
    20   That was my previous role before I took          20   reasonable beginning point on when you
    21   over diversion.                                  21   became aware of investigations, correct?
    22        Q. Okay.                                    22        A. Yes.
    23        A. But you asked sort of a                  23        Q. Do you know when
    24   broad question. So, yes, we have as a            24   prescription opioids first hit the
                                                Page 51                                              Page 53
     1   company identified internal thefts.               1   market? And by the market, I mean to be
     2       Q. Okay. What was stolen? If                  2   written for use by everyday consumers.
     3   you want to categorize what's been stolen         3        A. No.
     4   I'm okay with that.                               4        Q. If I told you that OxyContin
     5            MR. NICHOLAS: Object to the              5   was first approved for use in 1999, would
     6       form.                                         6   that jog your recollection?
     7            THE WITNESS: I mean over                 7        A. No.
     8       the course of 22 years, the                   8        Q. Okay. Do you recall
     9       various drugs, I couldn't give you            9   investigations about prescription opioids
    10       specifics.                                   10   anytime after 2000?
    11            Everywhere -- everything                11        A. Yes. I was exposed to
    12       from non-controlled prescription             12   investigations post 2000 time frame.
    13       drugs like Viagra to controlled              13        Q. Okay. When would that have
    14       substances in all categories.                14   been?
    15   BY MR. CLUFF:                                    15        A. Post 2000.
    16       Q. Okay. What kinds of                       16        Q. Okay. Coming back to your
    17   controlled substances were stolen?               17   responsibilities today as a director for
    18       A. Like I said, all categories.              18   ABC, when is the most recent
    19       Q. Anabolic steroids?                        19   investigation that you can recall
    20       A. All categories. I don't                   20   regarding the theft of a prescription
    21   recall specific investigation for a theft        21   opioid?
    22   of anabolic steroids. But I wouldn't be          22        A. In my current role, we don't
    23   surprised if it happened.                        23   conduct investigations of internal
    24       Q. Okay. Do you recall any                   24   thefts. That's handled by a different
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     1   team.                                           1        if internal theft is considered a
     2        Q. Sure. That's fair. It's                 2        component of the overall diversion
     3   not the question I asked you though. I          3        control program. It might touch
     4   asked you when was the most recent              4        on that. But it's certainly not
     5   investigation that you were aware of?           5        something that my team handles
     6            MR. NICHOLAS: Object to the            6        directly.
     7        form and the commentary. No need           7   BY MR. CLUFF:
     8        for that.                                  8        Q. Okay. All right. So it
     9            Go ahead.                              9   sounds like the investigations thing is
    10            THE WITNESS: I don't                  10   pretty well outside your area of
    11        recall.                                   11   expertise. Would you agree with that?
    12   BY MR. CLUFF:                                  12        A. At this time, yes.
    13        Q. Anytime in the last year?              13        Q. Okay. So you said that you
    14        A. My job is extremely busy.              14   typed up these investigations for six
    15   And it takes up all of my time. So I           15   months. Was that still in California?
    16   really don't pay attention to internal         16        A. Yes.
    17   thefts. If that comes up, it's                 17        Q. And that was at the Orange,
    18   transferred to a different team. My job        18   the City of Orange address, right?
    19   is to operate and run the diversion            19        A. Correct.
    20   program. I don't really get involved in        20        Q. Okay. And then you made a
    21   internal thefts at our distribution            21   comment earlier that while you were doing
    22   center level.                                  22   that, you got noticed by the executives.
    23        Q. So internal thefts are not             23   Did I get that right?
    24   investigated as part of the diversion          24        A. Yes.
                                              Page 55                                             Page 57
     1   program?                                        1        Q. Okay. Who would the
     2            MR. NICHOLAS: Object to the            2   executives have been and what did they
     3        form.                                      3   notice?
     4            THE WITNESS: Not by my                 4            MR. NICHOLAS: Object to the
     5        team.                                      5        form.
     6   BY MR. CLUFF:                                   6            THE WITNESS: They noticed
     7        Q. Whose team investigates                 7        that I broke -- that I was pretty
     8   them?                                           8        good at English, and I was able to
     9        A. It would be probably a joint            9        break down the -- the interview
    10   effort between the regulatory team and         10        interrogations into paragraphs. I
    11   the investigative team.                        11        was able to break -- break the
    12        Q. Okay. And who, who are                 12        grammar down properly in the
    13   responsible for those teams?                   13        interrogation report that I
    14        A. Steve Mays for regulatory              14        transcribed. So basically, they
    15   and Bruce Gundy for investigations.            15        just noticed the reports that I
    16        Q. So those two teams would be            16        was generating for them.
    17   investigating internal thefts, correct?        17   BY MR. CLUFF:
    18        A. That's correct.                        18        Q. And who would the executives
    19        Q. Okay. Is that part of                  19   have been?
    20   AmerisourceBergen's diversion control          20        A. Chris Zimmerman and the
    21   program?                                       21   investigators that I was conducting the
    22            MR. NICHOLAS: Object to the           22   transcriptions for.
    23        form.                                     23        Q. Who would the investigators
    24            THE WITNESS: I can't recall           24   have been?
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     1        A. John Bruce, John Gibson,                1   governmental subpoenas?
     2   Greg Madsen. There might have been more,        2        A. Yes.
     3   but that's the three that come to mind.         3        Q. Okay. What kind of
     4        Q. When you were doing these --            4   information requests would you be
     5   the transcriptions, were you still a            5   receiving?
     6   security officer?                               6        A. It varied. Across the board
     7        A. Yes.                                    7   mostly sales requests, request for sales
     8        Q. Who were you reporting to at            8   data from our customers. But it -- it
     9   that time?                                      9   was on various subject matters.
    10        A. Leo Schmock.                           10        Q. What kind of information
    11        Q. Can you spell that for me?             11   were you providing to state and federal
    12        A. Leo, L-E-O. Schmock,                   12   agencies?
    13   S-C-H-M-O-C-K, I believe.                      13        A. Sales reports and other --
    14        Q. That was between '96 and               14   other information, per the subpoena.
    15   roughly the middle of 1998, correct?           15   Like I said they pretty much -- the
    16        A. Yes.                                   16   subpoenas that we received, you know,
    17        Q. All right. And do you know             17   were on an array of subject matters.
    18   what Leo Schmock's position was?               18        Q. Okay. How long did you work
    19        A. I think it evolved, but when           19   in this department?
    20   I was hired I believe he was the manager       20        A. I worked there until the
    21   of security services.                          21   merger in 2001.
    22        Q. And after you got noticed by           22        Q. But your responsibilities in
    23   the executives, was there a change in          23   that department, would you agree with me,
    24   your job responsibilities?                     24   had no diversion control overlap at all,
                                              Page 59                                              Page 61
     1        A. Yes.                                    1   right?
     2        Q. What was the change?                    2            MR. NICHOLAS: Object to the
     3        A. I was moved upstairs. And I             3        form.
     4   was given the responsibility of taking          4            THE WITNESS: That's
     5   over subpoenas, information requests from       5        correct.
     6   state and federal agencies, as well as          6   BY MR. CLUFF:
     7   licensing.                                      7        Q. Okay. So you said there was
     8        Q. Subpoenas, information                  8   a merger in 2001?
     9   requests from state and federal agencies        9        A. Yes.
    10   and licensing. Okay.                           10        Q. Okay. And that was between
    11            And what department was that          11   Bergen Brunswick and who?
    12   that you were involved in then?                12        A. Amerisource Health.
    13        A. I don't remember exactly               13        Q. Was there any change in your
    14   what -- what our department was called         14   responsibilities at the time of the
    15   under Bergen.                                  15   merger?
    16        Q. Okay. And who were you                 16        A. Yes.
    17   reporting to at that time?                     17        Q. And what was that?
    18        A. I believe I was reporting              18        A. I was relocated from Orange,
    19   to -- directly to Chris Zimmerman.             19   California, to Chesterbrook,
    20        Q. And so you would be                    20   Pennsylvania, and I continued to conduct
    21   assisting the company in responding to         21   the licensing and information requests
    22   subpoenas?                                     22   for a period of time, but -- but shortly
    23        A. Correct.                               23   thereafter I took over the east region as
    24        Q. And were those civil and               24   a regulatory manager.
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     1         Q. Okay. Did you have a job               1   to manager of regulatory compliance.
     2   title when you were in the department           2   Either manager or supervisor. I can't
     3   that handled the subpoenas and other            3   remember what the exact title was.
     4   information requests?                           4         Q. Okay. So prior to the
     5         A. I did. I don't recall what             5   merger, you don't recall having a job
     6   it was though.                                  6   title. Or you just don't recall what it
     7         Q. Okay. And what years would             7   was.
     8   you have been working in that group, you        8         A. I had a title. I just don't
     9   said it was 1998 to 2001?                       9   recall what it was.
    10         A. Roughly.                              10         Q. Okay. And you were working
    11         Q. Okay. And that was -- that            11   in information requests essentially,
    12   was the job you held before the merger,        12   right?
    13   right?                                         13         A. And licensing was a big part
    14         A. Yes.                                  14   of my job as well.
    15         Q. Okay. Did you have any                15         Q. What do you mean by
    16   other job responsibilities during that         16   licensing?
    17   time?                                          17         A. So I -- I coordinated all
    18         A. We were asked to do --                18   licensing for each of our distribution
    19   conduct, you know, duties, you know, on        19   centers. So we had, I believe, 26
    20   various different -- on various subject        20   distribution centers on the Bergen side
    21   matters. But I think that's pretty much        21   and I handled that up to the merger. And
    22   what all my responsibilities entailed.         22   then post merger we picked up another 26
    23   That pretty much took all my time. I was       23   distribution centers, I believe, that
    24   busy. I was one person doing subpoena          24   Amerisource had, for a total of 52
                                              Page 63                                             Page 65
     1   information requests and handling               1   distribution centers. So I was
     2   licensing for all their distribution            2   responsible for bringing those divisions
     3   centers. That took up -- that took up           3   together, conducting name changes on the
     4   almost all my time.                             4   licensing, and a lot of other related
     5        Q. Okay. That's fine. And                  5   work, related to that merger.
     6   then you said after the merger you were         6            There was a lot of work that
     7   relocated from Orange County, California,       7   was involved when you merge two
     8   to Chesterbrook, Pennsylvania, right?           8   distribution centers from two different
     9        A. Yes.                                    9   companies. So I was involved with that
    10        Q. Okay. And you said you                 10   for probably the first six months to a
    11   continued to conduct the licensing and         11   year after the merger. And that was --
    12   information requests?                          12   that was the reason, because I was pretty
    13        A. For a period of time, yes.             13   much the licensing expert for our -- for
    14        Q. Okay. Do you remember if               14   our company, Bergen Brunswick, and so I
    15   the department you were working in at          15   coordinated all that.
    16   that time after the merger had a name?         16        Q. So it sounds like you -- you
    17        A. Yeah. Post merger we became            17   bled between two time periods there. I
    18   the corporate security regulatory affairs      18   just want to make sure I understand what
    19   department.                                    19   we were talking about.
    20        Q. And did you have a job title           20            So from '98 to 2001, when
    21   when you switched over to the new              21   the company was Bergen Brunswick, in
    22   company?                                       22   addition to the information requests that
    23        A. At that time, I think I                23   you handled, you also managed the
    24   stated before, I think they switched me        24   licensing for all 26 of Bergen
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     1   Brunswick's distribution centers, right?         1   occurred, there was a combination of
     2        A. That's correct.                          2   Bergen Brunswick's distribution centers
     3        Q. Okay. And what did that                  3   and Amerisource Health's distribution
     4   entail?                                          4   centers, correct?
     5        A. Renewing the -- the DEA                  5        A. Yes.
     6   registrations. I was responsible for             6        Q. Okay. And you were
     7   bringing Bergen Brunswick distribution           7   responsible for integrating the licensing
     8   centers into a batch renewal, which was a        8   of those two groups of distribution
     9   new project that the DEA rolled out in           9   centers?
    10   that time frame.                                10        A. That's correct.
    11            And also all the state                 11        Q. All right. And that was
    12   licenses that the distribution centers --       12   part of your responsibility as either the
    13   each distribution center held a number of       13   manager or supervisor of regulatory
    14   state licenses, maybe, you know, five to        14   compliance?
    15   ten state licenses that they distributed        15        A. No. I wasn't -- I don't
    16   into. So -- so basically, all licenses          16   think it was included in that -- in that
    17   that the distribution centers held,             17   job title. But I kept -- I kept that
    18   federal and state.                              18   previous responsibility for a period of
    19        Q. Okay. And in your job                   19   time, then it was subsequently
    20   responsibilities where you were handling        20   transferred to a member of the legal
    21   the information requests and the                21   department after -- after I took over my
    22   licensing of distribution centers, you          22   new role as -- I believe it was
    23   reported directly to Chris Zimmerman?           23   supervisor of regulatory compliance.
    24        A. I don't recall who I                    24        Q. Okay. So you handled the
                                               Page 67                                               Page 69
     1   reported to post merger, but at some             1   licensing until it moved to legal,
     2   point I transferred to Steve Mays.               2   correct?
     3        Q. I'm talking about                        3        A. Yes.
     4   pre-merger. I'm sorry.                           4        Q. Do you recall when that was?
     5        A. I'm sorry. Pre-merger I                  5        A. No. I think it was -- it
     6   believe I was reporting directly to Chris        6   was post -- obviously it was post 2001.
     7   Zimmerman for that entire period.                7   I think it took us about a year to
     8        Q. Understood. So in 2001 the               8   transfer the licenses to the new name.
     9   merger happened, correct?                        9        Q. Okay. So at the time of the
    10        A. Correct.                                10   merger I think you referenced that a new
    11        Q. And then Bergen Brunswick               11   department in ABC was created called the
    12   merged with Amerisource Health, right?          12   corporate security and regulatory affairs
    13        A. Correct.                                13   department, correct?
    14        Q. Do you know what the name of            14        A. That's correct.
    15   that entity was?                                15        Q. Did an entity similar to
    16        A. The post merger name?                   16   that exist at Bergen Brunswick prior to
    17        Q. Yeah.                                   17   the merger?
    18        A. That is when                            18        A. Yes.
    19   AmerisourceBergen Corporation was               19        Q. And what was that called?
    20   created.                                        20        A. Yeah, that was what I don't
    21        Q. Okay. So that is the                    21   recall.
    22   beginning of ABC then?                          22        Q. Got it. Do you know if an
    23        A. That's correct.                         23   entity like that existed at Amerisource
    24        Q. And when the merger                     24   Health prior to the merger?
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     1        A. Yes, it did.                             1        A. I don't recall the exact
     2        Q. Okay. Do you know what that              2   dates.
     3   was called?                                      3        Q. Can you give me a ballpark
     4        A. No, I don't recall that                  4   on how long you were that -- were in that
     5   either.                                          5   position?
     6        Q. But out of the merger came               6        A. Well, the regions changed
     7   the CSRA, correct?                               7   and shifted over time, and my title
     8        A. That's correct.                          8   shifted over time. But I basically held
     9        Q. All right. And you became a              9   that general responsibility from
    10   supervisor of compliance?                       10   approximately 2002 until 2015.
    11        A. I think it was the                      11        Q. Okay. Can you name any
    12   supervisor of regulatory compliance, yes.       12   states that were in the east region in
    13        Q. And what were your                      13   2001?
    14   responsibilities as a supervisor of             14        A. Pretty much as far northeast
    15   regulatory compliance?                          15   as you can go. Maine, Massachusetts,
    16        A. I was assigned the east                 16   Rhode Island, New York, Rhode Island, New
    17   region. So I basically was responsible          17   Jersey, Pennsylvania, certainly North
    18   for all regulatory and security                 18   Carolina.
    19   requirements for my distribution centers.       19        Q. How about Florida?
    20   And I also conducted audits of my               20        A. No, I don't believe that was
    21   distribution centers, as well as                21   included. That was part of the south
    22   distribution centers outside of my              22   region I believe.
    23   region.                                         23        Q. South region.
    24        Q. What -- what states were in             24            What about Ohio?
                                               Page 71                                             Page 73
     1   the east region if you can recall?               1        A. I don't recall.
     2        A. The breakdown of each region             2        Q. How many regions were there
     3   has shifted over the -- over that period         3   at the time?
     4   of time. So I don't recall what the              4        A. That also shifted over time.
     5   region consisted of when I was initially         5        Q. How about in 2001? How many
     6   assigned it.                                     6   regions were there?
     7        Q. What was involved in being               7        A. I don't recall.
     8   responsible for regulatory requirements          8        Q. Okay. How many regions are
     9   for your distribution centers?                   9   there today?
    10        A. Basically all of security               10        A. Again, it's outside of my
    11   requirements. We also conducted OSHA            11   area. I believe there's four regions.
    12   audits. So it really entailed everything        12   But I could be -- I could be mistaken.
    13   the DEA would do if they came into our          13   Again, it's not really something that I
    14   distribution center and conducted an            14   focus on in my current responsibilities.
    15   audit. And so we would basically oversee        15        Q. Were there ever more than
    16   all of the state and federal requirements       16   four regions?
    17   from a regulatory and security                  17        A. I believe there was five at
    18   standpoint. And we would conduct an             18   one time.
    19   audit and we would just do internal             19        Q. So at some point there may
    20   audits and -- and we would correct any          20   have been five. Now there are four?
    21   deficiencies that we identified.                21        A. I'm not sure about that.
    22        Q. What time period were you               22   But I think that may be accurate.
    23   employed as the regulatory compliance           23        Q. Okay. Do you know who was
    24   supervisor?                                     24   responsible for the south region in 2001?
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     1        A. No.                                    1   regulatory standpoint and audited for
     2        Q. Do you know who would know             2   that.
     3   that information?                              3        Q. So that -- does that mean
     4            MR. NICHOLAS: Object to the           4   that you were essentially responsible for
     5        form.                                     5   the cages and the vaults?
     6            Go ahead.                             6        A. We had on-site management
     7            THE WITNESS: I'm sure it's            7   that were responsible for day-to-day
     8        in our files. I'm sure that --            8   functionality. But I would go in
     9        I'm sure we could find it in our          9   periodically and audit, you know, for the
    10        documentation. Steve Mays would          10   federal requirements and the state
    11        know I think.                            11   requirements for their day-to-day
    12   BY MR. CLUFF:                                 12   operations.
    13        Q. Do you know if Steve Mays             13        Q. Which kind of requirements
    14   was responsible for the Florida -- for        14   for day-to-day operations were you
    15   the south region in 2001?                     15   auditing?
    16        A. No. When I took over the              16        A. Ensuring the inventories
    17   east region, he was the director that I       17   were conducted properly. We keep
    18   reported to. So he wouldn't have been         18   perpetual inventories for our controlled
    19   directly responsible for the south            19   substances to ensure that there's no
    20   region.                                       20   daily or internal theft. Again, we did
    21        Q. Do you know how many                  21   OSHA audits. We would ensure that proper
    22   distribution centers there were in the        22   training was conducted. We could ensure
    23   east region when you took over                23   that the procedures were being followed
    24   responsibility for it?                        24   with regards to shipment and receiving of
                                             Page 75                                             Page 77
     1        A. No, I don't recall that.               1   controlled substances and prescription
     2        Q. Do you remember the names of           2   drugs, and similar requirements that we
     3   any of the distribution centers that you       3   maintained.
     4   were responsible for?                          4        Q. What do you mean by ensuring
     5        A. I know some of them.                   5   that the procedures were being followed
     6        Q. Which ones?                            6   with regard to shipments and receiving
     7        A. Thorofare, New Jersey;                 7   controlled substances and prescription
     8   Mansfield, Massachusetts; Bethlehem came       8   drugs?
     9   on after I took over that region. It's         9        A. Well, our distribution
    10   changed -- it shifted so many times in        10   centers have a lot of internal
    11   that -- in that multiple-year period. I       11   requirements with regard to shipment of
    12   just don't recall.                            12   controlled substances.
    13        Q. I want to go back to your
    14   job responsibilities. You said you were
    15   in charge of regulatory and security and
    16   then audits. Did I get that right, as
    17   the supervisor of regulatory compliance?
    18        A. Yes.
    19        Q. Okay. So what did it mean
    20   to be in charge of regulatory compliance
    21   for the distribution centers?
    22        A. Well, as I stated, we
    23   oversaw all state and federal
    24   requirements from a security and
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                                                          1   they're properly completed. Receiving of
                                                          2   narcotics, we have to make sure that
                                                          3   those -- those forms are completed
                                                          4   properly.
                                                          5            Customer returns, we have to
                                                          6   look at the product and make sure that
                                                          7   the product, you know, wasn't opened.
                                                          8            There was a lot of OSHA
                                                          9   requirements that we followed from a
                                                         10   security -- safety standpoint.
                                                         11            There's a lot of -- there's
                                                         12   a lot of state requirements that we have
                                                         13   to follow for prescription drugs as well
                                                         14   since that is not on a federal
                                                         15   jurisdiction. That's more state
    16        Q. Sounds like those are about             16   jurisdiction.
    17   the security of the product, though,            17            So there's a whole array of
    18   correct?                                        18   state-specific regulations that we also
    19        A. Yes.                                    19   have to follow with regard to
    20        Q. Okay. So what you were                  20   prescription drugs. So we have a very
    21   auditing as the supervisor of the               21   long audit checklist that we follow at
    22   regulatory compliance -- as a supervisor        22   that level.
    23   of the regulatory compliance was really         23            So it takes about a full
    24   just about, is the distribution center          24   week to conduct those audits. There's a
                                               Page 79                                             Page 81
     1   following the security regulations for           1   lot of requirements that we have to
     2   controlled substances in the distribution        2   follow.
     3   center, correct?                                 3        Q. So you talked about a number
     4            MR. NICHOLAS: Object to the             4   of different regulatory requirements. Is
     5        form.                                       5   that all of the regulatory requirements
     6            THE WITNESS: Not just                   6   that you were overseeing as a supervisor
     7        security. Regulatory as well. I             7   at that point in time?
     8        mean, most of our distribution              8            MR. NICHOLAS: Object to the
     9        centers back then were using paper          9        form.
    10        222 forms for shipment and                 10            THE WITNESS: Yeah, during
    11        receiving of narcotics.                    11        that period of time, we audited to
    12            So there's a whole array of            12        ensure the distribution centers
    13        federal requirements on a                  13        were following all state and
    14        regulatory standpoint that we had          14        federal regulations.
    15        to ensure that the distribution            15   BY MR. CLUFF:
    16        centers were following as well.            16        Q. Okay. At that -- you said
    17            Not all of that specifically           17   during that period of time. So when you
    18        covers security. There's a lot of          18   say that period of time, you mean from
    19        regulatory requirements that we're         19   approximately 2001 until when?
    20        required to follow as a                    20        A. Until I was transferred to
    21        wholesaler.                                21   diversion in 2015.
    22   BY MR. CLUFF:                                   22        Q. So in 2015 is the first time
    23        Q. Like what?                              23   that you start doing any diversion work?
    24        A. 222 forms, making sure that             24            MR. NICHOLAS: Object to the
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     1        form.                                      1        Q. Mr. Cherveny, you understand
     2             THE WITNESS: Yes.                     2   that you're still under oath, right?
     3   BY MR. CLUFF:                                   3        A. Yes.
     4        Q. Okay. So at the                         4        Q. Okay. Great.
     5   distribution centers, when you were the         5            When we broke last time, we
     6   supervisor, your only focus is the              6   were talking about your responsibilities
     7   regulatory requirements that you've             7   as the supervisor of regulatory
     8   described to me so far?                         8   compliance at the newly formed ABC
     9        A. Well, I --                              9   entity, correct?
    10             MR. NICHOLAS: Object to the          10        A. Yes.
    11        form.                                     11        Q. Okay. You said that you
    12             THE WITNESS: I didn't                12   held that position from approximately
    13        describe all the requirements. I          13   2001-2002 to 2015?
    14        gave you an overview of a lot of          14        A. Correct.
    15        requirements. But I said there            15        Q. Okay. And when you first
    16        was a lot of other related                16   stepped into that role, you were
    17        responsibilities that we audited          17   responsible for the east region, correct?
    18        for.                                      18        A. Correct.
    19   BY MR. CLUFF:                                  19        Q. Okay. And did your
    20        Q. Okay. Are there any other              20   responsibilities ever increase as a
    21   regulatory requirements that are more          21   supervisor of regulatory compliance at
    22   important than the ones you've described       22   any time between 2002 and 2015?
    23   to me?                                         23        A. No.
    24             MR. NICHOLAS: Object to the          24        Q. So you essentially held the
                                              Page 83                                               Page 85
     1       form.                                       1   same job for 13 years?
     2           THE WITNESS: I wouldn't                 2        A. Correct.
     3       put -- I wouldn't categorize                3        Q. And during that entire time,
     4       regulatory requirements as                  4   you were responsible for a region of
     5       important and non-important.                5   AmerisourceBergen's distribution centers?
     6       They're all important.                      6        A. Correct.
     7   BY MR. CLUFF:                                   7        Q. And those responsibilities
     8       Q. Are there any additional                 8   covered all things related to regulatory
     9   regulatory requirements that stand out to       9   compliance and security compliance and
    10   you that you haven't described to me yet?      10   audits?
    11       A. There could be. None that               11             MR. NICHOLAS: Is that -- is
    12   come to mind right now.                        12        it a question?
    13           MR. CLUFF: Why don't we                13   BY MR. CLUFF:
    14       take a quick break. We've been             14        Q. Did I get that right?
    15       going about an hour. We can all            15        A. Well, we would audit
    16       stretch our legs and we'll come            16   according to the audit checklist. But,
    17       back and pick up again, like five,         17   yes, it entailed security and regulatory
    18       10 minutes.                                18   compliance.
    19           THE VIDEOGRAPHER: Going off            19        Q. So you were responsible for
    20       the record. 10:49 a.m.                     20   regulatory and security compliance. And
    21           (Short break.)                         21   then as part of that responsibility, you
    22           THE VIDEOGRAPHER: Back on              22   would audit the distribution centers,
    23       record at 11:15 a.m.                       23   correct?
    24   BY MR. CLUFF:                                  24        A. Correct.
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     1        Q. Okay. So as the person who               1       that the -- it's the title that
     2   was overseeing the regulatory and                2       the regulations that we follow are
     3   security compliance, you had to have, I'm        3       basically under.
     4   assuming, a very thorough understanding          4   BY MR. CLUFF:
     5   of the regulatory requirements for the           5       Q. Is the Controlled Substance
     6   distribution centers, correct?                   6   Act part of Title 21?
     7            MR. NICHOLAS: Object to the             7       A. I'm not sure.
     8        form.                                       8       Q. Are you familiar with the
     9            THE WITNESS: Yes, I had an              9   term "Code of Federal Regulations"?
    10        understanding of the regulations.          10       A. Yes.
    11   BY MR. CLUFF:                                   11       Q. What's your understanding of
    12        Q. And where do those                      12   the Code of Federal Regulations?
    13   regulations come from?                          13           MR. NICHOLAS: Object to the
    14            MR. NICHOLAS: Object to the            14       form.
    15        form.                                      15           THE WITNESS: The Code of
    16            THE WITNESS: Depending on              16       Federal Regulations is what the
    17        the jurisdiction, state and                17       DEA utilizes to -- to outline what
    18        federal.                                   18       we're required to do from a
    19   BY MR. CLUFF:                                   19       federal regulatory standpoint.
    20        Q. Okay. And for the federal               20   BY MR. CLUFF:
    21   jurisdiction, what is the -- is there a         21       Q. Have you ever heard of the
    22   governing statute?                              22   Controlled Substances Act?
    23            MR. NICHOLAS: Object to the            23       A. Yes.
    24        form.                                      24       Q. Where have you heard of it?
                                               Page 87                                             Page 89
     1             THE WITNESS: There are a               1       A.    I don't recall.
     2        lot of regulations that -- that             2       Q.    You don't recall.
     3        apply to what we do as a                    3            You understand that
     4        wholesaler.                                 4   AmerisourceBergen sells controlled
     5   BY MR. CLUFF:                                    5   substances, right?
     6        Q. Okay. Is there a governing               6       A. Yes.
     7   statute?                                         7       Q. And you don't recall when
     8        A. I'm not sure what you mean               8   you've heard the term "Controlled
     9   by governing statute.                            9   Substances Act" before?
    10        Q. Okay. Is there a statute at             10       A. I don't recall the initial
    11   the federal level that creates the              11   time that I heard that.
    12   regulatory requirements you're referring        12       Q. Is it something that you're
    13   to?                                             13   familiar with in your work though?
    14             MR. NICHOLAS: Object to the           14       A. More of its existence, yes.
    15        form.                                      15       Q. So from 2002 to 2015, you
    16             THE WITNESS: I know there             16   described the regulatory and security
    17        was Title 21 that the regulations          17   compliance responsibilities as
    18        are contained in.                          18   essentially making sure that the
    19   BY MR. CLUFF:                                   19   regulations regarding vault security and
    20        Q. What's Title 21?                        20   cage security were being followed,
    21             MR. NICHOLAS: Object to the           21   correct?
    22        form. No lawyer. Go ahead.                 22            MR. NICHOLAS: Object to the
    23             THE WITNESS: It's the --              23       form.
    24        it's the regulation that the --            24            THE WITNESS: Correct.
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     1   BY MR. CLUFF:                                    1   responsibilities. I'm just trying to
     2        Q. Okay. You also mentioned                 2   make sure I understand what you've
     3   Form 222; is that right?                         3   explained to me as being the scope of
     4        A. Yes.                                     4   your duties. Does that make sense?
     5        Q. Okay. What's a Form 222?                 5        A. Yes.
     6        A. It's a narcotic order form.              6        Q. Okay. So again, we talked
     7        Q. And what was your regulatory             7   about the vault and cage security,
     8   compliance responsibility regarding order        8   Form 222, and now I'm asking about
     9   forms?                                           9   physical security at the distribution
    10            MR. NICHOLAS: Object to the            10   centers. That was another area of your
    11        form. Go ahead.                            11   responsibility?
    12            THE WITNESS: We would -- we            12        A. Yeah, to audit for that.
    13        would review a number of 222 forms         13        Q. To audit for that.
    14        as part of the audit.                      14        A. Yes.
    15   BY MR. CLUFF:                                   15        Q. So you were not in charge of
    16        Q. So you weren't doing                    16   security. You just audited security?
    17   anything with them on a daily basis. You        17        A. Well, I audited the
    18   interacted with them while you were             18   distribution centers. The compliance
    19   auditing distribution centers?                  19   manager reported to me and they were
    20        A. I'm not sure what you mean              20   responsible for it, for the distribution
    21   by interacted with them.                        21   centers within my region.
    22        Q. Did you ever fill out a                 22        Q. And I also recall that --
    23   Form 222?                                       23   that you were responsible for auditing
    24        A. Never.                                  24   receipts of shipments and shipments that
                                               Page 91                                              Page 93
     1        Q. Except for when you were                 1   went out to customers, right?
     2   conducting an audit, were you ever               2        A. That procedures were
     3   required to review Form 222s?                    3   followed regarding those operations, yes.
     4        A. Yes, we reviewed Form 222                4        Q. What procedures were you
     5   forms.                                           5   auditing?
     6        Q. As a part of audits or as                6        A. There's various procedures.
     7   part of your regular responsibilities?           7        Q. Can you describe some to me?
     8        A. As part of the audit.                    8        A. As I stated before, receipts
     9        Q. Okay. Aside from vault and               9   of controlled substances have to be
    10   cage security, and Form 222s, I think you       10   identified upon receipt. They have to be
    11   also mentioned just like physical               11   verified and they have to be maintained
    12   security of -- physical security of the         12   under constant supervision. There's
    13   distribution centers. Did I get -- is           13   multiple requirements we had internally
    14   that correct?                                   14   that I don't have in front of me. So
    15            MR. NICHOLAS: Object to the            15   that's just the basic requirements that
    16        form.                                      16   they have.
    17            Are you talking about                  17        Q. You were the guy that was
    18        throughout his entire testimony or         18   responsible for auditing these practices,
    19        just --                                    19   right?
    20   BY MR. CLUFF:                                   20            MR. NICHOLAS: Object to the
    21        Q. From 2002 to 2015 when you              21        form. Go ahead.
    22   were the supervisor of regulatory               22            THE WITNESS: Yes.
    23   compliance, I'm just trying to understand       23   BY MR. CLUFF:
    24   the scope of your regulatory compliance         24        Q. So I'm just trying to
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     1   understand what you know about the               1        Q. So you worked with that
     2   procedures that you were auditing. Does          2   policy for 13 years?
     3   that make sense?                                 3        A. Yes, I did.
     4            MR. NICHOLAS: Object to the             4        Q. And you can't recall it?
     5        form.                                       5            MR. NICHOLAS: Object to the
     6            THE WITNESS: Yes.                       6        form.
     7   BY MR. CLUFF:                                    7   BY MR. CLUFF:
     8        Q. Okay. So you said shipments              8        Q. You can answer my question.
     9   and receipts. So you audited the                 9        A. I recall it in a general
    10   procedures to make sure they were being         10   sense, but without having that in front
    11   followed, correct?                              11   of me, those policies evolve over time.
    12        A. Yes.                                    12   So I wouldn't feel comfortable, you know,
    13        Q. Okay. And then I believe                13   discussing that as it might not be the
    14   another area that you talked about              14   same as it was when I was doing it. Plus
    15   auditing was order filling; is that             15   it was years ago.
    16   correct?                                        16        Q. It was three years ago,
    17        A. Well, order filling was,                17   correct?
    18   yeah, the -- the process of -- of filling       18        A. Yes.
    19   an order that's going to be shipped. So         19        Q. I'm entitled to understand
    20   we had limited responsibility. That was         20   your general sense of it that you just
    21   mostly operations. But there were some          21   testified to having. So please explain
    22   things that tied to regulatory.                 22   to me your general sense of that policy
    23        Q. Okay. So you would have                 23   and procedure.
    24   audited the regulatory compliance of the        24        A. With regards to what
                                               Page 95                                             Page 97
     1   order-filling process, essentially making        1   specific operation?
     2   sure that the pills that were on the             2        Q. The filling of orders out of
     3   shelves in the vaults or the -- the              3   the cages and vaults.
     4   cages, got onto the order pallet                 4        A. So the -- the cage and the
     5   correctly and got to the customer, right?        5   vault has order fillers that -- that --
     6        A. Yeah, in accordance with our             6   whose responsibility is that they -- that
     7   internal policy.                                 7   they take the product, they put them in
     8        Q. Okay. What internal policy               8   the totes according to customer orders.
     9   was that?                                        9   And depending on if it's cage or vault,
    10        A. Policies and procedures with            10   they will -- they'll fill the order.
    11   regard to regulatory compliance.                11   There's, in some cases, a double-check to
    12        Q. Can you describe what the               12   make sure that the order is accurate.
    13   policy or procedure was around filling an       13   And then at some point those orders get
    14   order out of the cages or vaults?               14   strapped and transferred to the shipping
    15        A. It was so long ago, I                   15   dock for shipment. There's a lot of
    16   wouldn't feel comfortable talking about         16   internal components to that.
    17   the regulation without it being in front        17        Q. Sure. So as the supervisor
    18   of me.                                          18   of regulatory compliance, your job was to
    19        Q. Would you --                            19   make sure that the distribution center
    20        A. Or the policy rather.                   20   employees were going through that process
    21        Q. You were in charge of                   21   correctly, right?
    22   auditing that policy between 2002 and           22        A. Correct.
    23   2015, correct?                                  23        Q. Okay. So I've got this list
    24        A. Yes.                                    24   down. You let me know if there's
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     1   anything else you want to add to it.             1   BY MR. CLUFF:
     2            As the supervisor of                    2        Q. So all 200 questions on that
     3   regulatory compliance, your                      3   form are significant?
     4   responsibility was to essentially ensure         4            MR. NICHOLAS: Object to the
     5   that the distribution centers were               5        form.
     6   following all of the regulations, the            6            THE WITNESS: Yeah, I would
     7   regulatory regulations that govern the           7        agree with that.
     8   distribution of controlled substances,           8   BY MR. CLUFF:
     9   right?                                           9        Q. But you can't recall what
    10            MR. NICHOLAS: I'm going to             10   they are today?
    11        object to the form. Are you                11        A. Well, there's return
    12        reading him a list or what?                12   procedures, there's PDMA requirements,
    13            MR. CLUFF: I'm asking him a            13   there's physical security. There's a
    14        question, Bob.                             14   number of sections that we audited for.
    15            MR. NICHOLAS: Right.                   15        Q. Physical security is one we
    16            Object to the form. Go                 16   talked about already though, correct?
    17        ahead.                                     17   Okay.
    18            THE WITNESS: I mean, we --             18            What other internal
    19        we followed our internal policies          19   procedures were you auditing?
    20        and procedures and we had an audit         20        A. Other than what I've
    21        checklist that was, I think,               21   covered?
    22        spanned over 200 questions and             22        Q. Yeah.
    23        multiple sections. So what I've            23        A. There were like -- there was
    24        covered here is just a general             24   multiple sections that we covered.
                                               Page 99                                             Page 101
     1        overview. But, you know, without            1        Q. What were some of the
     2        having that audit checklist in              2   sections?
     3        front of me, I mean I can't really          3        A. Other than what I've
     4        determine that there's -- you               4   covered?
     5        know, I haven't covered every               5        Q. Yes.
     6        single component to the program.            6        A. Well, diversion is one
     7   BY MR. CLUFF:                                    7   section.
     8        Q. But some of the ones that                8        Q. What's diversion?
     9   you've highlighted are vault and cage            9        A. What do you mean by that
    10   security, correct, correct order forms,         10   question, what's diversion? You want a
    11   physical security, shipping and receiving       11   definition?
    12   controlled substances, and order filling.       12        Q. I've been talking to you
    13            Were there any other areas             13   about the audit that you performed on
    14   of that audit checklist that you felt           14   distribution centers in your role as the
    15   were significant in your role as a              15   supervisor of the regulatory compliance
    16   supervisor in relation to                       16   department, or supervisor of regulatory
    17   AmerisourceBergen distributing controlled       17   compliance.
    18   substances?                                     18            And we've gone through a
    19            MR. NICHOLAS: Object to the            19   number of responsibilities that the
    20        form.                                      20   distribution centers had that you were
    21            THE WITNESS: Yeah, there               21   auditing. And we've gone through a list.
    22        were a lot of other components.            22   And I asked you if there were any others.
    23        They were all -- they are all              23   You then told me that diversion was one.
    24        significant.                               24            So it's the first time that
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     1   I heard that word referred to in your job        1        A. Like me, his region shifted,
     2   responsibilities today. I'm asking you,          2   I think, over the period of the time that
     3   what is diversion?                               3   we held that job. Generally over the
     4            MR. NICHOLAS: I'll object               4   west region, I believe.
     5        to the form of the question.                5        Q. West region?
     6            MR. CLUFF: Do not coach                 6        A. I think for a large part of
     7        this witness.                               7   the time.
     8            MR. NICHOLAS: All I'm going             8        Q. Was he ever responsible for
     9        to do is object to the form of the          9   the region that included Florida?
    10        question.                                  10        A. I don't believe so.
    11            Long speech before the                 11        Q. What about Cathy Marcum?
    12        question.                                  12   What regions was she responsible for?
    13            Go ahead.                              13        A. I don't recall over that
    14            THE WITNESS: So you're                 14   period of time. They shifted.
    15        asking me what diversion is?               15        Q. Is Cathy Marcum still
    16   BY MR. CLUFF:                                   16   responsible for a region at
    17        Q. Yeah.                                   17   AmerisourceBergen?
    18        A. Diversion is the transfer of            18        A. She works for Steve Mays.
    19   controlled substances into illegal              19   I'm not sure what her specific
    20   channels.                                       20   responsibilities are at this time.
    21        Q. Okay. So you were                       21        Q. What about Erica Burwell?
    22   responsible for auditing diversion at the       22   Do you know what region she was
    23   distribution centers?                           23   responsible for?
    24        A. We --                                   24        A. Again, it shifted over a
                                              Page 103                                               Page 105
     1            MR. NICHOLAS: Object to the             1   period of years.
     2        form.                                       2        Q. Can you tell me which
     3            Go ahead.                               3   regions?
     4            THE WITNESS: We completed               4        A. I believe she was
     5        the audit checklist that covered            5   responsible for the south region at one
     6        diversion. That's correct.                  6   time.
     7   BY MR. CLUFF:                                    7        Q. So she would have been
     8        Q. Who's "we"?                              8   responsible for Florida?
     9        A. The auditors.                            9        A. At one time, yeah.
    10        Q. Okay. Who were the                      10        Q. Okay. Do you know when Ms.
    11   auditors?                                       11   Burwell began working for
    12        A. They varied over the time               12   AmerisourceBergen?
    13   that I held that job.                           13        A. No, I don't recall that.
    14        Q. What are some of their                  14        Q. Is she still employed at
    15   names?                                          15   AmerisourceBergen?
    16        A. Greg Madsen, Cathy Marcum.              16        A. No.
    17   Today or during the time that I held the        17        Q. Do you know when she left
    18   job?                                            18   the company?
    19        Q. During the time that you                19        A. No, I don't recall.
    20   held the job.                                   20        Q. Do you know if anyone else
    21        A. Erica Burwell. That was it.             21   has been responsible for the south region
    22   There was four of us.                           22   in the time that you've been employed by
    23        Q. What area was Greg Madsen               23   AmerisourceBergen from 2002 to the
    24   responsible for?                                24   present?
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     1        A. I'm not really sure who is               1   training.
     2   responsible for it now. Like I said, it          2        Q. What were you looking at
     3   shifted.                                         3   about training?
     4        Q. Do you know if anybody                   4        A. Just ensure that it was
     5   besides Erica Burwell were responsible           5   completed per policy.
     6   for it during the time that you were a           6        Q. So based on that question,
     7   supervisor?                                      7   there was an AmerisourceBergen policy
     8        A. Over the roughly 13 years                8   about training distribution center
     9   that I held that job, I don't recall             9   associates about diversion?
    10   anybody else who had the south region           10            MR. NICHOLAS: Object to the
    11   other than Erica Burwell. It could have         11        form.
    12   been some other people that took over           12            Go ahead.
    13   Orlando, but I don't recall.                    13            THE WITNESS: Yes, I believe
    14        Q. So we got to those names                14        there was.
    15   because you mentioned that "we," the            15   BY MR. CLUFF:
    16   regional supervisors, audited diversion         16        Q. And you would have been
    17   at the distribution centers.                    17   responsible for auditing the training
    18            What were they looking at              18   processes for approximately 13 years,
    19   when they audited the distribution              19   correct?
    20   centers about diversion?                        20        A. Yes.
    21        A. There were questions on the             21        Q. Do you recall, based on your
    22   audit checklist that covered that               22   13 years of experience auditing training,
    23   component of the program.                       23   what the training policy was?
    24        Q. Do you remember what some of            24        A. Well, there was different
                                              Page 107                                             Page 109
     1   the questions were?                              1   training for different personnel. So we
     2        A. I think there was a daily                2   would ensure that the appropriate
     3   activity report that the compliance              3   training was conducted in the time period
     4   manager had to complete and sign.                4   that it was required for the correct
     5        Q. So you would have been                   5   associates.
     6   looking at those reports?                        6        Q. Were there different time
     7        A. Yes, as the auditor.                     7   periods for different associates?
     8        Q. Just to double-check that                8        A. I don't recall. I believe
     9   they were being filled out?                      9   it was an annual requirement.
    10        A. Yeah, and they were filled              10        Q. So generally distribution
    11   out properly.                                   11   center associates were required to be
    12        Q. Okay. So making sure they               12   trained annually, right?
    13   were complete?                                  13        A. I believe so.
    14        A. Yes.                                    14            (Brief interruption.)
    15        Q. And that they had, what,                15            MR. CLUFF: Off the record
    16   accurate information?                           16        for a second.
    17        A. Yes. We would -- we would               17            THE VIDEOGRAPHER: Going off
    18   audit them to make sure that they were          18        the record, 11:36 a.m.
    19   completed per policy.                           19            (Brief pause.)
    20        Q. What are some of the other              20            THE VIDEOGRAPHER: Back on
    21   things that you were looking at in terms        21        record, 11:36 a.m.
    22   of diversion at the distribution centers        22   BY MR. CLUFF:
    23   while you were conducting audits?               23        Q. I want to go back to the
    24        A. Another component was                   24   other regional supervisors who were in
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     1   charge of auditing. You said that you           1   2015. So we can use your dates for your
     2   believed that Erica Burwell was                 2   job responsibilities, and I would ask you
     3   responsible for the Florida -- the south        3   during that time, was there any reason
     4   region until some other people took over.       4   that the south region stood out to you
     5   Do you know who would have taken over?          5   from a -- from an audit standpoint?
     6        A. I don't recall. I believe               6        A. No. From an audit
     7   Erica was in charge of that region for --       7   standpoint I can't really think of
     8   for the majority of the time, if not all        8   anything that would have impacted me as
     9   of the time.                                    9   an auditor.
    10        Q. Is there any reason that the           10        Q. Is there anything that would
    11   south region stands out to you as              11   have impacted AmerisourceBergen from your
    12   somebody taking over?                          12   standpoint as an auditor in the south
    13        A. No. It would just be a                 13   region between 2002 and 2015?
    14   normal shift in the -- in the regional         14            MR. NICHOLAS: Object to the
    15   break down. Obviously when she left the        15        form.
    16   company somebody else took over that           16            THE WITNESS: I can't speak
    17   region.                                        17        to what the corporation would
    18        Q. Do you recall who that is?             18        have -- would have thought
    19        A. I don't recall.                        19        regarding -- regarding audit
    20        Q. Is there any reason that the           20        standpoint.
    21   south region would stand out to you            21   BY MR. CLUFF:
    22   compared to any other region?                  22        Q. Okay. I don't think that's
    23        A. Not from an audit                      23   the question that I asked. You had
    24   standpoint, no.                                24   experience as an auditor looking at a
                                             Page 111                                           Page 113
     1        Q. There were no significant               1   number of different aspects of the
     2   events in the south region from an              2   distribution center business, correct?
     3   auditing standpoint that would concern          3        A. Correct.
     4   you?                                            4        Q. One of them was diversion,
     5            MR. NICHOLAS: Object to the            5   right?
     6        form.                                      6        A. Yes.
     7            Could you put a time period            7        Q. Okay. You also have a long
     8        on this?                                   8   history with AmerisourceBergen regarding
     9   BY MR. CLUFF:                                   9   licensing of the distribution centers,
    10        Q. You can answer my question.            10   correct?
    11        A. Yeah, I would ask you to               11        A. Yes.
    12   rephrase the question with a little more       12        Q. Would you agree with me that
    13   detail.                                        13   you are very fluent in the licensing
    14        Q. We talked earlier about the            14   requirements for a distribution center?
    15   fact that you're not entitled to change        15        A. Yes, I would agree with
    16   your answer based on objections that your      16   that.
    17   attorney makes unless you're specifically      17        Q. And based on your auditing
    18   instructed not to answer my question.          18   of regulatory compliance at the
    19            I'm going to put a time               19   distribution centers, would you also
    20   frame on this question, but I think you        20   agree with me that you're very familiar
    21   understand that I'm talking about your         21   with the regulatory requirements the
    22   time as supervisor of regional                 22   distribution centers have?
    23   compliance -- of regulatory compliance.        23        A. Yes. I am very familiar
    24   You told me that was between 2002 and          24   with that.
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     1        Q. Are you aware of any events             1        Q. Have there ever been any
     2   in the south region from a licensing or         2   actions against registrations of
     3   regulatory compliance point of view that        3   distribution centers in the regions that
     4   would concern you?                              4   you were responsible for between 2002 and
     5             MR. NICHOLAS: Object to the           5   2015?
     6        form.                                      6        A. Yeah. Various actions were
     7             THE WITNESS: Yes. Events              7   taken on my distribution centers through
     8        did occur that impacted the south          8   that period.
     9        region.                                    9        Q. Okay. What actions were
    10   BY MR. CLUFF:                                  10   taken against your distribution centers?
    11        Q. What events?                           11        A. Over a 13-year period?
    12        A. I recall that in 2007 the              12        Q. Yes, please.
    13   Orlando distribution center had their DEA      13        A. We had multiple DEA audits
    14   license suspended.                             14   during -- during that period of time,
    15        Q. So previously I asked you if           15   multiple state audits during that time.
    16   there was anything that happened in that       16   I couldn't give you specifics on actions
    17   region that concerned you from an              17   that were taken in all distribution
    18   auditing standpoint. And you said no.          18   centers that spans such a long period of
    19        A. That's correct.                        19   time. I don't recall.
    20        Q. So is your answer that the             20        Q. Were there ever any
    21   suspension of a distribution center's          21   suspensions of a distribution center's
    22   license doesn't concern you?                   22   license in your regions?
    23             MR. NICHOLAS: Objection.             23        A. Not that I recall.
    24        It's just arguing.                        24        Q. Were there any
                                             Page 115                                            Page 117
     1           MR. CLUFF: It's a question,             1   investigations of diversion at any of the
     2      Bob.                                         2   distribution centers within your regions
     3           MR. NICHOLAS: Go ahead.                 3   between 2002 and 2015?
     4      It's just arguing. Stalling.                 4             MR. NICHOLAS: Object to the
     5           MR. CLUFF: Bob, I'm allowed             5        form.
     6      to ask argumentive questions.                6             THE WITNESS: Yes.
     7      It's a deposition. Don't coach               7   BY MR. CLUFF:
     8      this witness.                                8        Q. What were some of those?
     9           MR. NICHOLAS: I'm not --                9        A. I can't speak to them in
    10      that's not coaching. I just said            10   detail. Diversion, internal thefts,
    11      you're arguing. Period.                     11   in-route thefts were investigations that
    12      Objection.                                  12   we routinely conducted through that
    13           Go ahead.                              13   period.
    14           THE WITNESS: I don't think             14        Q. So would you agree with me
    15      that the -- that the action taken           15   that if a theft occurs inside of
    16      against that distribution center            16   AmerisourceBergen, that would constitute
    17      affected my -- from an audit                17   diversion?
    18      standpoint. So that's the                   18        A. Yes, that would qualify as
    19      question that I was answering.              19   diversion.
    20           My audits -- my audits were            20        Q. So AmerisourceBergen was
    21      conducted regardless of what                21   essentially investigating diversion
    22      action is taken on a distribution           22   within its own company while you were
    23      center.                                     23   working as a regional supervisor from
    24   BY MR. CLUFF:                                  24   2002 to 2015?
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     1             MR. NICHOLAS: Object to the            1   BY MR. CLUFF:
     2        form.                                       2       Q. You said that "per the
     3             THE WITNESS: Yes. Internal             3   regulation we're required to monitor
     4        theft was a common occurrence that          4   customer orders and identify suspicious
     5        we investigated for.                        5   orders."
     6   BY MR. CLUFF:                                    6            And then you said "there's
     7        Q. What happened to those pills             7   no way for a wholesaler to specifically
     8   that were stolen?                                8   prevent diversion."
     9             MR. NICHOLAS: Object to the            9            Did I get your testimony
    10        form. Go ahead.                            10   correctly?
    11             THE WITNESS: In many cases            11            MR. NICHOLAS: Object to the
    12        they were recovered. If they               12       form.
    13        weren't recovered, there's no way          13            THE WITNESS: I mean
    14        for us to know what -- what                14       diversion, there's just not enough
    15        happened to them.                          15       information that we have. But I
    16   BY MR. CLUFF:                                   16       would say that the overall goal of
    17        Q. Do you think they ended up              17       our program is to prevent
    18   in the illegal market?                          18       diversion. But specifically we --
    19             MR. NICHOLAS: Object to the           19       we monitor for suspicious orders
    20        form.                                      20       and that's the limit of what we do
    21             THE WITNESS: There's no way           21       within my program.
    22        for me to speculate what -- what           22   BY MR. CLUFF:
    23        happened to those products that            23       Q. You said you're familiar
    24        were stolen.                               24   with the Controlled Substance Act, right?
                                              Page 119                                             Page 121
     1   BY MR. CLUFF:                                    1        A. I'm familiar with its
     2       Q. What do people usually do                 2   existence, yeah.
     3   with products that they steal?                   3        Q. Have you ever read it?
     4           MR. NICHOLAS: Object to the              4        A. I'm sure at one point I've
     5       form of the question.                        5   read it.
     6           THE WITNESS: There's no way              6        Q. Are you aware that the
     7       I could speculate as to what                 7   Controlled Substance Act imposes upon
     8       happens to products that are                 8   registrants a regulatory obligation to
     9       stolen.                                      9   maintain systems to prevent diversion?
    10   BY MR. CLUFF:                                   10            MR. NICHOLAS: Object to the
    11       Q. Do you understand that                   11        form.
    12   AmerisourceBergen has a regulatory              12            THE WITNESS: We -- we
    13   obligation to maintain systems to prevent       13        follow the regulation that
    14   diversion?                                      14        requires us to have a system in
    15           MR. NICHOLAS: Object to the             15        place to identify suspicious
    16       form.                                       16        orders. And to prevent those from
    17           THE WITNESS: Per the                    17        being shipped and to report them
    18       regulation, we're required to               18        accordingly.
    19       monitor customer orders and                 19   BY MR. CLUFF:
    20       identify suspicious orders and              20        Q. So then you agree with me
    21       treat them accordingly. So                  21   that there is a regulatory obligation for
    22       there's no way for us as a                  22   wholesalers as registrants to maintain
    23       wholesaler to specifically prevent          23   systems to prevent diversion?
    24       diversion which follow regulation.          24            MR. NICHOLAS: Object to the
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     1        form.                                       1        definition of diversion in, we do
     2            THE WITNESS: No, I wouldn't             2        the best we can to identify
     3        agree with that at all. We don't            3        suspicious orders and to block
     4        have enough information as a                4        them and report them to the DEA.
     5        wholesaler to identify if                   5        So I would -- I would stipulate
     6        diversion is happening. There's             6        that.
     7        no way for us to know if a                  7            It's the DEA's
     8        possibly suspicious order, if it            8        responsibility to -- to look at
     9        was shipped, if it was diverted or          9        diversion. It's our job to -- to
    10        not. We're shipping only to                10        identify suspicious orders and to
    11        licensed entities. So we just              11        treat them accordingly.
    12        don't have sufficient information          12   BY MR. CLUFF:
    13        to agree with that.                        13        Q. So it's a wholesaler's job
    14   BY MR. CLUFF:                                   14   to identify suspicious orders and treat
    15        Q. I'm asking a different                  15   them accordingly?
    16   question. I'm asking about the existence        16            MR. NICHOLAS: Object to the
    17   of something, not whether or not you can        17        form. Go ahead.
    18   comply with it as AmerisourceBergen.            18            THE WITNESS: Yeah. If we
    19            The question is: Is there a            19        identify a suspicious order, we
    20   regulatory obligation that exists in the        20        would -- we would reject it and
    21   Controlled Substance Act for registrants        21        report it.
    22   to maintain systems designed to prevent         22   BY MR. CLUFF:
    23   diversion. Yes or no?                           23        Q. All suspicious orders that
    24            MR. NICHOLAS: Object to the            24   are identified are rejected?
                                              Page 123                                             Page 125
     1       form.                                        1             MR. NICHOLAS: Object to the
     2            THE WITNESS: The regulation             2        form.
     3       might state that the regulation              3             THE WITNESS: If the order
     4       that we follow is designed to                4        is found to be suspicious, we
     5       prevent diversion, but I'm not               5        would reject it and report it.
     6       familiar enough with the                     6   BY MR. CLUFF:
     7       regulation to -- to agree with               7        Q. Based on your experience
     8       that or not. I know that we                  8   auditing diversion control practices at
     9       identify suspicious orders.                  9   distribution centers, what constitutes a
    10   BY MR. CLUFF:                                   10   suspicious order?
    11       Q. But it was also, I think,                11        A. Okay. The definition of a
    12   your testimony that said wholesalers just       12   suspicious order is an order of unusual
    13   cannot prevent diversion, can they?             13   size, frequency or deviating from the
    14            MR. NICHOLAS: Object to the            14   normal pattern.
    15       form. Go ahead.                             15        Q. Is that a definition you
    16            THE WITNESS: No. As a                  16   understand from reading federal
    17       wholesaler, I would not say that            17   regulations?
    18       it's our responsibility to prevent          18        A. Yes.
    19       diversion. I would say that we              19        Q. On a day-to-day basis, if
    20       are one component of a closed               20   you were auditing a distribution center's
    21       system for the distribution                 21   practice of identifying suspicious
    22       center -- for the distribution of           22   orders, what would you be looking at?
    23       controlled substance.                       23        A. I'm sorry, repeat that?
    24            So when you bring the                  24        Q. Sure.
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     1            So you conducted audits of              1   many years that I was doing that.
     2   distribution centers, right?                     2        Q. Let's back up for a second.
     3        A. Under that role, yes.                    3            You were in charge of
     4        Q. And distribution centers are             4   auditing the regulatory compliance of
     5   engaged in diversion control work?               5   distribution centers in the east region
     6            MR. NICHOLAS: Object to the             6   between 2002 and 2015. Does that sound
     7        form.                                       7   right?
     8            THE WITNESS: In a limited               8        A. Yes.
     9        capacity at the distribution                9        Q. And one of the areas you
    10        center level, yes.                         10   audited at the distribution center level
    11   BY MR. CLUFF:                                   11   was diversion control, right?
    12        Q. Are they looking for                    12        A. Yes.
    13   suspicious orders?                              13        Q. Does diversion control
    14        A. What time period are you                14   involve monitoring for suspicious orders?
    15   talking about?                                  15            MR. NICHOLAS: Object to the
    16        Q. Between 2002 and 2015.                  16        form.
    17        A. During that period of time,             17            THE WITNESS: Yes, it does.
    18   I would say that the -- they were               18   BY MR. CLUFF:
    19   managing their responsibilities under the       19        Q. Were distribution centers
    20   audit program.                                  20   monitoring for suspicious orders as part
    21            But when you say that they             21   of their diversion control
    22   were monitoring for suspicious orders, I        22   responsibilities?
    23   believe during that period of time the          23        A. During that period of time
    24   determination of an order to be                 24   they were.
                                              Page 127                                             Page 129
     1   suspicious would be handled by a                 1        Q. What were they doing to
     2   different group.                                 2   monitor for suspicious orders? Actually,
     3        Q. So I didn't say that they                3   strike that.
     4   were monitoring suspicious orders. I             4             What portion of their
     5   asked you if they are monitoring for             5   activities monitoring for suspicious
     6   suspicious orders at the distribution            6   orders did you audit?
     7   center level between 2002 and 2015.              7        A. I audited to make sure that
     8            MR. NICHOLAS: Object to the             8   the -- and again, this is something
     9        form and the commentary. Go                 9   that -- that was a long time ago and it's
    10        ahead.                                     10   evolved over time. Those questions
    11            THE WITNESS: Yeah, they                11   changed from 2002 to 2015, so those
    12        were -- they were performing               12   responsibilities evolved. So I wouldn't
    13        responsibilities that were related         13   feel comfortable going into specific
    14        to diversion identification.               14   responsibilities that the distribution
    15   BY MR. CLUFF:                                   15   centers had with regards to that.
    16        Q. What are those?                         16        Q. Okay. When you say a long
    17        A. Over that period of time, I             17   time ago, your responsibility as a
    18   wasn't directly responsible for the             18   regional supervisor or regional director
    19   diversion program. So -- and it's               19   ended three years ago, right?
    20   evolved. For a period of time it was --         20        A. Yes.
    21   it spanned over years, so I couldn't tell       21        Q. Is that a long period of
    22   you specifically how that changed over          22   time to you?
    23   the years or specifically what                  23             MR. NICHOLAS: I'll object
    24   responsibilities they had. It's been so         24        to the form.
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     1             THE WITNESS: Three years is            1   2001 and 2005?
     2         a long period of time.                     2        A. I'm not saying it didn't
     3   BY MR. CLUFF:                                    3   happen. I just don't recall. It was too
     4         Q. Compared to 13 years that               4   long ago.
     5   you were responsible for these jobs?             5        Q. Understood. 2005 to 2007,
     6             MR. NICHOLAS: Object to the            6   do you recall performing audits during
     7         form.                                      7   that period of time?
     8             THE WITNESS: Yes.                      8        A. I was performing audits
     9   BY MR. CLUFF:                                    9   during that period of time.
    10         Q. So the time you spent doing            10        Q. And that would still have
    11   the job is essentially four times as long       11   been in the east -- the east region
    12   as it's been since you've stopped doing         12   approximately?
    13   the job, right?                                 13        A. I performed audits
    14             MR. NICHOLAS: Object to the           14   throughout the country.
    15         math. Go ahead.                           15        Q. Understood. So you didn't
    16             THE WITNESS: Yes.                     16   necessarily audit only the region that
    17   BY MR. CLUFF:                                   17   you were responsible for?
    18         Q. Let's break it up though.              18        A. That's correct.
    19   Maybe that will be easier.                      19        Q. Was that -- between 2001 and
    20             So you started as the                 20   2015, you conducted audits. During that
    21   regional supervisor over regulatory             21   period of time would you have conducted
    22   affairs, or regulatory compliance in            22   audits outside of your region for the
    23   2001, right?                                    23   entire period of time or for some
    24         A. I think it was after 2001.             24   specified period of time?
                                              Page 131                                            Page 133
     1        Q. You're right. I'm sorry,                 1       A. I would say for the entire
     2   2002?                                            2   period I conducted audits outside of my
     3        A. Roughly.                                 3   region.
     4        Q. So how about between 2002                4       Q. Did you ever conduct any
     5   and 2005, that's a three-year period.            5   audits in the south region?
     6   Were distribution centers during that            6       A. Yes.
     7   period of time monitoring for suspicious         7       Q. When?
     8   orders?                                          8       A. On and off throughout the
     9        A. It was too long ago. I just              9   whole period.
    10   don't recall.                                   10       Q. Between 2001 and 2005?
    11        Q. Do you recall auditing                  11       A. I believe it started in
    12   distribution centers between 2001 and           12   2002.
    13   2005?                                           13       Q. You're right. I keep saying
    14        A. I believe I audited                     14   2002. My fault.
    15   distribution centers during that time.          15            How about between 2002 and
    16        Q. Do you recall ever auditing             16   2005? Did you conduct audits in the
    17   diversion control of a distribution             17   south region?
    18   center between 2001 and 2005?                   18       A. I don't recall what the
    19        A. No, I don't recall auditing.            19   schedule was, but I would assume.
    20   I don't recall what the audit checklist         20       Q. So it's likely that you
    21   entailed then.                                  21   conducted audits in the south region
    22        Q. So you don't know one way or            22   between 2002 and 2005?
    23   the other today as you sit here whether         23       A. Yeah, I would assume that I
    24   you audited diversion control between           24   conducted audits in the south region.
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     1        Q. How about between 2005 and              1   somewhere in the world of
     2   2007? Would you have conducted audits in        2   AmerisourceBergen's documents, correct?
     3   the south region between 2005 and 2007?         3            MR. NICHOLAS: Object to the
     4        A. I don't recall.                         4        form.
     5        Q. Earlier when I asked you if             5            THE WITNESS: I would
     6   you had performed audits in the south           6        assume.
     7   region between 2002 and 2005, you said          7            MR. NICHOLAS: Go ahead.
     8   you didn't recall the schedule.                 8            THE WITNESS: I would
     9           There was a schedule for                9        assume.
    10   audits?                                        10   BY MR. CLUFF:
    11        A. Yes.                                   11        Q. You don't have any reason to
    12        Q. Who was in charge of that              12   believe that they would have been
    13   schedule?                                      13   destroyed, right?
    14        A. I believe Steve Mays.                  14        A. No.
    15        Q. And was it a written                   15        Q. From that schedule of
    16   schedule?                                      16   audits, I would be able to determine who
    17        A. Yes.                                   17   audited distribution centers in the south
    18        Q. Was it a schedule that Steve           18   region in any given period of time,
    19   Mays created?                                  19   correct?
    20        A. I believe he did during that           20        A. Yeah, I would assume so.
    21   period of time. It was a long time ago.        21        Q. And the same thing would be
    22        Q. Okay. And it would have                22   true for the north region, right?
    23   been circulated to auditors somehow?           23        A. Yes.
    24        A. Yes.                                   24        Q. And the south region and the
                                             Page 135                                            Page 137
     1        Q. Would that have been by                 1   west region?
     2   e-mail?                                         2       A. Yes.
     3        A. I don't recall.                         3       Q. Were those an important
     4        Q. Was there another way that              4   documents in your work as an auditor?
     5   Steve Mays communicated scheduling of           5       A. Well, they laid out our
     6   audits to auditors?                             6   audit schedule for the next year.
     7        A. It was communicated to us               7       Q. So it was a yearly schedule?
     8   during team meetings. I believe the             8       A. To my recollection it was.
     9   e-mail probably would have been utilized.       9       Q. Do you recall, based on your
    10        Q. So there were meetings about           10   work as an auditor working under Steve
    11   audits as well?                                11   Mays, how the schedule was set up?
    12        A. We would have periodic team            12   That's a bad question.
    13   meetings.                                      13            Do you recall in your work
    14        Q. So you would have discussed            14   as an auditor working under Steve Mays,
    15   the schedules at team meetings. Would          15   how he prioritized which distribution
    16   you have received the paper copy of an         16   centers should be audited?
    17   audit during the team meeting? Excuse          17            MR. NICHOLAS: Object to the
    18   me, a paper copy of a schedule during a        18       form.
    19   team meeting?                                  19            Go ahead.
    20        A. I assume so.                           20            THE WITNESS: No, I don't
    21        Q. And you said e-mail would              21       recall how he formulated his audit
    22   have been utilized as well, right?             22       schedules.
    23        A. I would assume so.                     23   BY MR. CLUFF:
    24        Q. So those should exist                  24       Q. Are you aware of any
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     1   policies or procedures that dictated the         1   during that -- over that period of time.
     2   frequency with which audits should               2        Q. When did you become the
     3   happen?                                          3   regional director?
     4       A. No, I don't recall.                       4        A. Title changed to director
     5       Q. Do you know if one ever                   5   from supervisor at some point. I don't
     6   existed?                                         6   recall.
     7       A. If what existed?                          7        Q. The job responsibilities
     8       Q. A policy about the frequency              8   didn't change?
     9   of audits.                                       9        A. No.
    10             MR. NICHOLAS: Object to the           10        Q. And then when did you become
    11       form.                                       11   the regional director?
    12             THE WITNESS: I don't recall           12        A. Again, I don't recall.
    13        if a specific policy existed               13        Q. Sometime in the last five
    14       regarding the frequency of audits.          14   years?
    15       It may have.                                15        A. I don't recall.
    16   BY MR. CLUFF:                                   16        Q. Did your job
    17       Q. Can you give me an estimate              17   responsibilities change?
    18   on how frequently distribution centers          18        A. From the time that I became
    19   were audited?                                   19   a director versus prior to that? I'm not
    20       A. It would vary.                           20   sure I understand the question.
    21       Q. What would it vary based on?             21        Q. You were a supervisor
    22             MR. NICHOLAS: Object to the           22   originally and then became a director,
    23       form.                                       23   you said, right?
    24             THE WITNESS: What period of           24        A. Correct.
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     1        time are we talking about?                  1         Q. And there was no change in
     2   BY MR. CLUFF:                                    2   your job responsibilities?
     3        Q. Let's do 2002 to 2005.                   3         A. No.
     4        A. I have no recollection.                  4         Q. Okay. And then from a
     5        Q. You couldn't say whether it              5   director you became a regional director.
     6   was yearly?                                      6   Was there any change in your
     7        A. No.                                      7   responsibilities at that point in time?
     8        Q. How about from 2005 to 2007?             8         A. No. We were always -- we
     9   How frequently were audits conducted?            9   were regional manager, I think, and then
    10        A. Again, I don't recall.                  10   we became -- I think it was either
    11        Q. How about after 2007, say               11   manager or supervisor, and then we became
    12   2007 to 2012?                                   12   a regional director. So no change in
    13        A. I believe during that period            13   responsibilities to my recollection based
    14   it was normally an annual audit.                14   on that title change.
    15        Q. Is there some reason that               15         Q. And so your work as a
    16   you recall why, after 2007, that it was         16   regional director takes you through the
    17   an annual audit but you don't recall any        17   end of 2015 or some time in 2015?
    18   schedule of audits before 2007?                 18         A. Takes me to February 2015.
    19        A. The most recent years that I            19         Q. Okay. And then what was
    20   was regional director, we were generally        20   your job in February of 2015?
    21   conducting annual audits of our                 21         A. I was reassigned to director
    22   distribution centers. I don't recall            22   of diversion control.
    23   what it was, when you go back that far --       23         Q. We'll pick up there in a
    24   I just don't recall what the schedule was       24   little bit. Let's go back to this audit
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     1   schedule.                                        1   exist?
     2            Was there a policy or                   2        A. No, I didn't say that.
     3   procedure in 2007 that you can recall            3        Q. So it existed before 2007
     4   about the frequency of audits at                 4   and then it was created in 2007?
     5   distribution centers?                            5             MR. NICHOLAS: Object to the
     6        A. In the 2007 time frame, I                6        form.
     7   don't remember what the policy contained         7             THE WITNESS: I would assume
     8   with regards to frequency of audits. It          8        that it existed, you know, from a
     9   was too long ago. It was a lot of years          9        very early point. But I don't
    10   ago.                                            10        know when it became -- you know,
    11        Q. But there was a policy about            11        when it was created. I have no
    12   audits?                                         12        idea. It was too long ago. I
    13            MR. NICHOLAS: Object to the            13        wasn't responsible for writing
    14        form.                                      14        policies at that period of time.
    15            THE WITNESS: There were                15   BY MR. CLUFF:
    16        general policies that were related         16        Q. I just asked you. Do you
    17        to audits, yes.                            17   recall if there was a policy or procedure
    18   BY MR. CLUFF:                                   18   after 2007 that governed the frequency of
    19        Q. Do you remember any of the              19   audits. And I'm reading from the live
    20   numbers of the policies, like 5.1?              20   feed here, and your answer is, "I believe
    21        A. No.                                     21   at some point post 2007 a policy was
    22        Q. Isn't that a document that              22   created."
    23   you would have worked with pretty               23             Did a policy exist before it
    24   frequently?                                     24   was created sometime after 2007?
                                              Page 143                                            Page 145
     1        A. 5.1?                                     1            MR. NICHOLAS: Object to the
     2        Q. No. Just the policies and                2        tone and the bickering.
     3   procedures governing audits.                     3            Go ahead.
     4        A. Yes.                                     4            THE WITNESS: I would
     5        Q. And you don't recall the                 5        stipulate that I don't recall when
     6   number of the policy or procedure?               6        that policy that governed
     7        A. We had a lot of policies and             7        frequency of audits was created.
     8   procedures. So I don't recall specific           8        I just know that it existed post
     9   numbers of the policies.                         9        2007, because I don't remember
    10        Q. Do you recall if there was a            10        prior to that.
    11   policy or procedure after 2007 that             11   BY MR. CLUFF:
    12   governed the frequency of audits?               12        Q. And you don't recall it's
    13        A. I believe at some point post            13   existence before that?
    14   2007 a policy was created that was              14        A. I'm not saying it didn't
    15   related to the frequency of audits. But         15   exist. I just don't remember the audit
    16   I don't remember when that was created.         16   process during that period of time. That
    17        Q. So after 2007 your                      17   was a long time ago.
    18   recollection is that a policy was created       18        Q. So you don't recall it
    19   about the frequency of audits?                  19   existing?
    20            MR. NICHOLAS: Object to the            20            MR. NICHOLAS: Object to the
    21        form.                                      21        form and the bickering.
    22            THE WITNESS: I believe so.             22            Go ahead.
    23   BY MR. CLUFF:                                   23            THE WITNESS: I just don't
    24        Q. So before that it didn't                24        recall.
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     1   BY MR. CLUFF:                                   1         Q. Do you understand my
     2        Q. Do you have a general                   2   question?
     3   recollection of this policy that you now        3         A. I would say at the time I
     4   recall sometime after 2007 about the            4   left the position, I believe there was a
     5   frequency of audits, what did it specify        5   policy that governed annual audits of
     6   about the frequency of audits? How often        6   distribution centers.
     7   should they happen?                             7         Q. So before we started talking
     8            MR. NICHOLAS: Object to the            8   about the frequency, we were talking
     9        form.                                      9   about diversion control and your audit of
    10            THE WITNESS: I recall there           10   diversion control. And also the
    11        was generally an annual                   11   distribution centers that you recall
    12        requirement for a distribution            12   auditing.
    13        center to be audited.                     13            So from 2002 to 2005 you
    14   BY MR. CLUFF:                                  14   said you recall -- well, you don't
    15        Q. Was that the same all the              15   specifically recall. But that you assume
    16   way through the end -- or from 2000 --         16   you audited distribution centers in the
    17   let me back up. That was poorly worded.        17   south region, correct?
    18            Was that policy consistent            18         A. For what period of time?
    19   from the time that you can recall it           19         Q. 2002 to 2005.
    20   existing through 2015?                         20         A. I assume during that period
    21            MR. NICHOLAS: Object to the           21   I audited the south region at some point.
    22        form.                                     22         Q. How about 2005 to 2007.
    23            THE WITNESS: Yeah, I                  23   Would you have audited distribution
    24        remember that policy existed up to        24   centers in the south region?
                                             Page 147                                             Page 149
     1        the time I left that position.             1        A. I would assume.
     2   BY MR. CLUFF:                                   2        Q. Do you recall at any point
     3        Q. Excuse me. Are you aware of             3   between 2002 and 2015 auditing
     4   any changes to that policy regarding the        4   distribution centers in Florida?
     5   frequency since you left that position?         5        A. Yes. I've audited the
     6        A. No.                                     6   Orlando distribution center during that
     7        Q. So it's your best                       7   period of time.
     8   understanding today that distribution           8        Q. Do you recall the date that
     9   centers are still audited on an annual          9   you audited the Orlando distribution
    10   basis?                                         10   center?
    11        A. That responsibility has                11        A. No, I don't.
    12   transitioned to a different team. So I         12        Q. Do you recall auditing your
    13   can't really speak to how often                13   Orlando distribution center between 2002
    14   distribution centers are audited today.        14   and 2005?
    15   Lots of changes have been made to that         15        A. No, not specifically.
    16   program.                                       16        Q. Between 2005 and 2007?
    17        Q. But your general                       17        A. Nope.
    18   understanding is that the policy calls         18        Q. 2007 to 2012?
    19   for them to be audited annually?               19        A. I don't remember specific
    20            MR. NICHOLAS: Object to the           20   dates that I may have audited the Orlando
    21        form. Make it a question. You             21   DC.
    22        are just making statements. Go            22        Q. 2012 to 2015?
    23        ahead.                                    23        A. (Gesturing.)
    24   BY MR. CLUFF:                                  24        Q. So the only record --
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     1            THE COURT REPORTER: I                  1   audited the Orlando distribution
     2       didn't get an answer, I'm sorry.            2   center.
     3            MR. NICHOLAS: Yeah, let him            3       MR. NICHOLAS: Do you want
     4       answer. You are making                      4   to excuse him so that he's not --
     5       statements. Let him answer some             5   you don't -- so you don't feel
     6       questions.                                  6   he's hearing anything that he
     7            THE WITNESS: No. No, I                 7   shouldn't hear --
     8       don't recall specific dates during          8       MR. CLUFF: No.
     9       that 13-year period that I audited          9       MR. NICHOLAS: -- because we
    10       the Orlando distribution center.           10   can do that if we want to have an
    11   BY MR. CLUFF:                                  11   argument.
    12       Q. So the only record of your              12       Do you want to do that?
    13   audit of the Orlando distribution center       13       MR. CLUFF: Bob, he said
    14   would come from the audit schedule,            14   that the two ways that we could
    15   correct?                                       15   find that out was from the audit
    16            MR. NICHOLAS: Object to the           16   schedule and from his report of
    17       form. Go ahead.                            17   the audit.
    18            THE WITNESS: Well, there              18       And I asked him a
    19       would be a scheduling that would           19   foundational question regarding
    20       be the corresponding report that           20   his recollection about whether he
    21       was generated as a result of the           21   wrote a report. That's a purely
    22       audit.                                     22   foundational factual question.
    23   BY MR. CLUFF:                                  23       MR. NICHOLAS: You don't
    24       Q. Do you recall writing a                 24   know what my objection is.
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     1   report about your audit of the Orlando          1       MR. CLUFF: Okay. Make your
     2   distribution center?                            2   objection.
     3            MR. NICHOLAS: I'm going to             3       MR. NICHOLAS: Do you know
     4        interpose an objection to this             4   what it is? Maybe if you knew --
     5        continuing line of questioning to          5   if you know what it --
     6        the extent that we are starting to         6       MR. CLUFF: You said outside
     7        get clearly outside of the scope.          7   of the scope. He's not a 30(b)(6)
     8            MR. CLUFF: Well, he is a               8   witness.
     9        fact witness. There's no scope.            9       MR. NICHOLAS: Why don't
    10        I'm asking about his recollection.        10   you -- no -- well, that wasn't
    11            MR. NICHOLAS: I -- I --               11   going to be the nature of my
    12        I've explained my -- that's fine.         12   objection, Sterling.
    13            MR. CLUFF: I know, I                  13       MR. CLUFF: You said outside
    14        understand that you didn't finish.        14   of the scope, Bob. What else is
    15        I'm interrupting you because              15   the nature of a scope objection?
    16        you're making an improper                 16       MR. NICHOLAS: We are
    17        objection.                                17   talking about Ohio. We are
    18            MR. NICHOLAS: Well, this is           18   talking about -- we're talking
    19        not --                                    19   about -- he is a fact witness and
    20            MR. CLUFF: He's here today            20   at some point you are just moving
    21        to talk about his recollection of         21   into -- into a different case with
    22        facts. He just said that there            22   different facts. Okay.
    23        are two ways that we could figure         23       So I'm just saying that
    24        out whether he had, and when,             24   you're getting to the point where
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     1        you are starting to ask about               1   write up those audit reports?
     2        things that are unrelated to this           2        A. After the audit was over, it
     3        particular lawsuit. That's all.             3   wouldn't take too long. We had to
     4             Had nothing to do with                 4   provide a preliminary report pretty quick
     5        30(b)(6) or facts, so if you can            5   at the conclusion of the audit. Within a
     6        at least -- you can agree or                6   couple days. Within -- within one day of
     7        disagree, Sterling, but you have            7   the audit concluding.
     8        to at least let me complete my              8        Q. And what -- what kind of
     9        objection. Then you can respond.            9   information would you put into a report?
    10             MR. CLUFF: Great.                     10        A. The preliminary report would
    11             MR. NICHOLAS: Now you can             11   contain all of the findings that were
    12        respond.                                   12   associated with that audit.
    13   BY MR. CLUFF:                                   13        Q. What kind of findings would
    14        Q. So if I understood your                 14   you include?
    15   testimony correctly, there are two ways         15        A. There were two audits that
    16   we could figure out when you audited the        16   we would conduct: The security
    17   Orlando distribution center, one is from        17   regulatory audit and the OSHA audit. So
    18   the audit schedule, right?                      18   it would have separate findings for each
    19             And then you said, "Or a              19   of those areas.
    20   report."                                        20        Q. The OSHA audit would be like
    21             Do you recall writing a               21   workplace safety stuff?
    22   report about an audit of the Orlando            22        A. Correct.
    23   distribution center?                            23        Q. And then the regulatory
    24        A. At some point I completed a             24   audit, that would have been for the
                                              Page 155                                             Page 157
     1   report regarding -- with regards to the          1   regulations that govern the distribution
     2   audit of the Orlando DC.                         2   of controlled substances, correct?
     3        Q. Was it a regular practice                3       A. As well as prescription
     4   for auditors to write reports about their        4   drugs, correct.
     5   audit of distribution centers?                   5       Q. Do you think you may have
     6        A. Yes, that was -- that was                6   audited the Orlando distribution center
     7   part of the audit process. They would --         7   more than once?
     8   we would generate reports as a result of         8           MR. NICHOLAS: Object to the
     9   the audit.                                       9       form. Go ahead.
    10        Q. We talked with Steve Mays,              10           THE WITNESS: I recall
    11   and he -- he said that there was an audit       11       that -- that I did not audit the
    12   checklist, and you've mentioned an audit        12       Orlando DC too many times. I
    13   checklist. I think you said there's             13       remember one time specifically
    14   something like 200 questions?                   14       that I audited. But I don't
    15        A. Over 200.                               15       remember -- I don't think I
    16        Q. That would have been a big              16       audited that division too many
    17   stack of paper, correct?                        17       times.
    18            Is the report you're talking           18   BY MR. CLUFF:
    19   about, is that different than the               19       Q. So more than once?
    20   checklist that you would have gone              20       A. I'm not sure.
    21   through while you were at a distribution        21       Q. You said many times.
    22   center?                                         22           MR. NICHOLAS: He said he
    23        A. Yes.                                    23       didn't think it was --
    24        Q. How long did it take to                 24           MR. CLUFF: Bob, I don't
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     1        need you to testify for him. If              1   specifically recall one instance. When
     2        he wants to clarify his                      2   was that?
     3        statement --                                 3        A. I don't recall.
     4            MR. NICHOLAS: I'm just --                4        Q. Was it between 2002 and
     5            MR. CLUFF: Bob, it's not                 5   2005?
     6        your job to clarify his statement            6        A. I have no recollection of
     7        for him. That's his job.                     7   when that occurred.
     8            MR. NICHOLAS: You have to                8        Q. But you very specifically
     9        stop asking misleading questions.            9   recall it?
    10            MR. CLUFF: Bob, I did not               10             MR. NICHOLAS: Object to the
    11        ask a misleading question. I                11        form.
    12        asked a question based on my                12             THE WITNESS: I recall
    13        understanding.                              13        auditing the -- the Orlando
    14   BY MR. CLUFF:                                    14        distribution center at one point.
    15        Q. If it was an incorrect                   15        I don't remember if there were
    16   understanding, sir, please clarify it for        16        more.
    17   me. And your lawyer is not allowed to            17   BY MR. CLUFF:
    18   testify for you.                                 18        Q. So you -- do you recall
    19            MR. CLUFF: Do you                       19   going there to the Orlando distribution
    20   understand that today?                           20   center any other times when you weren't
    21            MR. NICHOLAS: Most of the               21   conducting an audit?
    22        testimony today has been by you.            22        A. I think I went there once
    23            MR. CLUFF: Bob.                         23   for a system conversion.
    24            MR. NICHOLAS: Go ahead.                 24        Q. What's a system conversion?
                                               Page 159                                             Page 161
     1   BY MR. CLUFF:                                     1         A. We -- we changed systems
     2        Q. I misspoke.                               2   from time to time. I believe that it was
     3            You said you recall one                  3   a transition from Distrack to Metastorm.
     4   specific instance, if I'm remembering             4   So that's a system conversion systems
     5   your testimony accurately, of auditing            5   used to operate the distribution center,
     6   the Orlando distribution center, correct?         6   maintain inventories. I believe I spent
     7   And I asked you if you remembered more.           7   a week there as the security responsible
     8   Do you remember more?                             8   individual during that conversion.
     9        A. There might -- there might                9         Q. When would that have been?
    10   have been between one and three times            10         A. I don't recall.
    11   that I audited. I know for a fact I              11         Q. Was it after 2007?
    12   audited the Orlando DC one time. I               12         A. I really can't remember.
    13   remember that specifically. There may            13         Q. Is the Metatrack system
    14   have been other instances, but I couldn't        14   still in use?
    15   confirm that here. Like I said, it was a         15         A. It was Distrack to
    16   long period of time. And I audited many          16   Metastorm. And no, it's no longer in
    17   distribution centers.                            17   use.
    18        Q. So definitely one time.                  18         Q. So med -- okay. So is
    19   Possibly one to three times.                     19   Metastorm still in use?
    20        A. Correct.                                 20         A. No.
    21        Q. We have to do that. We have              21         Q. Do you know when it was
    22   to get an audible answer from you. Thank         22   retired?
    23   you.                                             23         A. We transitioned from
    24            So you seem to very                     24   Metastorm to SAP. I don't recall the --
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     1   the specific schedule that that occurred.        1        A. I'm sure that one was filled
     2        Q. Do you recall that that                  2   out since I conducted an audit.
     3   happened in 2012?                                3        Q. Do you remember if it was
     4        A. I don't recall.                          4   before or after the license was suspended
     5        Q. Do you recall if your audit              5   in Orlando?
     6   was before or after this conversion from         6        A. I don't recall.
     7   Distrack to Metastorm?                           7        Q. Do you remember if there
     8        A. No.                                      8   were any specific procedures or policies
     9        Q. Do you recall if it was                  9   that Orlando was faulting -- following
    10   before or after the conversion from that        10   during that audit that were implemented
    11   system to SAP?                                  11   as a result of the settlement with the
    12        A. Well, the -- the conversion             12   DEA in 2007?
    13   from Metastorm to SAP occurred after            13        A. No.
    14   that. So it was definitely before the           14        Q. Is that something you would
    15   conversion to SAP.                              15   have audited if they had been in place?
    16        Q. So if we could pinpoint on a            16            MR. NICHOLAS: Object to the
    17   calendar when the conversion from               17        form.
    18   Metastorm to SAP was, we could narrow           18            THE WITNESS: If a change
    19   down the time period that you audited the       19        was made to the audit protocol
    20   Orlando distribution center, right?             20        then I would have followed it
    21        A. We can state it would have              21        during the audit.
    22   been before that period.                        22   BY MR. CLUFF:
    23        Q. But you have no recollection            23        Q. If there were policies or
    24   when the SAP system went into effect?           24   procedures that the Orlando distribution
                                              Page 163                                             Page 165
     1        A. No, not specifically.                    1   center was following as a result of the
     2        Q. Do you -- do you know if it              2   settlement with the DEA, would you have
     3   was before 2015?                                 3   audited those?
     4        A. Yes, it was before 2015.                 4           MR. NICHOLAS: Object to the
     5        Q. So you audited it, audited               5        form.
     6   the Orlando distribution center before           6           THE WITNESS: It would
     7   2015?                                            7        depend if it was part of the audit
     8        A. That's correct.                          8        checklist.
     9        Q. This audit of the Orlando                9   BY MR. CLUFF:
    10   distribution center that you so                 10        Q. Are you familiar with why
    11   specifically recall, why do you                 11   the Orlando distribution center lost its
    12   specifically recall it?                         12   DEA license?
    13            MR. NICHOLAS: Object to the            13        A. I have a general
    14        form.                                      14   understanding that the DEA suspended the
    15            THE WITNESS: I just                    15   license because they made the allegation
    16        remember being there.                      16   that we were not following the
    17   BY MR. CLUFF:                                   17   regulation.
    18        Q. What do you remember about              18        Q. Which regulation?
    19   being there?                                    19        A. To report and identify
    20        A. I remember being in Orlando.            20   suspicious orders.
    21        Q. That's it?                              21        Q. Where did you obtain that
    22        A. That's it.                              22   general understanding?
    23        Q. Do you remember filling out             23        A. During the occurrence.
    24   an audit checklist while you were there?        24        Q. So during the suspension of
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     1   the Orlando distribution center's license        1        been completed or were in process,
     2   you became aware why the registration was        2        and I was not part of that -- that
     3   suspended?                                       3        process.
     4            MR. NICHOLAS: Object to the             4   BY MR. CLUFF:
     5        form.                                       5        Q. When I asked you if reports
     6            THE WITNESS: Yeah, I recall             6   were written about the suspension, you
     7        the general allegation.                     7   said you assume so.
     8   BY MR. CLUFF:                                    8            Why do you assume that they
     9        Q. Where did you hear about                 9   would have been written?
    10   that from?                                      10            MR. NICHOLAS: Object to the
    11        A. I don't recall. Big news                11        form. And of course, Mr. Cluff
    12   back then.                                      12        will be the first to tell you that
    13        Q. It was big news. People                 13        you shouldn't assume in an answer
    14   talking about it in the halls?                  14        to a question.
    15            MR. NICHOLAS: Object to the            15            So go ahead.
    16        form and the commentary.                   16            THE WITNESS: When you have
    17            Go ahead.                              17        an occurrence like that, I would
    18            THE WITNESS: There was a               18        assume that it would, you know,
    19        lot of discussions surrounding it.         19        involve a chain reaction and a lot
    20   BY MR. CLUFF:                                   20        of different departments would be
    21        Q. Were there meetings about               21        involved in handling the
    22   it?                                             22        suspension.
    23        A. Yes.                                    23            So I would assume, as a
    24        Q. Were reports written about              24        previous auditor, that reports
                                              Page 167                                           Page 169
     1   it?                                              1        would have been generated as a
     2        A. None that I'm specifically               2        result of the action taken against
     3   aware of.                                        3        us.
     4        Q. Do you understand that                   4   BY MR. CLUFF:
     5   reports may have been written about it?          5        Q. So based on your 13 years of
     6            MR. NICHOLAS: Well, I'll                6   experience as an auditor, your
     7        object to the form of that                  7   understanding is that an event like the
     8        question.                                   8   suspension of a distribution center's
     9            Go ahead.                               9   license would result in the creation of
    10            THE WITNESS: I assume so.              10   reports about why the suspension
    11        None that I was directly involved          11   occurred?
    12        in -- involved with.                       12            MR. NICHOLAS: Is that a
    13   BY MR. CLUFF:                                   13        question?
    14        Q. You wouldn't have                       14            MR. CLUFF: I'm exploring
    15   participated in discussing the suspension       15        his understanding, Bob.
    16   in your role as an auditor?                     16            MR. NICHOLAS: I just want
    17            MR. NICHOLAS: Object to the            17        to hear it in the form of a
    18        form.                                      18        question. You're making a
    19            THE WITNESS: You know,                 19        statement.
    20        right when that happened, my               20            MR. PIFKO: Just say "is
    21        father passed away, and I had to           21        that correct."
    22        take a leave of absence. So when           22   BY MR. CLUFF:
    23        I got back, a lot of that -- a lot         23        Q. Is that correct?
    24        of those changes had been -- had           24            MR. NICHOLAS: Yeah, say "is
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     1        that correct?" Okay. And now I             1   documentation was generated as a result
     2        can say object to the form of the          2   of the suspension."
     3        question.                                  3             Based on your experience,
     4             THE WITNESS: Yeah, I would            4   13 years as an auditor at
     5        assume that a lot of documentation         5   AmerisourceBergen, what kind of
     6        has generated as a result of the           6   documentation would you have been
     7        suspension. Not necessarily in             7   referring to when you testified to that?
     8        report form, but a lot of general          8             MR. NICHOLAS: Object to the
     9        documentation. I wasn't a part of          9        form.
    10        it. It was all handled above me.          10             THE WITNESS: To clarify, I
    11        So I can't really speak                   11        wasn't exposed to documentation or
    12        specifically about what                   12        at least I don't recall
    13        documentation was generated.              13        documentation that I was
    14   BY MR. CLUFF:                                  14        specifically exposed to. So I'm
    15        Q. What kind of documentation             15        assuming that documentation was
    16   are we talking about -- or are you             16        generated. But I can't speak to
    17   talking about?                                 17        any detailed documentation that I
    18             MR. NICHOLAS: I'll object            18        was exposed to.
    19        to the form of the question and           19   BY MR. CLUFF:
    20        caution the witness not to make           20        Q. I'm not asking about a
    21        assumptions. He should answer             21   detailed distribution of documentation.
    22        questions --                              22   I'm asking, based on your experience as
    23             MR. CLUFF: Bob, you've               23   an auditor for 13 years at
    24        really got to stop coaching his           24   AmerisourceBergen, what kind of
                                             Page 171                                            Page 173
     1        witness. He already testified              1   documentation you understand would have
     2        based on his work experience as an         2   been created about the suspension in
     3        auditor -- it's in the testimony.          3   Orlando?
     4        You can read it -- that he                 4       A. I have no idea.
     5        understands that reports like this         5       Q. But you anticipate, based on
     6        or documentation about a situation         6   your experience, 13 years at
     7        like this would have been created.         7   AmerisourceBergen, that documentation
     8            I get to explore his                   8   would have existed?
     9        understanding of that, Bob. You            9           MR. NICHOLAS: Hold on.
    10        can make your objection. You can          10       Could you ask it in the form of a
    11        say form. You can say foundation.         11       question? It's not Jeopardy. You
    12        You can say whatever you want.            12       just made a statement. Ask him a
    13        But don't tell this witness that          13       question. Say "is that correct"
    14        he's not allowed to assume.               14       or "do you agree."
    15        That's coaching.                          15           MR. CLUFF: I appreciate the
    16            MR. NICHOLAS: You have to             16       coaching, Bob. I really do.
    17        stop asking misleading questions.         17       Thank you.
    18            Go ahead. Answer the                  18           MR. NICHOLAS: Well, your
    19        question if you can.                      19       own guy told you you have to ask
    20   BY MR. CLUFF:                                  20       in a form of a question.
    21        Q. Let me ask this question a             21           MR. CLUFF: Bob, seriously?
    22   different way.                                 22       Stop. Just stop, Bob. Make your
    23            You previously said, "Yeah,           23       objection for the record. And I
    24   I would assume that a lot of                   24       will clarify my question if I need
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     1       to.                                         1        Q. Did you ever discuss the
     2            MR. NICHOLAS: Objection.               2   suspension with Cathy Marcum?
     3        Objection. No question has been            3        A. Same answer. I have no
     4        stated.                                    4   recollection of it.
     5   BY MR. CLUFF:                                   5        Q. Did you ever discuss
     6        Q. Do you anticipate based on              6   suspension with Erica Burwell?
     7   your experience as an auditor at                7        A. No recollection.
     8   AmerisourceBergen for 13 years that             8        Q. Do you know if anybody
     9   documentation would have been created           9   discussed the suspension with Erica
    10   about the suspension?                          10   Burwell?
    11        A. I would assume that                    11        A. Not that I recall.
    12   documentation was generated as a result        12        Q. So you previously
    13   of the suspension.                             13   testified -- and I want to make sure I
    14        Q. Do you have an                         14   understand your testimony correctly --
    15   understanding, based on your 13 years of       15   that the suspension was a big event for
    16   experience at AmerisourceBergen, which         16   AmerisourceBergen?
    17   departments at AmerisourceBergen would         17            MR. NICHOLAS: Objection.
    18   have been creating that documentation?         18        No --
    19        A. The departments that were              19   BY MR. CLUFF:
    20   responsible for regulatory compliance and      20        Q. Is that correct?
    21   action like that would have been legal         21            MR. NICHOLAS: Good.
    22   and corporate security regulatory              22            THE WITNESS: Yes, it was.
    23   affairs.                                       23   BY MR. CLUFF:
    24        Q. Setting legal aside, what --           24        Q. Is it also your testimony
                                             Page 175                                             Page 177
     1   what aspects of the regulatory affairs          1   that you can't recall whether or not
     2   and corporate security department would         2   anybody talked about the suspension at
     3   have been responsible for documenting or        3   your level in 2007?
     4   producing documentation about the               4            MR. NICHOLAS: Object to the
     5   suspension?                                     5        form.
     6        A. I don't know. Like I said               6            THE WITNESS: I'm sure there
     7   it was happening over my head, and I            7        was discussion, but I just don't
     8   wasn't directly involved in it. So I            8        recall any specific conversations
     9   can't really state any specific                 9        during that period of time.
    10   documentation was generated or who             10   BY MR. CLUFF:
    11   generated it or who was involved in it.        11        Q. Do you know whether or not
    12        Q. Do you know if your boss,              12   anybody looked at the audit history for
    13   Steve Mays, ever participated in any           13   Orlando after the suspension occurred?
    14   discussions about the suspension in            14        A. No.
    15   Orlando?                                       15            MR. NICHOLAS: Object to the
    16        A. I don't recall.                        16        form.
    17        Q. Did you ever talk to Greg              17   BY MR. CLUFF:
    18   Madsen about the suspension in Ohio?           18        Q. Do you know whether or not
    19        A. I don't recall.                        19   anybody looked at the reports that were
    20        Q. Do you not recall or did it            20   written about Orlando after the
    21   not happen?                                    21   suspension occurred?
    22        A. I think I answered the                 22            MR. NICHOLAS: Object to the
    23   question. I don't remember. It was a           23        form.
    24   long time ago.                                 24            THE WITNESS: No.
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     1   BY MR. CLUFF:                                    1        A. Well, Chris was our VP over
     2        Q. Do you know whose                        2   CSRA, so I can't confirm, but he
     3   responsibility it was to review audit            3   certainly was concerned about the audit
     4   reports after they were created in               4   findings.
     5   general between 2002 and 2005?                   5        Q. You started working with
     6        A. I believe that would have                6   Chris Zimmerman in '96 at Bergen
     7   been Steve Mays during that period.              7   Brunswick, correct?
     8        Q. How about between 2005 and               8        A. Yes.
     9   2007?                                            9        Q. So you've worked with him
    10        A. Well, it was several people             10   through your entire career?
    11   that were involved. Steve Mays would            11        A. That's a correct statement.
    12   have been the one responsible for the           12        Q. Are you pretty familiar with
    13   audit, assigning the audit. He would            13   his work habits?
    14   have been the first one that we would           14            MR. NICHOLAS: Object to the
    15   have discussed it with.                         15        form.
    16        Q. So Steve Mays was                       16            THE WITNESS: I don't know
    17   responsible for assigning the audit. Did        17        what you mean by work habits.
    18   I get that correct?                             18   BY MR. CLUFF:
    19        A. Yes.                                    19        Q. Does he check his e-mails
    20        Q. And there were a number of              20   regularly?
    21   people involved, I think you said,              21        A. Yes.
    22   correct?                                        22        Q. Does he document the things
    23        A. Yeah, in the -- in the                  23   that he's concerned about?
    24   review process there was, yes.                  24            MR. NICHOLAS: Object to the
                                              Page 179                                            Page 181
     1         Q. But he would have been                  1       form.
     2   ultimately responsible for reviewing             2            THE WITNESS: Yes.
     3   them, because he assigned them; is that          3   BY MR. CLUFF:
     4   right?                                           4       Q. Does he like to create a
     5         A. Well, he would have been the            5   paper trail on things that are happening
     6   first step above the auditor that we             6   during his work?
     7   would have covered the findings with             7            MR. NICHOLAS: Object to the
     8   initially concluding that. But then we           8       form.
     9   would have -- we would run through those         9            THE WITNESS: I don't know
    10   findings with the DC as well, so -- from        10       if he likes to create paper
    11   the CSRA standpoint, he was the one that        11       trails. We document what we do
    12   we immediately worked with.                     12       generally.
    13         Q. Do you know if there was               13   BY MR. CLUFF:
    14   anybody else above Steve Mays that was          14       Q. So there was a practice of
    15   responsible for reviewing audit reports?        15   documenting things that happened at the
    16         A. I don't remember what the              16   company?
    17   structure was back then.                        17       A. Yes.
    18         Q. Do you recall who Steve Mays           18       Q. Do you know, based on your
    19   reported to during 2005 -- between 2005         19   long history of working with Chris
    20   and 2007?                                       20   Zimmerman, whether or not he would have
    21         A. I don't recall.                        21   documented his review of a report about
    22         Q. Do you know if Chris                   22   the Orlando distribution center?
    23   Zimmerman would have reviewed audit             23            MR. NICHOLAS: Object to the
    24   reports between 2005 and 2007?                  24       form.
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     1           THE WITNESS: I have no idea            1   e-mails about the Orlando suspension?
     2       what Chris did with regards to             2        A. I don't recall.
     3       that.                                      3        Q. If there were, they would be
     4   BY MR. CLUFF:                                  4   in your files, correct?
     5       Q. After an event like the                 5        A. They would be within our
     6   Orlando suspension, do you know, based on      6   system, yes.
     7   your history of working with Chris, what       7        Q. Do you recall ever reviewing
     8   he would have wanted to review to figure       8   any memorandums about -- or memoranda
     9   out what the problem was?                      9   about the Orlando suspension?
    10           MR. NICHOLAS: Object to the           10        A. No specific recollection.
    11       form.                                     11        Q. Did you ever write a memo
    12           THE WITNESS: I wouldn't --            12   about the Orlando suspension?
    13       I wouldn't want to speculate on           13        A. I don't recall.
    14       that.                                     14        Q. Did your responsibilities as
    15   BY MR. CLUFF:                                 15   an auditor change because of the
    16       Q. Would he have written                  16   suspension?
    17   e-mails to people about the distribution      17        A. Again, you know, our audit
    18   center suspension or would he have called     18   is governed by internal policy and the
    19   people about it?                              19   audit checklist evolves over time. So
    20           MR. NICHOLAS: Object to the           20   whatever the checklist evolved to would
    21       form.                                     21   have been what I would have done
    22           THE WITNESS: Again, I                 22   differently from -- from pre to
    23       wouldn't want to speculate on what        23   post-Orlando suspension.
    24       Chris did with regard to that,            24        Q. So you were conducting
                                            Page 183                                            Page 185
     1        with regards to that.                     1   audits between 2002 and 2015 as either a
     2   BY MR. CLUFF:                                  2   manager or supervisor of regulatory
     3        Q. When Chris had concerns                3   compliance, a director and a regional
     4   about your work product did he e-mail you      4   director. Did I get all the titles
     5   about it or did he call you about it?          5   right?
     6        A. Both.                                  6            MR. NICHOLAS: Object to the
     7        Q. Do you think he would have             7       form.
     8   responded any differently about the            8            THE WITNESS: It would have
     9   Orlando distribution center suspension?        9       been regional supervisor, regional
    10            MR. NICHOLAS: Object to the          10        manager, regional director.
    11        form.                                    11   BY MR. CLUFF:
    12            THE WITNESS: Again, I                12       Q. Got it. And during that
    13        wouldn't speculate.                      13   time when you conducted audits, you
    14   BY MR. CLUFF:                                 14   basically just filled out a checklist,
    15        Q. Do you have any reason to             15   right?
    16   believe that he would have acted              16            MR. NICHOLAS: Object to the
    17   differently?                                  17       form.
    18            MR. NICHOLAS: Object to the          18            THE WITNESS: We would
    19        form.                                    19       conduct the audit and we would
    20            THE WITNESS: Again, I                20       complete the checklist, you know,
    21        wouldn't speculate how he would          21       pursuant to the policy at that
    22        react to that.                           22        time.
    23   BY MR. CLUFF:                                 23   BY MR. CLUFF:
    24        Q. Did you ever receive any              24       Q. And then write a report?
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     1        A. The report would contain any             1        documenting them on the report,
     2   findings that we had on the audits that          2        yes.
     3   we conducted, yes.                               3   BY MR. CLUFF:
     4        Q. You had no responsibility                4        Q. So you said in 2015 you
     5   for identifying or reporting suspicious          5   became the director of diversion control,
     6   orders, right?                                   6   and that was approximately February 2015?
     7        A. During -- during 2000 --                 7        A. Yes.
     8        Q. 2002 to 2015.                            8        Q. Was that a step up from your
     9        A. I would say that's a true                9   role as a regional director or was that a
    10   statement, yes.                                 10   lateral step? I'm just trying to
    11        Q. You were just filling out               11   understand the hierarchy.
    12   audit checklists?                               12        A. It was considered a lateral
    13            MR. NICHOLAS: Object to the            13   move.
    14        form. Asked and answered.                  14        Q. Did you lateral out of
    15            THE WITNESS: I would say               15   regulatory and security compliance?
    16        that, yeah, we were conducting the         16        A. Well, it was a -- the
    17        audit and we were documenting              17   diversion team was a unit within CSRA.
    18        findings that we had pursuant to           18   So it was just a little subunit of the
    19        that audit checklist.                      19   entire CSRA department.
    20   BY MR. CLUFF:                                   20             MR. NICHOLAS: Sterling, if
    21        Q. It's kind of like the job               21        you're transitioning, do you think
    22   you had when you were at Bergen                 22        it's a good time for a break?
    23   Brunswick, right, you were documenting          23        I -- I don't want to stop your
    24   the investigations?                             24        flow here, but it's been --
                                              Page 187                                           Page 189
     1            MR. NICHOLAS: Object to the             1            MR. CLUFF: No, I appreciate
     2        form.                                       2        that. Let's just finish up your
     3            THE WITNESS: Under Bergen               3        responsibilities as the director
     4        Brunswick I wasn't documenting              4        of diversion control, and then
     5        investigations. I was conducting            5        we'll break for lunch. How is
     6        licensing and subpoena work.                6        that?
     7   BY MR. CLUFF:                                    7            MR. NICHOLAS: Perfect.
     8        Q. You said that you were                   8   BY MR. CLUFF:
     9   typing up interrogations and                     9        Q. Okay. So this was a lateral
    10   investigations between, you know, sort of       10   move, and was there a change in
    11   the beginning of '98 and the middle of          11   responsibilities?
    12   '98, right?                                     12        A. Yeah. Somebody took over my
    13        A. Yeah, I was -- I was typing             13   old job.
    14   transcriptions, that's correct.                 14        Q. And then did your -- like
    15        Q. Recording information?                  15   your area of responsibility change?
    16        A. Correct.                                16        A. I'm not sure I understand
    17        Q. So you were still just kind             17   your question.
    18   of recording information when you               18        Q. Were you still conducting
    19   performed these checklists, right?              19   audits when you became the director of
    20            MR. NICHOLAS: Well, I'll               20   diversion control in 2015?
    21        object to the form.                        21        A. No, sorry. Yes. During the
    22            THE WITNESS: Yeah, we were             22   time I transitioned from regional
    23        conducting the audit. We were              23   director to director of diversion
    24        identifying deficiencies and then          24   control, my duties did change at that
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     1   point.                                           1   monitoring program and -- and the due
     2        Q. And what, what was that                  2   diligence collection, yes.
     3   change?                                          3        Q. But prior to February of
     4        A. Well, I gave up my region                4   2015, you had never held a position where
     5   and I -- and I assumed the responsibility        5   you were responsible for diversion
     6   of director of diversion control for ABC.        6   control at all, correct?
     7        Q. What is your responsibility              7        A. Other than in a very limited
     8   as the director of diversion control?            8   capacity as a regional director and I --
     9        A. I manage the program. The                9        Q. I'm sorry, I interrupted
    10   investigators, my analysts report to me,        10   you.
    11   so I work directly with our pharmacist          11        A. As part of the -- as part of
    12   director to run the program and we report       12   the conducting the audits of the
    13   up to David May.                                13   distribution centers.
    14        Q. Is the pharmacist director,             14        Q. So your limited
    15   is that Sharon Hartman?                         15   responsibility for diversion control
    16        A. Yes.                                    16   prior to becoming the director of
    17        Q. Okay. So you said that you              17   diversion control was to audit diversion
    18   gave up your region and you became the          18   control procedures at a distribution
    19   director of diversion control. And then         19   center, right?
    20   you were responsible for overseeing the         20            MR. NICHOLAS: Object to the
    21   entire diversion control program for            21        form.
    22   AmerisourceBergen?                              22            THE WITNESS: Yeah, prior to
    23            MR. NICHOLAS: Object to the            23        taking over the diversion program
    24        form.                                      24        as director of diversion control,
                                              Page 191                                            Page 193
     1              THE WITNESS: Yes. We -- we            1       prior to that I was responsible
     2         operate the day-to-day management          2       for, you know, completing the
     3         of the program.                            3       audit checklist and that portion
     4   BY MR. CLUFF:                                    4       of the audit checklist that
     5         Q. So now you operate the                  5       pertained to diversion and
     6   day-to-day diversion control program for         6       control, yes.
     7   AmerisourceBergen. I just want to                7   BY MR. CLUFF:
     8   understand the scope.                            8       Q. So prior to becoming the
     9         A. That's correct.                         9   director of diversion control, you never
    10         Q. And you and Sharon Hartman,            10   had any responsibility for managing
    11   did I get that right?                           11   anybody who was identifying or detecting
    12         A. Yes.                                   12   suspicious orders?
    13         Q. You manage the investigators           13            MR. NICHOLAS: Object to the
    14   and the analysts and run the entire             14       form.
    15   program?                                        15            THE WITNESS: Other than in
    16              MR. NICHOLAS: Object to the          16       a very limited manner with my
    17         form.                                     17       compliance managers that reported
    18   BY MR. CLUFF:                                   18       to me and they had
    19         Q. Is that right?                         19       responsibilities at the
    20         A. I wouldn't say -- I mean,              20       distribution center level, again
    21   it's all a shared responsibility. David         21       in a limited capacity. So they
    22   May handles a lot of the -- the higher          22       reported up to me. So just to
    23   level elements of the program. I manage         23       clarify that.
    24   the day-to-day operation of the order           24   BY MR. CLUFF:
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     1       Q. And that was in your                     1         Q. So between 2002 and 2007,
     2   responsibility as an auditor though,            2   you had no diversion control
     3   correct?                                        3   responsibility then, correct?
     4       A. As an auditor and a regional             4         A. I wouldn't say that's true.
     5   director for my region. So I was only           5   The compliance managers didn't report to
     6   responsible for those compliance matters        6   us, but we still conducted audits and
     7   within my region with regards to that           7   I -- and I conducted investigations for a
     8   responsibility.                                 8   period of time.
     9       Q. Those compliance managers,               9         Q. So from 2007 -- 2002 to
    10   were those called RPICs?                       10   2007, your only responsibility for
    11       A. No.                                     11   diversion was to audit diversion at the
    12       Q. Is there an abbreviation for            12   distribution centers?
    13   compliance managers at all?                    13             MR. NICHOLAS: Object to the
    14       A. Just compliance manager.                14         form. It's not a question.
    15       Q. What's an RPIC?                         15             THE WITNESS: We conducted
    16       A. RPIC stands for responsible             16         the -- the distribution center
    17   person in charge.                              17         audits during that period of time.
    18       Q. And who would that have                 18         So in the capacity of a -- back
    19   been?                                          19         then I guess I was a regional
    20            MR. NICHOLAS: Object to the           20         supervisor, I believe. So I
    21       form.                                      21         would -- I would -- I would
    22   BY MR. CLUFF:                                  22         monitor the distribution centers
    23       Q. At a distribution center?               23         for the -- for the diversion
    24       A. So there are a number of                24         program.
                                             Page 195                                             Page 197
     1   distribution center associates who -- who       1   BY MR. CLUFF:
     2   were specially trained and had                  2        Q. You were monitoring --
     3   responsibility to review the first line         3   strike that.
     4   order when it went into a hold.                 4            And then after 2007 you
     5        Q. Would --                                5   accepted responsibility for managing the
     6        A. And per procedure they would            6   compliance managers at the distribution
     7   look at it, they would assess it and they       7   centers, right?
     8   would either release it or escalate it to       8            MR. NICHOLAS: Object to the
     9   the corporate diversion team.                   9        form.
    10        Q. But you didn't have                    10            THE WITNESS: They began
    11   responsibility for them, did you?              11        reporting to us post 2007.
    12        A. No, they -- they reported to           12   BY MR. CLUFF:
    13   operations.                                    13        Q. And they had a limited
    14        Q. Okay. So between 2002 and              14   diversion control responsibility, if I
    15   2015, I just want to get the time periods      15   understand it correctly?
    16   correct, you were responsible for              16        A. Yes.
    17   overseeing compliance managers, correct?       17        Q. So you had a limited
    18        A. No, that's not correct.                18   responsibility for diversion control
    19        Q. Okay.                                  19   because you oversaw them?
    20        A. Prior to 2007 the compliance           20            MR. NICHOLAS: Object to the
    21   managers didn't report up to us.               21        form.
    22        Q. Who did they report to?                22            THE WITNESS: We oversaw
    23        A. The -- the distribution                23        them with regards to their
    24   center manager for the DC.                     24        responsibilities within the policy
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     1       procedures for diversion control.           1        A. Yes, I do.
     2   BY MR. CLUFF:                                   2        Q. All right. Before the
     3       Q. And the only other                       3   break, you mentioned that you had some
     4   responsibility for diversion control            4   investigative responsibilities as well
     5   between 2007 and 2015 you had was               5   after you moved to Philadelphia, or
     6   auditing, correct?                              6   Pennsylvania, correct?
     7           MR. NICHOLAS: Object to the             7        A. In the form of -- yeah, I
     8       form.                                       8   was a regional director, you know, during
     9           THE WITNESS: Yeah. I was                9   that period of time. And I did have some
    10       responsible for my region, and I           10   investigative responsibilities.
    11       audited other divisions.                   11        Q. Okay. What specifically
    12   BY MR. CLUFF:                                  12   were your investigative responsibilities
    13       Q. And then in 2015 you took               13   at that time? And let's be clear about
    14   over shared responsibilities with Sharon       14   dates. So when was the first time that
    15   Hartman under David May for the entire         15   you took on investigative
    16   diversion control program at                   16   responsibilities?
    17   AmerisourceBergen?                             17        A. I conducted various
    18           MR. NICHOLAS: Object to the            18   investigations throughout my tenure as a
    19       form asked and answered. Go                19   regional director, supervisor, manager
    20       ahead.                                     20   throughout that period.
    21           THE WITNESS: That's                    21        Q. And that was from 2002 to
    22       correct.                                   22   2015?
    23           MR. CLUFF: I think that's a            23        A. Yes.
    24       good place to break.                       24        Q. Okay. So when you took the
                                             Page 199                                             Page 201
     1            THE VIDEOGRAPHER: Going off            1   job in 2002, we talked about that
     2        the record. 12:40 p.m.                     2   earlier, that was a new job, correct?
     3            (Lunch break.)                         3        A. It was new --
     4            THE VIDEOGRAPHER: Back on              4        Q. New responsibilities?
     5        the record. 1:23 p.m.                      5        A. Yes.
     6            MR. NICHOLAS: For the                  6        Q. And among those
     7        record, counsel has switched               7   responsibilities was performing or
     8        questioners. I'm assured that              8   supervising investigations; is that
     9        this is permitted by the rules,            9   correct?
    10        and I believe them. So you may            10        A. Well, I didn't really
    11        proceed.                                  11   supervise investigations. I conducted
    12            MR. PIFKO: All right.                 12   investigations as part of my role of
    13        Thank you.                                13   being a regional director.
    14                - - -                             14        Q. Okay. You conducted all
    15              EXAMINATION                         15   the -- to the extent an investigation was
    16                - - -                             16   conducted while you were regional
    17   BY MR. PIFKO:                                  17   director, it was conducted exclusively by
    18        Q. My name is Mark Pifko. I               18   you?
    19   also represent the plaintiffs in this          19             MR. NICHOLAS: Object to the
    20   matter. I'm going to be asking you some        20        form.
    21   questions. Okay?                               21             THE WITNESS: I would
    22        A. Yes.                                   22        conduct my own investigations. I
    23        Q. Do you understand that                 23        also worked with our investigative
    24   you're still under oath?                       24        team on certain investigations
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     1        depending on what we were                   1   the Philadelphia DEA office. I worked
     2        investigating.                              2   with him closely on an investigation when
     3   BY MR. PIFKO:                                    3   I was in the middle of transitioning from
     4        Q. Okay. Let's talk about the               4   Orange, California to Philadelphia. It
     5   nature and scope of the investigations           5   was a long -- a nearly two-year
     6   that you conducted. Were there different         6   investigation I worked very closely with
     7   types of investigations that you                 7   him on.
     8   conducted?                                       8        Q. What was the nature of the
     9        A. Yes, a whole array.                      9   investigation?
    10        Q. All right. Can you name                 10        A. It was Highland Park
    11   some of them today?                             11   Pharmacy. We were working with him from
    12        A. As a regional director, I               12   the beginning of that investigation, and
    13   did a lot of theft investigations. I            13   we were giving him sales reports for the
    14   think that would be the lion's share of         14   customer that was being investigated.
    15   the investigation types that I conducted.       15   Like I said, it was an in-depth, long
    16        Q. And --                                  16   investigation, and during that period of
    17        A. In --                                   17   time I became pretty friendly with Scott.
    18        Q. I'm sorry. Continue. I                  18   He's a personal friend today. We
    19   don't want to interrupt you.                    19   actually got awarded as a result of that.
    20        A. In addition to that, I did              20   I have a plaque in my office from the DEA
    21   construct investigations from 2005 to           21   and the contributions to the field of law
    22   2007. I would review what we call the           22   enforcement in the drug distribution
    23   possible suspicious order reports. And          23   industry.
    24   this was a function that was assigned to        24           So that -- I worked with him
                                              Page 203                                            Page 205
     1   me as a collateral duty outside of my            1   a lot on the local distribution centers,
     2   responsibility as regional director.             2   Thorofare, New Jersey; Bethlehem
     3        Q. Did you ever interact with               3   Pennsylvania.
     4   anyone from the DEA when you became a            4        Q. Highland Park Pharmacy,
     5   regional director?                               5   that's a pharmacy in Philadelphia?
     6        A. Yeah. I had a lot of                     6        A. They're located in a suburb
     7   interaction with DEA, special agents as          7   of Philadelphia. I believe they were
     8   well as diversion investigators.                 8   near Newtown Square or in that general
     9        Q. Again, I want to make sure               9   area.
    10   we're talking about a clear time period,        10        Q. Do you know what the outcome
    11   but over your tenure as a regional              11   of that investigation was? Was there an
    12   director, can you name some of the names        12   action taken against that pharmacy?
    13   of DEA agents that you interacted with?         13        A. Yes. That owner went to
    14        A. Scott Davis, Philadelphia               14   prison.
    15   DEA, was one.                                   15        Q. Do you know what the basis
    16             There were so many. He's              16   of the charges was?
    17   really the guy that comes to mind right         17        A. It was I believe diversion
    18   now.                                            18   of narcotics.
    19        Q. So Scott Davis was the                  19        Q. What specifically? Opioids?
    20   primary DEA agent who was visiting              20        A. Yeah, I don't remember the
    21   facilities that you had responsibility          21   specific drug families but it was
    22   for; is that correct?                           22   certainly opioids.
    23        A. No, I wouldn't say that.                23        Q. And do you know what the
    24   He -- he is one of the investigators with       24   nature of the conduct specifically was
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     1   with respect to the diversion, what              1   investigation, how you came to be
     2   was -- what was occurring at that                2   involved with -- did someone at the
     3   pharmacy?                                        3   company call you and say we need you to
     4        A. The DEA doesn't share                    4   work with this DEA agent or did they call
     5   specifics of their investigations with           5   you directly?
     6   industry. So we pretty much worked with          6        A. That -- that investigation
     7   him on providing him sales reports for           7   started when I was working for Bergen
     8   that extended period of time. But, just          8   Brunswick in a capacity of regulatory
     9   the way law enforcement works, they don't        9   specialist I think my title was.
    10   share specific information due to its           10            So I was responsible for
    11   confidential nature.                            11   subpoenas for the company as I had
    12        Q. Based on the information                12   indicated previously. So Scott contacted
    13   that you provided to Mr. Davis, was the         13   me or his request gravitated to me and I
    14   pharmacy selling high volumes of                14   began working with him I believe around
    15   controlled substances?                          15   the 2000 time frame and through my
    16            MR. NICHOLAS: Object to the            16   promotion to becoming a regional
    17        form.                                      17   supervisor when I moved to Pennsylvania.
    18            THE WITNESS: Yes, they                 18        Q. Okay. Did the company --
    19        were -- they were buying very high         19   the -- the company, so, when you -- what
    20        volumes of narcotics.                      20   was that title you said that you had when
    21   BY MR. PIFKO:                                   21   you were -- so you said you were a
    22        Q. Do you remember estimating              22   security officer when you started and
    23   the proportion of opioids versus their          23   then you moved into this other job?
    24   total sales from AmerisourceBergen?             24        A. I believe it was a
                                              Page 207                                            Page 209
     1        A. I don't recall the                       1   regulatory specialist --
     2   specifics.                                       2        Q. Okay.
     3        Q. Okay. Have you heard the                 3        A. -- but I'm not sure about
     4   concept of a red flag?                           4   that. It is just something that seems to
     5        A. Yes, it's a general term we              5   ring a bell.
     6   use.                                             6        Q. Did the company have a
     7        Q. Okay. Have you heard that                7   database where they kept subpoenas and
     8   one of the red flags of diversion is the         8   investigative requests of that nature
     9   proportionality of controlled substances         9   that you were responsible for responding
    10   to a customer's total substances they           10   to in a centralized location?
    11   purchase from a distributor, have you           11        A. Yeah. In that time period
    12   heard that before?                              12   we had, we had a system.
    13        A. Yes, I have.                            13        Q. Okay. What was the name of
    14        Q. Okay. Regardless of whether             14   that system?
    15   you remember the specific number that           15        A. I believe it was law -- Law
    16   this pharmacy was buying, do you recall         16   Track or Law Pack. I think it
    17   that -- proportionality being one of the        17   transitioned from one to the other, but
    18   red flags of diversion for that pharmacy?       18   again, that was a long time ago.
    19        A. I don't recall. It was too              19        Q. Okay. So then when -- after
    20   long ago. This was almost -- this was           20   the merger occurred, do you know what the
    21   18 years ago. So it's just too long ago         21   system that would have been used to
    22   for me to remember specifics about that         22   centralize this request was?
    23   particular investigation.                       23        A. I think we moved it into Law
    24        Q. Do you recall how that                  24   Track.
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     1         Q. Okay.                                  1   seek to obtain information from that
     2         A. I think the previous system            2   historic system?
     3   was Law Pack.                                   3        A. During any investigation.
     4         Q. Do you know the period for             4   If we're looking into a customer and we
     5   how long those kinds of investigations          5   want to see their background, what we
     6   and requests would be maintained on that        6   have in their due diligence file, we
     7   system?                                         7   would go into either system to see what
     8         A. Well, they were maintained             8   we have on them. So that would be a
     9   from that point all the way until, you          9   result of investigations or subpoenas,
    10   know, roughly in the last year or two          10   any number of reasons.
    11   when we switched systems.                      11        Q. Okay. And as far as you
    12         Q. Okay. And then when you               12   know, the -- the subpoenas, investigative
    13   switched systems, what -- what did you do      13   reports, and the company's responses to
    14   with the data, do you know?                    14   those reports, are maintained
    15         A. The data was transferred to           15   indefinitely on that system?
    16   another system for maintenance, and it's       16        A. I believe so.
    17   still there. It's still retrievable by         17        Q. Okay. So do you recall any
    18   us.                                            18   other -- other than Scott Davis, any
    19         Q. Okay. Is that -- from time            19   other DEA agents that you interacted
    20   to time do you ever go back and, for           20   with?
    21   business reasons, look at that data?           21        A. Yeah, there were a lot of
    22         A. I do. I don't do it as much           22   them. Doug Crawford in the -- in the
    23   as my investigators do. They are the           23   Columbus area. I dealt with him. A lot
    24   ones that are doing the day-to-day             24   of groups of advisors, a lot of
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     1   investigations for the most part. But           1   investigators. There's so many of them.
     2   they do go in there readily. I mean,            2   I don't really deal with them very often
     3   that's where all the old information is         3   anymore, so this is -- you know, years
     4   so...                                           4   ago that I was dealing with these people,
     5         Q. Okay. You said you do from             5   so...
     6   time -- you have on occasion?                   6         Q. I understand we're talking
     7         A. Yes.                                   7   about a time period that was earlier and
     8         Q. Okay. Is there like a --               8   maybe there's a lot of names. But it
     9   how do you access that, is there like a         9   just -- it would help if you can remember
    10   portal you have to log into?                   10   any other names. I know it's kind of an
    11         A. Yes.                                  11   odd question.
    12         Q. Okay. And when you log into           12             But so you remember Scott
    13   that, and you can keyword search it or         13   Davis, Doug Crawford. Any other names?
    14   something, how does it work?                   14         A. I didn't really prepare for
    15            Yeah?                                 15   this question, so no, none -- none of
    16         A. Yeah. There's two systems.            16   those come to my mind right now.
    17   There's Matter Management that we put our      17         Q. Mr. Crawford in Columbus, is
    18   new information into. And then that --         18   there -- is there a reason why you
    19   the other system, I'm -- I'm sorry, the        19   remember his name?
    20   name escapes me what it's called. But          20         A. He's conducted audits of our
    21   we -- we have ready access to both             21   distribution center.
    22   systems.                                       22         Q. Okay. And he conducted
    23         Q. Okay. What are the types of           23   audits of distribution centers for which
    24   occasions on which you would -- you would      24   you had responsibility?
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     1        A. I'm not sure if I had                   1        Q. If you wanted to access it,
     2   responsibility at the Columbus                  2   how would you go to find that?
     3   distribution center when he audited us.         3        A. It's a good question. I'm
     4   I may have. I'd have to check the               4   not really sure where it would be. We'd
     5   records for that.                               5   have to search for it.
     6        Q. That was my -- my next                  6        Q. Do you have -- do you have
     7   question. Did you have any                      7   network drives on your system, does that
     8   responsibility for distribution centers         8   mean anything to you?
     9   in Ohio?                                        9        A. Not sure.
    10        A. Yes, at one time.                      10        Q. You understand that you can
    11        Q. Okay. And what time was                11   save something onto your computer, right,
    12   that?                                          12   like on the C drive. But do you have
    13        A. I don't recall. I'd have to            13   like a shared drive where you save
    14   check, check the -- the system for the         14   certain -- certain documents that you
    15   time period that I had the -- I had the        15   would look at or other people can save
    16   Chicago and the Columbus distribution          16   documents to?
    17   centers within my region, but I don't          17        A. Yes, we have a shared drive.
    18   recall the exact dates.                        18        Q. Okay. What's the name of
    19        Q. When you say check the                 19   it?
    20   system, what would you check?                  20        A. I call it the S drive.
    21        A. I'm sure that within the               21        Q. Okay. And to your knowledge
    22   system there would be documentation that       22   how long has that been in use?
    23   indicates the assignments that we had and      23        A. A long time. I don't
    24   which distribution centers were, you           24   remember when it started.
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     1   know, located within the region that I          1        Q. So dating back to like 2002
     2   had responsibility for.                         2   when you were regional director, do you
     3        Q. Is there like a name of a               3   believe you would access the S drive at
     4   document that would say who was assigned        4   that time?
     5   to what, that you can think of?                 5        A. I don't think so.
     6        A. I don't recall what the name            6        Q. Okay. So some time after
     7   of the document would be.                       7   that?
     8        Q. Okay. But there's some sort             8        A. I'm not sure but I would
     9   of document that says, these are the            9   think that it was -- it's so long ago, I
    10   distribution centers within this person's      10   don't recall.
    11   responsibility, these are the ones within      11        Q. Okay. Well, do you recall
    12   this person's responsibility; is that          12   accessing documents or saving documents
    13   correct?                                       13   to the S drive when you were a regional
    14        A. Yeah. It should be usually             14   director at any point?
    15   a United States map and it breaks down         15        A. Yes.
    16   which investigators had responsibility         16        Q. Okay. Is that a way that
    17   for which DCs.                                 17   you would have shared information
    18        Q. Okay. And how was that                 18   among -- so obviously there's a region,
    19   maintained in the company's files?             19   so there's other people would you need to
    20        A. I would say that it's kept             20   interact with. You might need to
    21   in general correspondence. Steve Mays          21   interact with your boss. Is that a way
    22   assigned it. And a lot of times we -- it       22   that you would have saved documents so
    23   was based on sales region and then we          23   that you could communicate with each
    24   broke away from that.                          24   other?
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     1        A. Yeah, we called it a shared             1   that.
     2   file. So it was a -- it was a file that         2        Q. Have you ever heard of Mike
     3   everybody had access to, so we could put        3   Mapes?
     4   documents on there, and everybody had           4        A. Yes.
     5   access to them. So that's a correct             5        Q. Okay. He was a DEA agent,
     6   statement.                                      6   correct?
     7        Q. Okay. So from time to time              7        A. Yes, he was.
     8   you might have a meeting and someone            8        Q. And he was also a consultant
     9   could say, oh, pull up the document, and        9   that was hired by the company, correct?
    10   everyone could open it and see what was        10        A. Yes, he was.
    11   there?                                         11        Q. Okay. Did you ever interact
    12        A. Yes.                                   12   with Mr. Mapes when he was a DEA agent?
    13        Q. Okay. So we would be able              13        A. A lot, yes.
    14   to know the -- the distribution centers        14        Q. Okay. What was the --
    15   for which you were responsible by              15        A. I'm sorry, when he was an
    16   accessing these historical records?            16   agent?
    17        A. Yes.                                   17        Q. Yeah.
    18        Q. Okay. And you -- you --                18        A. Yeah, I worked with him when
    19   what was the distribution center in            19   we transitioned our renewal process from
    20   Columbus, was it in the Columbus proper        20   individual DEA license renewals to the
    21   or was it in a suburb outside of               21   batch renewal. He was chief of
    22   Columbus?                                      22   E-commerce back then. So I worked
    23        A. I'm trying to remember the             23   closely with him in -- in transitioning.
    24   town that it's -- that it's in. I can't        24   I think we were the first large
                                             Page 219                                              Page 221
     1   think of the town that it's in. It's a          1   wholesaler that transitioned to the batch
     2   suburb of Columbus.                             2   renewal system, and so they used us sort
     3        Q. I believe it seems to have              3   of as a -- as a model to try it out first
     4   been Lockbourne. Is that --                     4   and then the other -- the other rest of
     5        A. Yes.                                    5   the industry followed us. So I believe
     6        Q. Is that the facility that --            6   that's my recollection, that we were the
     7        A. That's it.                              7   first to do that. So I did have a lot of
     8        Q. So when you refer to                    8   discussions with -- with Mike.
     9   Columbus, that's the facility you're            9         Q. Do you recall a rough time
    10   thinking of?                                   10   period when that occurred?
    11        A. That's correct.                        11         A. I want to say pre-2000.
    12        Q. Okay. Any other -- so -- so            12   Probably '95 -- or probably '98.
    13   Doug Crawford conducted some audits of         13         Q. Okay.
    14   the Lockbourne facility and that's how         14         A. Maybe around '98. It was
    15   you remember interacting with him?             15   pre -- pre me moving to Pennsylvania.
    16        A. I remember one that he                 16         Q. And then did you continue to
    17   conducted recently. I don't know any --        17   interact with Mr. Mapes on other
    18   any of the -- I can't confirm any audits       18   occasions after moving to -- away from
    19   that he conducted other than the one I'm       19   California?
    20   thinking of.                                   20         A. Yeah. Several different
    21        Q. And that was recently, you             21   occurrences where I spoke to him.
    22   said?                                          22         Q. Okay. Can you name some of
    23        A. I would say in the last five           23   the issues that you worked on with him?
    24   years. I can't really pinpoint beyond          24         A. Well, he was chief of
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     1   e-commerce, so we had to get                     1   early 2000 period?
     2   clarification from him quite a few times         2        A. I can't remember the date.
     3   on regulations. We transitioned to the           3   But it was right around that -- it might
     4   CSOS program at one point. And I headed          4   have been the late '90s.
     5   up that transition. And so I worked              5        Q. If a customer uses a paper
     6   closely with Mike. In that -- same thing         6   order form, they have to -- how do they
     7   with the batch renewal. We were one of           7   send it to you? Fax it or mail it?
     8   the first distribution centers in the            8        A. Yeah, they could -- they
     9   industry to transition to CSOS. So I             9   could send it any number of ways. They
    10   worked closely with him during that             10   could mail it. They could send it with
    11   period of time regarding that transition.       11   the driver who delivers their shipment,
    12        Q. Do you have an understanding            12   and then give it to them in an envelope,
    13   of the timing, about when that was?             13   and then it goes back with the driver.
    14        A. It started pre -- pre me                14   They can fax it to us. There's a lot of
    15   starting with the company. I think CSOS         15   ways that we -- that we receive paper 222
    16   started around '95. And I think we              16   forms from our customers.
    17   transitioned -- I don't recall exactly.         17        Q. And then when customers use
    18   I think it was the early 2000s.                 18   the electronic ordering system, they have
    19        Q. What does CSOS stand for?               19   some sort -- they have a computer in
    20        A. Controlled Substance                    20   their store or whatever, and they access
    21   Ordering System.                                21   some sort of portal to enter their order?
    22        Q. Okay. And can you tell me               22   How does that work?
    23   what that is?                                   23        A. Yeah. They -- they have to
    24        A. So for years DEA had the                24   get approved by the DEA. They have to
                                              Page 223                                             Page 225
     1   paper 222 form, narcotic order form.             1   complete a form, and then the DEA issues
     2   It's in triplicate. It has ten line              2   them a certificate, and they receive a
     3   items that a customer could fill in to           3   paper authentication number and then one
     4   receive narcotics. So they finally               4   via e-mail. And then they authenticate
     5   switched over to an electronic 222               5   that digital certificate. And then once
     6   program that took away the paper form            6   they receive the digital certificate,
     7   that's printed in triplicate and allowed         7   it's embedded into a computer that they
     8   customers to place orders electronically         8   use to access that certificate using what
     9   through encryption. And a lot of DEA             9   they call the -- I think it's dual
    10   technology involved, so that can be             10   credentials that they use.
    11   completed, you know, without the paper          11              And then once that digital
    12   forms. So that's really the next                12   certificate is in the customer's
    13   generation of the narcotic paper order          13   computer, they can use that to build an
    14   forms.                                          14   order using our system, and then shoot it
    15         Q. And so that's the way that             15   out electronically.
    16   customers place an order with the               16         Q. And then it's received on
    17   company, using that system?                     17   the other end electronically as well?
    18         A. Not all customers. A lot of            18         A. Yeah, it goes through the
    19   customers are still on the old paper 222        19   CRL. It's called the certificate
    20   forms, a lot of the old pharmacists that        20   revocation list. It's a daily transfer
    21   are not really technology savvy. But all        21   that we receive as the wholesaler to
    22   the new customers pretty much                   22   verify that that digital certificate is
    23   transitioned to the CSOS program, yes.          23   valid. And then once it passes that
    24         Q. And this started in the                24   test, it reaches our system. And then it
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     1   goes through all of our checks, credit,         1             You also mentioned the order
     2   licensing, diversion, you know, order           2   monitoring program. If it exceeds the
     3   monitoring program. And then if it              3   parameters of the order monitoring
     4   passes that, it goes right into pick,           4   program, that's another reason?
     5   pack, and ship.                                 5             MR. NICHOLAS: Object to the
     6         Q. Okay. So is there like a               6        form.
     7   terminal inside the distribution center         7   BY MR. PIFKO:
     8   where people see the order that comes in?       8        Q. Is that correct?
     9   How does that work?                             9        A. Absolutely. It's one of
    10         A. It's been a while. I don't            10   the -- it's one of the filters that it
    11   remember specifically how they look at         11   has to go through in order to go through
    12   it. If it hits a hold, like a credit           12   the system. It has to hit that -- hit
    13   hold or a -- you know, there's license         13   that parameter.
    14   hold or there's a million different kinds
    15   of holds that it can go into it, it will
    16   hit a screen that the associate has to
    17   look at and determine why it's not going
    18   through.
    19             So it might be kicked back
    20   to the customer if it -- if it fails one
    21   of the tests. If it doesn't fail a test,
    22   it goes right into the PKMS system where
    23   it's picked, packed, and shipped.
    24         Q. So there's someone whose job
                                             Page 227                                            Page 229
     1   it is to sit at a computer terminal and
     2   monitor the orders that are getting
     3   flagged for various failures?
     4             MR. NICHOLAS: Object to the
     5         form.
     6             THE WITNESS: Yeah. It's --
     7         I think in most cases it's the
     8         processing manager of the
     9         distribution center. He kind of
    10         runs brains of the distribution
    11         center.
    12   BY MR. PIFKO:
    13         Q. So did you say the data
    14   processing manager? Is that what you
    15   said?
    16         A. DP manager. Data
    17   processing.
    18         Q. Okay. And so one of the
    19   things could be like the license is
    20   expired in the system, so it's rejecting
    21   the order, or there's an issue like you
    22   said with the credit, maybe the payment
    23   is not going to process so that gets
    24   rejected.
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                                                         1   performed a very detailed audit during
                                                         2   these -- during these periods. So we
                                                         3   would -- we would cover the questions as
                                                         4   it was indicated on the audit checklist.
                                                         5            And depending on -- they
                                                         6   would -- generally part of that process
                                                         7   would be for the compliance manager to
                                                         8   explain how they manage their RPICs for
                                                         9   their distribution center. And if there
                                                        10   were questions, we would ask them at that
                                                        11   time. But we would -- we would ask
    12        Q. When you were a regional               12   detailed questions about how it was being
    13   manager -- director, I guess -- well, you      13   managed when we did the audits.
    14   had all those different kinds of titles,       14        Q. About how many RPICs would a
    15   right?                                         15   particular distribution center have at
    16        A. Yes.                                   16   any one time?
    17        Q. That responsible person in             17        A. It would depend on the
    18   charge, is that someone who you would --       18   distribution center. Anywhere from three
    19   I understand they didn't report to you,        19   or four to maybe ten depending on the
    20   but is that someone who you would have         20   size of the distribution center and how
    21   input into whether they were performing        21   busy they were. We have some
    22   their functions with respect to the order      22   distribution centers that are very small
    23   monitoring program?                            23   and they service a very small area. Some
    24            MR. NICHOLAS: Object to the           24   are big. So it would depend.
                                             Page 231                                            Page 233
     1        form.                                      1         Q. How does the Lockbourne
     2             THE WITNESS: We would look            2   facility fare in the size, comparative
     3        at, you know, what they were doing         3   size that you were just describing?
     4        during our audits. The compliance          4         A. Larger.
     5        manager who reported up to the             5         Q. Okay. That's a place that
     6        regional director had                      6   would have more like ten RPICs?
     7        responsibility of all the RPICs            7         A. That's just a -- just a
     8        within that distribution center.           8   general --
     9             So -- so there would be sort          9         Q. Estimate?
    10        of an extended responsibility from        10         A. -- idea. Probably, yeah. I
    11        the director if it was the                11   mean, average for larger divisions,
    12        directors distribution center that        12   probably maybe between six and eight.
    13        he or she was auditing.                   13   But it's hard to say. They vary from DC
    14   BY MR. PIFKO:                                  14   to DC, but yes.
    15        Q. And that compliance manager,           15         Q. Okay. Is there -- as part
    16   that's someone that you would interact         16   of your audit keeping, are you familiar
    17   with in the audit process, correct?            17   with records that would describe who was
    18        A. Yes.                                   18   holding those roles at any particular
    19        Q. Okay. And would you ask                19   time?
    20   them questions about their compliance          20         A. Yes. I believe there was a
    21   with overseeing the responsible people in      21   list of the RPICs at the distribution
    22   charge as part of your audit?                  22   center.
    23        A. If we had reason to ask them           23         Q. Okay. Do you know what the
    24   as part of the audit. I mean, we -- we         24   name of that list was called?
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                                              Page 234                                              Page 236
     1        A. No. I don't remember what                1        form.
     2   it was called.                                   2            THE WITNESS: They vary from
     3        Q. Would that be kept in some               3        DC to DC, how they maintain their
     4   central file at the distribution center?         4        files. But when we audited them,
     5        A. Yes. It would. I think we                5        they would bring all the files to
     6   used the training documents as the list          6        us.
     7   as who was trained and who was performing        7   BY MR. PIFKO:
     8   that function.                                   8        Q. Okay. And you were just --
     9        Q. What do you mean by that?                9   they knew the types of files that you
    10   There was a training?                           10   wanted when you came because you had done
    11        A. Yeah. The RPICs were                    11   these audits before?
    12   required to undergo training, so we             12        A. Yeah, there's a document
    13   would -- you know, I think it was an            13   that indicates -- that we would give them
    14   annual training requirement that they all       14   at the onset of the audit that would
    15   had to go through. So we would use that         15   indicate everything that we needed.
    16   as the document.                                16        Q. Okay. So to your knowledge,
    17        Q. So when you are conducting              17   what -- as an auditor, what was the
    18   the audit, you look at the records of who       18   period for how long back they kept those
    19   was trained and when?                           19   records?
    20        A. That was one of several                 20        A. It would depend on the
    21   things that we looked at, yes.                  21   document and the record. We had a
    22        Q. Was there a way to tell if              22   record -- what do we call it? A
    23   someone was an RPIC but they weren't            23   retention policy. And it would depend.
    24   being trained?                                  24   You know, different records had different
                                              Page 235                                              Page 237
     1        A. Yes. That's one of the                   1   retention policies.
     2   things that we audited for.                      2        Q. Okay. Was that -- the
     3        Q. Okay. And there was                      3   retention policy, is that part of the
     4   documentation of who those people were           4   audit checklist?
     5   and their training history? That would           5        A. No. That's laid out by the
     6   be kept at the distribution center?              6   legal department, I believe.
     7        A. Yes.                                     7        Q. Okay. But it's a document
     8        Q. Is there like -- were these              8   that, like Form 222 should be kept this
     9   on paper files or electronic files?              9   long, training documents should be kept
    10        A. We used paper files. When               10   this long, is that -- that's kind of what
    11   training is conducted at the distribution       11   it would look like?
    12   center, they would have to sign that they       12        A. Yeah, it would -- that would
    13   were trained, and they show the date of         13   be identified in the audit checklist, how
    14   the training and the details of the             14   far back they are required to have those
    15   training. So we would use that as the           15   documents and we would verify that.
    16   basis.                                          16        Q. Okay. And then when you
    17        Q. In your experience as an                17   filled out these audit reports, would you
    18   auditor, were the training files, or --         18   save them to some centralized drive?
    19   and general compliance files that you           19        A. Yes. They would be kept
    20   would be looking at, were they all kept         20   electronically.
    21   in a central location, like go to this          21        Q. On the S drive?
    22   room and that's generally where the             22        A. I don't recall putting them
    23   compliance files are kept?                      23   on the S drive. I know that they were
    24            MR. NICHOLAS: Object to the            24   filed in our -- in our -- in our system,
   Golkow Litigation Services                                                 Page 60 (234 - 237)
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     1   which would be Law Track. And that's             1        principal CSOS coordinator for
     2   updated. So that server is maintained            2        ABC, which means I'm the main --
     3   for -- for that use.                             3        I'm the main liaison between the
     4         Q. You mentioned that from time            4        DEA and CSOS. So I worked with
     5   to time you go back and access or                5        them a lot regarding CSOS
     6   investigators go back and access                 6        regulations and drafting our
     7   historical records. Are those audit              7        policies regarding the CSOS
     8   reports something that people access and         8        program. So that was a lot of
     9   you've accessed?                                 9        interaction.
    10         A. Yes. That would be part of             10            And beyond that would be the
    11   our due diligence documentation that            11        renewal process earlier on.
    12   would be readily retrievable and used           12        Renewing the batch renewals. And
    13   from time to time as necessary.                 13        above and beyond that would have
    14         Q. Okay. And so this day you              14        been just -- he was a good contact
    15   can still access them and use them?             15        for us so we would use him as a
    16         A. Yes.                                   16        contact for a lot of regulatory
    17         Q. So I know we've gone a                 17        clarification.
    18   little branch of the tree there. But I          18   BY MR. PIFKO:
    19   was asking you still about DEA agents           19        Q. So you just felt you had a
    20   that you interacted with. And we had            20   good relationship with him, so if you had
    21   talked about Mr. Mapes.                         21   a question you would just pick up the
    22             So you mentioned that you             22   phone and -- and call him or something,
    23   interacted with him on licensing                23   is that kind of what you're telling me?
    24   procedures and on the CSOS program. How         24        A. Exactly.
                                              Page 239                                             Page 241
     1   about any other types of issues that you         1        Q. Okay. How about e-mails,
     2   interacted with Mr. Mapes?                       2   did you e-mail with him when you had
     3        A. As an agent?                             3   questions?
     4        Q. Yes.                                     4        A. No. The DEA don't like
     5        A. When he was with DEA.                    5   e-mails too much. They -- they have a
     6        Q. Yes.                                     6   firewall. So we would get -- once in a
     7        A. Other than just other                    7   while they would respond via written
     8   miscellaneous requests for clarification         8   form, but usually we would get verbal
     9   of regulations. There was probably two           9   clarification on regulations.
    10   or three instances with that that I can         10        Q. Okay. So you have -- the
    11   vaguely recall, but I don't remember            11   nature of your relationship with
    12   specifics. But it would really pretty           12   Mr. Mapes was such that you could just
    13   much -- that would pretty much cover            13   pick up the phone and -- if you had a
    14   the -- the instances that I interacted          14   question and talk to him and get an
    15   with Mike.                                      15   answer?
    16        Q. So requests for                         16        A. Yeah, he knew who I was so
    17   clarification or regulation, what was the       17   he would take my call.
    18   protocol, how would that -- and the             18        Q. Okay. And then did you take
    19   occasions that you remember kind of             19   notes of these calls ever?
    20   generally, how would that interaction           20        A. God, I don't recall.
    21   with Mr. Mapes occur?                           21        Q. Okay.
    22            MR. NICHOLAS: Object to the            22        A. With clarification of
    23        form.                                      23   regulation, we would -- we would use
    24            THE WITNESS: Well, I'm the             24   his -- his -- his input certainly within
   Golkow Litigation Services                                                 Page 61 (238 - 241)
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     1   the documentation that we were                 1        many years since I've interacted
     2   completing, yeah.                              2        with him. It's hard for me to
     3        Q. That's what I was going. So            3        really state specifically how we,
     4   if you're working on some sort of              4        you know, maintained the
     5   regulatory question that you had, and you      5        information received from Mike. I
     6   called him up, would you write down,           6        don't recall. It would be -- it
     7   okay, I talked to him and he said this,        7        would vary depending on what we
     8   and put that in a file somewhere, so that      8        were asking him. Sometimes it was
     9   everybody else could see?                      9        a very minor issue, sometimes it
    10        A. I don't recall specifics              10        was a more important issue.
    11   when I interacted with Mike. But yes,         11   BY MR. PIFKO:
    12   generally with CSOS regulations, we would     12        Q. Okay. And then would you
    13   use his input as the basis of our -- of       13   save, like if you sent him a letter,
    14   our policy.                                   14   would that get saved on the S drive or
    15        Q. Okay. So you would be                 15   something like that?
    16   working on some sort of policy and then       16        A. Yes. Any written
    17   maybe you would write something in there      17   correspondence to the DEA would generally
    18   on the basis of the conversation that you     18   be kept in a -- in a form, in a
    19   had?                                          19   retrievable, you know, format.
    20            MR. NICHOLAS: Object to the          20        Q. If you took notes on a
    21        form.                                    21   discussion with him and put it into some
    22            THE WITNESS: Yeah. We                22   sort of memo or, you know, something like
    23        would document that he -- that he        23   that, would that be saved on the S drive?
    24        clarified, you know, specific            24        A. It would depend. Maybe not
                                            Page 243                                            Page 245
     1        regulation and what it meant and          1   always.
     2        how we were to interpret that. So         2        Q. Okay. Depending on the
     3        that's -- that's usually the way          3   significance of maybe the discussion, is
     4        we used his input.                        4   that what you're getting at with me?
     5   BY MR. PIFKO:                                  5            MR. NICHOLAS: Object to the
     6        Q. Okay. And is there like a              6        form.
     7   format for a document where you would put      7            THE WITNESS: Yeah. It
     8   that kind of information in?                   8        would depend on what we were
     9        A. I'm trying to remember my              9        calling him about.
    10   interaction with him. I don't think           10   BY MR. PIFKO:
    11   there was any specific format. I think        11        Q. Okay.
    12   we just clarified, you know, within our       12        A. I mean I had multiple
    13   correspondence that he clarified, you         13   discussions with Mike over years. So it
    14   know, this is the interpretation that we      14   would just -- it would cover the gamut.
    15   should use.                                   15   BY MR. PIFKO:
    16        Q. Okay. So maybe you'd sent             16        Q. Right. But if it was a more
    17   him a follow-up letter after the call, is     17   significant issue, you would be more
    18   that what you're saying?                      18   likely to write that down than if it was
    19            I'm just trying to                   19   a minor thing, you know, you would just
    20   understand, I'm trying to visualize what      20   leave that be without documenting it, is
    21   you would do.                                 21   that what you're telling me?
    22            MR. NICHOLAS: Object to the          22        A. I can speak for myself.
    23        form.                                    23   Yes, I would -- I would be likely -- it
    24            THE WITNESS: It's been so            24   would be likely that I would maintain it
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     1   in a written form.                              1        Q. Were you close with
     2        Q. Okay. If it was a more                  2   Mr. Zimmerman?
     3   significant issue?                              3        A. Well, I've worked with him
     4        A. Yes.                                    4   for the -- the entire time that I've been
     5        Q. Okay. You are aware that at             5   with the company, so I know Chris well.
     6   some point, we already talked about it,         6        Q. Okay. And you moved -- you
     7   Mr. Mapes became a consultant for the           7   both shared moving from California to
     8   company, correct?                               8   here, correct?
     9        A. Yes, he did.                            9        A. That's correct.
    10        Q. Are you familiar with how he           10        Q. Okay. Do you interact with
    11   came to be a consultant?                       11   Mr. Zimmerman outside of work?
    12        A. I don't recall. And that               12            MR. NICHOLAS: Objection.
    13   was -- that happened over my head.             13        But go ahead.
    14        Q. So that's -- that was going            14            THE WITNESS: On occasion.
    15   to be my question, if you were involved        15   BY MR. PIFKO:
    16   in the discussions at all.                     16        Q. Okay. Not often though?
    17        A. Not that I recall.                     17            MR. NICHOLAS: Same
    18        Q. Okay. You testified that               18        objection. Go ahead.
    19   you felt like you had a close                  19            THE WITNESS: I would say
    20   relationship with him, correct?                20        not often.
    21        A. Yeah. We worked closely.               21   BY MR. PIFKO:
    22        Q. Okay. Were there other                 22        Q. Okay. How about Kyle
    23   people at the company who had a close          23   Wright, another DEA agent. Have you
    24   relationship with Mr. Mapes?                   24   heard of him?
                                             Page 247                                              Page 249
     1            MR. NICHOLAS: Object to the            1        A. The name rings a bell, but I
     2       form.                                       2   cannot put his name to a face.
     3            THE WITNESS: Yeah, he                  3        Q. Okay. Do you feel like
     4       worked with us on all the team              4   you've heard the name before though?
     5       members pretty closely.                     5            MR. NICHOLAS: Object to the
     6   BY MR. PIFKO:                                   6        form.
     7       Q. Mr. Mays, did he have a                  7            THE WITNESS: Yeah, vaguely.
     8   close relationship with him too?                8   BY MR. PIFKO:
     9            MR. NICHOLAS: Object to the            9        Q. Okay. We talked about --
    10       form.                                      10   you mentioned that in 2005, you took on
    11            THE WITNESS: I can't really           11   some role as performing investigations
    12       speak to how David Mays'                   12   for the company, correct?
    13       relationship, what it was with             13        A. That's correct.
    14       Mike. I think -- I know he worked          14        Q. Okay. Do you remember how
    15       with him.                                  15   you came to -- you said that that was an
    16   BY MR. PIFKO:                                  16   additional responsibility that you took
    17       Q. Okay. How about                         17   on. Do you remember saying that?
    18   Mr. Zimmerman?                                 18        A. Yes, I do.
    19            MR. NICHOLAS: Same                    19        Q. Okay. Do you remember how
    20       objection.                                 20   you came on to take on that additional
    21            THE WITNESS: Same answer.             21   responsibility?
    22       I can't really speak to how he,            22        A. It was so long ago. It was
    23       you know, worked with Mike.                23   13 years ago. I know it was assigned to
    24   BY MR. PIFKO:                                  24   me as a collateral duty in addition to my
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     1   audit responsibilities and my                   1        form. Go ahead.
     2   responsibilities for my region. But I           2            THE WITNESS: It would just
     3   don't remember how it actually came to          3        be the lead team, regional
     4   me.                                             4        directors, our senior director,
     5        Q. Are you aware that Mr. Mays             5        and Chris would be involved in
     6   had a meeting with Mr. Mapes and Kyle           6        those meetings.
     7   Wright in August of 2005?                       7   BY MR. PIFKO:
     8        A. No.                                     8        Q. So you said at any
     9        Q. Mr. Mays traveled to D.C. to            9   particular time there would be four to
    10   meet with them to discuss internet             10   five regional directors?
    11   pharmacies. Do you remember hearing            11        A. Yes.
    12   about that meeting?                            12        Q. Okay. So -- and then your
    13        A. I don't recall that.                   13   boss, and then Mr. Zimmerman might attend
    14        Q. Okay. Do you recall                    14   as well?
    15   Mr. Mays coming to you and -- and saying       15        A. Yes.
    16   the -- the DEA was interested in               16        Q. So maybe seven or eight
    17   increasing the level of due diligence          17   people?
    18   that distributors should be conducting on      18        A. Yeah. It seemed like --
    19   their customers as a result of internet        19   yeah, it would mainly be the regional
    20   pharmacy concerns?                             20   directors, Steve, Chris, and I think the
    21        A. No, I don't recall that.               21   investigations team would sometimes sit
    22        Q. Mr. Mays received a                    22   in on those meetings. But generally
    23   presentation from the DEA at that time         23   speaking, yeah, that would be the core
    24   concerning due diligence and regulatory        24   group that would meet.
                                             Page 251                                           Page 253
     1   requirements and internet pharmacies. Do        1        Q. The investigations team,
     2   you know if he shared that with you at          2   that's Bruce Gundy's team?
     3   that time in 2005?                              3        A. Yes.
     4            MR. NICHOLAS: Object to the            4        Q. And how many people were on
     5        form.                                      5   that team?
     6            THE WITNESS: If he did, I              6        A. It varied over the years. I
     7        don't remember it.                         7   don't recall exactly. We had
     8   BY MR. PIFKO:                                   8   investigators that worked for him for a
     9        Q. Okay. You said that from                9   number of years. I don't remember the
    10   time to time you had in-person meetings        10   number.
    11   with members of your team, the other           11        Q. So in addition to these
    12   regional directors and managers?               12   in-person meetings, did you have
    13        A. Yes.                                   13   telephone conversations regularly with
    14        Q. How frequently did you meet?           14   the team?
    15        A. We would have annual                   15        A. Yes. We would -- we would
    16   meetings. I don't remember when they           16   communicate regularly with each other.
    17   started. But I know we did that for a          17        Q. Just informally or did you
    18   long period of time.                           18   have like a formal weekly or monthly
    19        Q. And those were in person?              19   telephone call?
    20        A. Yeah. They would all come              20        A. I think we had a formal team
    21   to Chesterbrook.                               21   call. It might have been weekly. It
    22        Q. Okay. And then how many                22   might have been biweekly. It might have
    23   people would attend those meetings?            23   been monthly. I think it changed over a
    24            MR. NICHOLAS: Object to the           24   period of years. So that's really --
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     1   have a formal meeting, and then we would       1             So when we would audit
     2   talk to each other, you know, on an            2   their -- excuse me. When we would audit
     3   informal basis as well.                        3   their distribution centers, obviously we
     4        Q. So did you guys e-mail with            4   would work with them closely on the
     5   each other as well?                            5   results.
     6        A. Yes.                                   6        Q. You held your role for
     7        Q. Very often?                            7   13 years. Did the other people in the
     8            MR. NICHOLAS: Object to the           8   other regions have a long tenure in their
     9        form.                                     9   positions as well?
    10            THE WITNESS: Pretty                  10        A. Yeah, for the most part.
    11        regularly.                               11   Yeah. Everybody with AmerisourceBergen
    12   BY MR. PIFKO:                                 12   generally stays for a long time. There's
    13        Q. If there was a new thing              13   very little attrition with our company.
    14   that was being rolled out, would you guys     14        Q. When we talk about
    15   discuss that over e-mail?                     15   interacting with people over the e-mail
    16            MR. NICHOLAS: Object to the          16   and telephone and these annual in-person
    17        form.                                    17   meetings, it's -- the people involved
    18            THE WITNESS: It would                18   were the names that you just listed for
    19        depend. But we communicated              19   the most part?
    20        regularly.                               20             MR. NICHOLAS: Object to the
    21   BY MR. PIFKO:                                 21        form.
    22        Q. Okay. So you don't recall             22             THE WITNESS: For the most
    23   Mr. Mays ever coming back and telling any     23        part. There were other people
    24   members of the team -- I know you said        24        that came and left. But those
                                            Page 255                                            Page 257
     1   you specifically, but my question is, do       1        were the main people that were
     2   you recall whether Mr. Mays had a meeting      2        there the long-term.
     3   with the team at any point saying the DEA      3   BY MR. PIFKO:
     4   is concerned about suspicious order            4        Q. Okay. I'm going to hand you
     5   requirements and internet pharmacies and,      5   a document.
     6   you know, they want us to take on some         6            So you recall also that you
     7   additional due diligence efforts?              7   said that one of your jobs was to --
     8            MR. NICHOLAS: Object to the           8   after the Amerisource and Bergen
     9        form.                                     9   corporation merger, was to get the
    10            THE WITNESS: It's been so            10   licensing and regulatory filings of all
    11        many years. I just don't recall.         11   the distribution centers in order; is
    12   BY MR. PIFKO:                                 12   that correct?
    13        Q. Okay. Who were some of the            13            MR. NICHOLAS: Object to the
    14   other counterparts that you interacted        14        form.
    15   with who held these positions, regional       15            Go ahead.
    16   director positions?                           16            THE WITNESS: Yeah.
    17        A. The names?                            17   BY MR. PIFKO:
    18        Q. Yeah.                                 18        Q. Okay.
    19        A. I think I named them before.          19        A. Yeah, the licensing portion
    20   There was Greg Madsen, Erica Burwell,         20   of my responsibility which ended shortly
    21   Cathy Marcum. There was a guy named John      21   thereafter. But yes.
    22   Gibson, who has since left the company.       22        Q. Okay. And as part of that
    23   More recently Tony Droz is one of the         23   effort you had to look into the files of
    24   newer directors that I worked with a lot.     24   the other distribution centers to get
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     1   everything together?                            1   separate checks, we had one big check and
     2         A. Yeah, we maintained all the            2   one big application, yes.
     3   licensing in electronic format for all          3         Q. Okay. What kind of -- do
     4   the distribution centers.                       4   you remember the kinds of information
     5         Q. And that was something that            5   that are called for on the application?
     6   you reviewed as part of that effort?            6         A. The DEA batch renewal was
     7         A. Well, I renewed them.                  7   pretty straightforward. There was only
     8         Q. Right, but in order to                 8   about five questions on there. The state
     9   perform the renewal, you had to look            9   applications would vary from state to
    10   at --                                          10   state. They were -- they spanned from
    11            MR. NICHOLAS: I think he              11   little to big. So -- and again, that was
    12         thought -- I thought -- I think he       12   so long ago. You know, the questions
    13         thought you said renewed. And it         13   varied.
    14         was renewed/reviewed thing.              14         Q. When you're renewing a
    15   BY MR. PIFKO:                                  15   license, is there any discussion of
    16         Q. Okay. Okay. So all I was              16   compliance activities that occurred at
    17   asking is if you reviewed the records          17   the facility as far as whether the
    18   when you were renewing the licenses.           18   license should be renewed?
    19         A. Well, we had the licenses.            19             MR. NICHOLAS: Object to the
    20   There wasn't much to review. We just --        20         form.
    21   we knew that they expired, generally           21             THE WITNESS: Yeah, I think
    22   speaking, once a year. So we would have        22         some -- some applications ask
    23   to renew those -- those licenses, you          23         questions about previous
    24   know, periodically. So that was a lot of       24         discipline.
                                             Page 259                                            Page 261
     1   work involved in that.                          1   BY MR. PIFKO:
     2        Q. Okay. What's the -- what                2         Q. Okay. Do you remember
     3   was the nature of the work that goes --         3   looking into that when you were in charge
     4   involved -- into a renewal of a license?        4   of renewing the licenses?
     5        A. Mainly filling out the                  5         A. Yeah. That was one of
     6   application. Those applications would           6   the -- one of the things that we -- that
     7   have various questions on them. We would        7   we reviewed as part of completing it,
     8   have to fill them out one at a time. You        8   yeah.
     9   know, the states have their own renewal         9             (Document marked for
    10   application. The DEA switched over to          10         identification as Exhibit
    11   batch renewal, so that was a lot easier.       11         AmerisourceBergen-Cherveny-1.)
    12            Just -- just really                   12   BY MR. PIFKO:
    13   completing the application and cutting         13         Q. So I'm handing you what's
    14   the checks.                                    14   marked as Exhibit 1. For the record,
    15        Q. Batch renewal, that's the              15   it's a few-page document, Bates-labeled
    16   way that a company that is that has            16   ABDCMDL00146183 through 146186. And it's
    17   multiple licenses can renew them all in        17   an e-mail attaching a memorandum of
    18   one -- in one setting?                         18   understanding from April 20th, 2000. And
    19        A. Exactly.                               19   the e-mail is dated December 11, 2013,
    20        Q. So you use one application,            20   from the witness to Bruce Gundy. It
    21   maybe it has discussions about the             21   talks about a Columbus MOU.
    22   various registrations, but a centralized       22             Take a minute to review
    23   way of submitting it?                          23   that, and let me know when you're -- when
    24        A. Yeah, instead of having 26             24   you're done.

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     1        A. Okay.                                1        A. Yes, I do.
     2        Q. Do you remember discussing           2        Q. Do you have an understanding
     3   this MOU with Mr. Gundy?                     3   about what that alleged prohibited act
     4        A. No, I do not.                        4   was about?
     5        Q. Okay. Do you have any                5        A. With regard to this
     6   reason to dispute that you had the           6   particular MOU?
     7   discussion with Mr. Gundy about this MOU?    7        Q. Yes.
     8            MR. NICHOLAS: Object to the         8        A. It happened in 2000. It's
     9        form.                                   9   just so long ago. I don't recall this
    10            THE WITNESS: No. The               10   particular occurrence.
    11        document indicates that I              11        Q. Okay. Item 4 here says,
    12        forwarded this document to him.        12   "Failed to adequately supervise employees
    13        So I wouldn't dispute that.            13   having access to storage areas resulting
    14   BY MR. PIFKO:                               14   in a breach of confidentiality concerning
    15        Q. Okay. Do you remember               15   criminal investigation required by 21
    16   looking into what this MOU was about?       16   C.F.R. 1301.71(b)11."
    17        A. No.                                 17            Do you see that?
    18        Q. The title of the document as        18        A. Wait, which -- which
    19   referenced in the first page,               19   section, which --
    20   ABDCMDL146183 it has the attachment, the    20        Q. 4.
    21   subject is "Columbus MOU."                  21        A. Number 4. Yes, I see that.
    22            Do you see that?                   22        Q. Okay. Do you have an
    23        A. Yes, I do.                          23   understanding about that -- what that
    24        Q. Do you have an understanding        24   alleged prohibited act was about?
                                          Page 263                                            Page 265
     1   about whether this was specific to a         1        A. No. April 2000. That was a
     2   facility in Columbus?                        2   long time ago. I don't recall this.
     3         A. Yes. It looks like it was           3        Q. You, as part of your job,
     4   an -- it was an MOU for our Columbus         4   we've talked, you've had some
     5   distribution center.                         5   responsibilities for discharging the
     6         Q. Okay. It's got here --              6   company's compliance with certain
     7   going to MDL -- ABDCMDL00146184, it tells    7   controlled substances laws, correct?
     8   -- it says, "The notice of hearing allege    8        A. Yes.
     9   that prohibited acts occurred in             9        Q. Okay. Do you have a
    10   violation of the Comprehensive Drug         10   familiarity with what 21 C.F.R. 1301.71
    11   Enforcement Administration Abuse            11   (b)11 is?
    12   Prevention and Control Act of 1970 and      12            MR. NICHOLAS: Object to the
    13   the regulations promulgated thereunder,     13        form.
    14   namely that the respondent, Amerisource     14            THE WITNESS: Reference to
    15   Corporation has" -- and then it's got       15        Item 4?
    16   four issues here.                           16   BY MR. PIFKO:
    17             Do you see that?                  17        Q. Yeah. That citation, is
    18         A. Yes.                               18   that --
    19         Q. Okay. And one of them is,          19        A. No, I --
    20   "Failed to provide effective controls and   20        Q. -- something that you're
    21   procedures to guard against the theft and   21   familiar with?
    22   diversion of controlled substances          22        A. Unless I had it in front of
    23   required by 21 C.F.R. 1301.71(a)."          23   me, I wouldn't -- I wouldn't want to
    24             Do you see that?                  24   speculate what that regulation states
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     1   exactly.                                        1   steps were taken.
     2        Q. Okay. How about 1301.71(a),             2        Q. Do you recall anything
     3   do you know what that's about?                  3   unique to the Columbus facility as far as
     4            MR. NICHOLAS: Same                     4   how they were performing their duties or
     5        objection.                                 5   procedures when you first came into the
     6            THE WITNESS: I would want              6   role as regional director?
     7        to see the regulations before I            7        A. No.
     8        comment on it.                             8        Q. It's got some names here of
     9   BY MR. PIFKO:                                   9   people who, quote, appear -- "appearing
    10        Q. As part of your working to             10   on behalf of the respondent." Do you see
    11   put all the facilities together and            11   that at the top of the page?
    12   applying for the licenses, do you recall       12        A. Yes.
    13   uncovering this when you were doing the        13        Q. Okay. Do you know who
    14   transition?                                    14   Rodney Bias is?
    15            MR. NICHOLAS: Objection.              15        A. Yes, I knew Rodney.
    16        Object to the form.                       16        Q. Okay. What was his role?
    17            THE WITNESS: No.                      17        A. He was, I believe, director
    18   BY MR. PIFKO:                                  18   of regulatory compliance for Amerisource
    19        Q. No?                                    19   at the time of the merger.
    20            Do you know if any money was          20        Q. And do you know what
    21   paid in connection with this?                  21   happened to him after -- after the
    22        A. It states anything here --             22   merger?
    23   no, I don't know.                              23        A. He subsequently left the
    24        Q. It says here at the 146185,            24   company. I don't remember when exactly.
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     1   "The respondents having been fully              1        Q. Did you interact with him
     2   advised of the prohibited acts which have       2   regularly, or he wasn't someone that you
     3   occurred have agreed to comply with the         3   worked with?
     4   provisions of the comprehensive Drug            4        A. No, I worked with him pretty
     5   Enforcement Administration Abuse,               5   regularly when he was with the company.
     6   Prevention and Control Act of 1970 and          6        Q. Okay. Do you have an
     7   the regulations issued thereunder               7   estimate about when he left the company?
     8   hereafter set forth." And then it's got         8        A. No.
     9   four items.                                     9        Q. How about Brent Wilheim of
    10            Do you see that?                      10   the Columbus operations manager. Do you
    11        A. Yes.                                   11   know who that is?
    12        Q. Okay. It says, "Respondent             12        A. Yeah, vaguely. It was a
    13   will provide effective controls and            13   long time ago.
    14   procedures to guard against theft and          14        Q. Was that someone that you
    15   diversion of controlled substances             15   interacted with?
    16   required by 21 C.F.R. 1301.71(a)."             16        A. Not as much as Rodney.
    17            Do you see that?                      17   Rodney was a member of the corporate
    18        A. Yes.                                   18   regulatory team. And Brent was an
    19        Q. Do you have any                        19   operations manager of the DC, so I would
    20   understanding about what steps were taken      20   have a lot less interaction with him.
    21   to comply with that?                           21        Q. Any of these people, John
    22        A. No. Having been so long                22   Briney, Frieda Hein, did you interact
    23   ago, you know, 18 years ago, I don't           23   with any of them?
    24   recall this at all. So I don't know what       24        A. Yeah, Frieda was the
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     1   compliance office, she was the compliance        1   they report up to a program manager. So
     2   manager, I worked with her.                      2   they would be sort of the equivalent of
     3       Q. Okay.                                     3   a -- of a -- like our distribution
     4       A. I don't remember John                     4   center. And then, you know, the program
     5   Briney.                                          5   manager would be equivalent to like a
     6       Q. Frieda, how long did you --               6   regional director. So within DEA, that's
     7   over your tenure do you recall working           7   the way I would -- I would explain their
     8   with her?                                        8   roles. So she was in charge of that DEA
     9       A. Several years. I don't                    9   office that had that jurisdiction over --
    10   remember specific dates.                        10   over that geographic area.
    11       Q. At some point she left the               11        Q. You talked about your
    12   company?                                        12   closeness with Mr. Mapes. Did you feel
    13       A. I believe so, yeah.                      13   that you had a closeness with her?
    14       Q. Have you talked to Rodney or             14            MR. NICHOLAS: Object to the
    15   Frieda in -- at any time in the last few        15        form.
    16   years?                                          16            THE WITNESS: No, not as
    17       A. No.                                      17        much.
    18       Q. It's got some people who are             18   BY MR. PIFKO:
    19   identified as appearing on behalf of the        19        Q. Okay. Did you ever pick up
    20   DEA below that. Do you see that?                20   the phone and ask her compliance
    21       A. Yes.                                     21   questions?
    22       Q. Do you know who any of those             22        A. Not that I recall.
    23   people are?                                     23        Q. Do you recall if you ever
    24       A. I remember Helen Kaupang.                24   sent her any letters or e-mails asking
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     1   She was the group supervisor of the              1   her compliance questions?
     2   Columbus office I believe, so I did work         2        A. No. She was a -- she was a
     3   with her.                                        3   group supervisor and Mike was at
     4        Q. Okay. You worked with her                4   headquarters. So Mike would have been a
     5   somewhat regularly?                              5   more appropriate person because he was --
     6        A. She was the group supervisor             6   he was in charge of the programs. So I
     7   for the -- for the DEA that held                 7   did not have as much interaction with her
     8   jurisdiction for our distribution center.        8   as I had with Mike.
     9   So I worked with her several times               9        Q. So you knew that if you
    10   throughout my tenure while I had that           10   wanted guidance from the DEA, it would be
    11   distribution center.                            11   more appropriate to ask someone at
    12        Q. She was in that position as             12   headquarters than someone at a regional
    13   long as you could remember while you            13   level?
    14   were -- you had your role?                      14        A. Yeah. Their -- their
    15        A. Yeah, I don't remember what             15   opinion would carry more weight from our
    16   years. But I remember -- I remember the         16   standpoint as a wholesaler.
    17   name and I remember working with her.           17        Q. Let's go back to
    18        Q. When you say group                      18   the additional investigation
    19   supervisor, that's what it says here on         19   responsibility that you took on in 2005.
    20   the page, what -- what does that -- what        20   What -- I asked you if you remembered how
    21   is your understanding of what that              21   you kind of came to take that on. You
    22   entailed?                                       22   said you didn't really have a clear
    23        A. The group supervisors are in            23   direct remembrance of the meeting or
    24   charge of the -- of the field office, and       24   specific thing. But you just remember
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     1   that you took it on, correct?                   1        A. I know it was periodic. I
     2        A. That's correct.                         2   don't remember the frequency.
     3        Q. Okay. So, what specifically             3        Q. Who told you that your new
     4   were these additional investigation             4   responsibility was to look at this
     5   responsibilities that you took on at that       5   report?
     6   time?                                           6        A. I believe it was Steve Mays.
     7        A. So the report that I                    7        Q. And you know it was in 2005?
     8   reviewed that generated periodically was        8        A. I believe it was within that
     9   called the possible suspicious order            9   two-year period, from 2005 to 2007. But
    10   report. So that report was generated           10   again that was a long time ago. That's
    11   based on pre-set parameters, and it would      11   just my recollection.
    12   come to my office. I would separate it         12        Q. How would this report come
    13   by customer, and I would conduct separate      13   to you, by -- by e-mail?
    14   investigations pursuant to that report,        14        A. No, it would come in
    15   to those customers.                            15   hardcopy.
    16        Q. Do you know how that report            16        Q. Okay. Through like
    17   was generated?                                 17   interoffice mail?
    18        A. I don't recall. I don't                18        A. Yeah, I don't know where it
    19   recall the parameters and I don't recall       19   was generated from. But I know that it
    20   how it was generated. I just know that         20   was -- it would end up on my desk at the
    21   it was generated and it came to my             21   predesignated time, you know, at the
    22   office.                                        22   frequency that it was established for.
    23        Q. Do you know if that was a              23        Q. Okay. So if it was like
    24   report that was generated prior to you         24   every week on a Friday when that would
                                             Page 275                                            Page 277
     1   having the involvement with it and then         1   come, or once a month, whatever, it came
     2   you were just a new person that was             2   with that regularity and someone would
     3   reviewing it and it had been produced           3   deliver it to you?
     4   before and others had reviewed it?              4            MR. NICHOLAS: Object to the
     5            MR. NICHOLAS: Object to the            5         form.
     6        form.                                      6            Go ahead.
     7            THE WITNESS: I honestly                7            THE WITNESS: Yes.
     8        don't recall. It was so long ago.          8   BY MR. PIFKO:
     9   BY MR. PIFKO:                                   9         Q. Okay. And then it was your
    10        Q. Do you -- that was kind of a           10   job to look at the -- I'm sorry if I
    11   longwinded question. Do you understand         11   didn't -- if I didn't hear you, the
    12   my question?                                   12   orders or the customers that were on this
    13            Did you understand -- I               13   list?
    14   think -- I think I know what you're going      14         A. It was -- it was orders and
    15   to say but I'll just ask it for clarity.       15   it was broken down by customers.
    16            Do you understand that that           16         Q. Okay. So it was your job to
    17   report existed before you became involved      17   look at all the orders on this list?
    18   with interacting with that report?             18         A. Yes.
    19        A. I can't confirm knowledge              19         Q. And how did you know, did
    20   that that report existed prior to my           20   someone train you about what you were
    21   taking on that investigative                   21   supposed to look for when you were
    22   responsibility.                                22   looking at this?
    23        Q. How frequently would this              23         A. I don't remember
    24   report get sent to you?                        24   specifically how I was instructed to --
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     1   to review the report. I don't remember          1   investigation report.
     2   how I was instructed.                           2        Q. Okay. And then would you
     3        Q. Do you know who would have              3   save that somewhere?
     4   given you the instructions?                     4        A. Yeah. I believe it was
     5        A. I believe Steve would have              5   maintained in Law Track.
     6   done that.                                      6        Q. And then was there a goal of
     7        Q. Okay. And so tell me what               7   the investigation that you were trying to
     8   your recollection of what you were              8   determine something?
     9   supposed to look at on this report was.         9             MR. NICHOLAS: Object to the
    10        A. So the report contained                10        form.
    11   sales data for customers. And I believe        11             THE WITNESS: We were trying
    12   it was Oxycodone and hydrocodone               12        to determine if any improprieties
    13   products. If they breached a parameter,        13        were happening with regard to
    14   it would trigger this report to be             14        those orders. I would -- I would
    15   generated. So I got the report                 15        collect all the information that
    16   periodically and it may have been, you         16        I -- that I could from the
    17   know, I don't remember how much it was,        17        customer to explain, you know, the
    18   but I would separate it by customer,           18        reasoning as to why they were
    19   because it would be, I believe                 19        buying that quantity of controls,
    20   alphabetical or it might have been by DEA      20        and I would take the findings and
    21   number. But it would basically be, you         21        I would, you know, provide it to
    22   know, one customer, then another               22        Steve Mays. And what he did with
    23   customer, and it would just be -- it           23        it, you know, I'm not sure.
    24   would span multiple customers in               24             Because at that point the
                                             Page 279                                            Page 281
     1   grouping. So I would group them in              1        decision -- the decisionmaking
     2   separate -- in separate files and then I        2        regarding my investigation that I
     3   would conduct the investigation of those        3        completed was conducted, you know,
     4   customers.                                      4        outside of my realm. So I'm not
     5        Q. Okay. And then what -- what             5        sure what the -- what the -- what
     6   things would you do to conduct the              6        the results of those -- those
     7   investigation of those customers?               7        investigations entailed.
     8        A. I had a couple support staff            8   BY MR. PIFKO:
     9   within the CSRA department that I used to       9        Q. Did you make any
    10   assist me with this, that I would work         10   recommendations for actions in the
    11   with those individuals to contact the          11   report?
    12   sales executive, to contact the customer       12        A. You know, it's been so long
    13   to inquire as to why they were buying,         13   ago, I don't recall.
    14   you know, that quantity of controlled          14        Q. Do you recall if one of the
    15   substances. We would collect all the           15   things that you were evaluating was
    16   information on the customer. We would          16   whether to fill the order?
    17   take their responses to our questions and      17        A. Well, keep in mind this was
    18   our follow-up questions, and we would          18   a system that we operated that was
    19   complete an investigation of each              19   prior -- prior to the system that held
    20   customer.                                      20   orders.
    21        Q. Would there be some sort of            21        Q. Okay.
    22   document that you would create at the          22        A. So this was investigations
    23   culmination of your investigation?             23   that occurred after the shipment was
    24        A. Yeah. It would be an                   24   already completed.
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     1         Q. Okay. So it's your                      1         for. Sometimes we would contact
     2   understanding that all these orders and          2         the customer, and it would take
     3   in the possible suspicious order report          3         them time to respond to us. So it
     4   had already been shipped; is that                4         would depend on the investigation,
     5   correct?                                         5         anywhere from, you know, best case
     6         A. Yes. Those were -- those                6         scenario, a couple days to maybe a
     7   were orders that have already been               7         couple weeks, just off the top of
     8   shipped. That's correct.                         8         my head. But I -- it's been so
     9         Q. Okay. And you would look at             9         long I don't recall.
    10   it to evaluate whether there were               10             MR. PIFKO: Okay. Thank
    11   concerns, and you would generate a              11         you. We'll take a break.
    12   report, but you didn't make any                 12             THE VIDEOGRAPHER: Going off
    13   recommendations for a course of action          13         the record. 2:32 p.m.
    14   going forward; is that correct?                 14             (Short break.)
    15         A. That's correct.                        15             THE VIDEOGRAPHER: Back on
    16         Q. You provided that to Steve             16         record, 3:07 p.m.
    17   Mays, the report?                               17   BY MR. PIFKO:
    18         A. Yes. I believe I give it               18         Q. Welcome back.
    19   directly to Steve Mays.                         19         A. Thank you.
    20         Q. Did you send it by e-mail?             20         Q. I want to talk about your
    21         A. I don't recall. We may have            21   educational background and training for a
    22   just put it in the Law Track system and         22   little bit. Okay?
    23   he retrieved it from there. I don't             23         A. Yeah.
    24   recall how I gave it to him.                    24         Q. All right. So earlier we
                                              Page 283                                            Page 285
     1        Q. Do you recall about how long             1   talked that you -- let me make sure I
     2   it would take you to conduct an                  2   have a clear understanding. You went to
     3   investigation of a customer that was             3   high school, graduated high school. Then
     4   identified in this report?                       4   you went to Golden West College for a
     5        A. I don't recall.                          5   year, and then you decided to join the
     6        Q. Is it like -- put me in your             6   Navy, and did that, and then you got a
     7   shoes. I'm sitting -- I'm sitting at             7   job with Amerisource -- or with the
     8   your desk. Is it like a thing that takes         8   Bergen Corporation, correct?
     9   a week, and you're kind of doing it off          9        A. Yes.
    10   and on? Is it something that you sit            10        Q. How long were you in the
    11   down and do in a few hours? Do you do it        11   Navy?
    12   all day? Can you explain to me how long         12        A. Five years.
    13   the process took in that regard?                13        Q. And you had the same
    14            MR. NICHOLAS: Object to the            14   controller job during the entire duration
    15        form.                                      15   of your service?
    16            You can go ahead and answer.           16        A. Yes.
    17            Can we a break soon, Mark,             17        Q. Okay. So when you got to
    18        maybe after this question?                 18   the Bergen Corporation, you started as a
    19            MR. PIFKO: Yeah.                       19   security guard, you said, correct?
    20            MR. NICHOLAS: Okay. Go                 20        A. Security officer. Yes.
    21        ahead.                                     21        Q. Okay. And then when you
    22            THE WITNESS: Yeah, the --              22   moved into the regional manager director
    23        it would depend on how quickly we          23   position, did you get any specific
    24        got the information that we asked          24   training?
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     1        A. Yes. I basically                        1       A. Nope, I think that was it.
     2   accompanied other auditors on audits, and       2       Q. And then 2005, you added the
     3   those people that had been with the             3   investigation slate to your plate, as we
     4   company ran through the audit checklist         4   discussed before the break, correct?
     5   with me and all related duties that I           5       A. Correct.
     6   would have.                                     6       Q. And then you conducted those
     7        Q. So when you first took on               7   investigations for how long?
     8   that role, your primary job was                 8       A. I believe it was from 2005
     9   conducting the audits?                          9   and 2007.
    10        A. Conducting the audits and              10           And I would like to make a
    11   managing my region.                            11   correction to my previous testimony.
    12        Q. Okay. What else -- what                12       Q. Okay. Is that based on a
    13   else do you mean by managing your region?      13   discussion that you had during the break?
    14        A. Well, the compliance                   14       A. Just --
    15   managers would report up to me. So any         15           MR. NICHOLAS: Objection.
    16   day-to-day occurrences that needed             16       Objection. I don't think you're
    17   attention, you know, I would have to           17       allowed to ask about any
    18   handle that. So that had a whole array         18       conversation --
    19   of areas that I had to -- had to respond       19           MR. PIFKO: If he's going to
    20   to.                                            20       make a correction to his
    21        Q. Okay. So how many -- how               21       testimony, I am.
    22   many compliance managers would be at a         22           MR. NICHOLAS: Where does it
    23   particular distribution center?                23       say -- I mean, where does it say
    24        A. Only one.                              24       that? Hold on. Let me just
                                             Page 287                                             Page 289
     1       Q. So those people reported to              1       find -- let me just find the order
     2   you. Anyone else who reported to you?           2       so we can be clear on --
     3       A. No.                                      3            MR. PIFKO: Well, he's
     4       Q. And then, sorry, I know we               4       making a correction.
     5   had discussed it may be a bit, but how          5            MR. NICHOLAS: What does
     6   many distribution centers would you have        6       that have to do with this order?
     7   under your wing at any one time?                7   BY MR. PIFKO:
     8       A. Anywhere between five and                8       Q. What's the basis of your
     9   eight, I think --                               9   correction, sir.
    10       Q. Okay.                                   10            MR. PIFKO: I don't need the
    11       A. -- depending on which time              11       order.
    12   period it was.                                 12            MR. NICHOLAS: Wait a
    13       Q. So you had about five and               13       minute.
    14   eight compliance managers who had to           14            Go ahead.
    15   report to you?                                 15            MR. PIFKO: No, if he's
    16       A. Correct.                                16       going to make a correction, I'm
    17       Q. And so in addition to                   17       asking him a question.
    18   conducting the audits, you had to deal         18            THE WITNESS: The correction
    19   with any issues they raised to you, any        19       was the report -- what the report
    20   personnel issues, and things like that as      20       was called that I reviewed.
    21   well?                                          21   BY MR. PIFKO:
    22       A. Yes.                                    22       Q. Okay. And what was the
    23       Q. Anything else that was part             23   basis for wanting to make that
    24   of your job at that time?                      24   correction?
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     1        A. Just to correct the record.             1   report?
     2        Q. No, but why did it come to              2           MR. NICHOLAS: You can
     3   you that you needed to correct the              3       answer only to the extent that it
     4   record? Did someone tell you at the             4       doesn't -- you know, you can't
     5   break that the report had a different           5       talk about any conversations on
     6   name?                                           6       the break.
     7            MR. NICHOLAS: I'm going to             7           THE WITNESS: I just want to
     8        instruct him not to answer, based          8       make a correction to the name of
     9        on this order.                             9       the report that I reviewed.
    10   BY MR. PIFKO:                                  10   BY MR. PIFKO:
    11        Q. Did AmerisourceBergen's                11       Q. I hear you, but that's not
    12   lawyer tell you that the report had a          12   my question.
    13   different name during the break?               13           My question is: How did you
    14            MR. NICHOLAS: I'll instruct           14   come to decide that you wanted to make a
    15        him not to answer based on this           15   change to the name of the report?
    16        order.                                    16           MR. NICHOLAS: Same
    17            THE WITNESS: I'll take my             17       instruction.
    18        attorney's advice.                        18           THE WITNESS: I'll follow my
    19   BY MR. PIFKO:                                  19       attorney's advice and not answer
    20        Q. Okay. The reason that you              20       that.
    21   want to change the name of the order, is       21   BY MR. PIFKO:
    22   there a way that you can answer that           22       Q. You can't answer that
    23   question without revealing conversations       23   question without talking about a
    24   with your lawyer?                              24   communication that you had with your
                                             Page 291                                            Page 293
     1            MR. NICHOLAS: I'm going to             1   lawyer?
     2       instruct him not to answer based            2            MR. NICHOLAS: Same
     3       on the order. The order is pretty           3       objection.
     4       clear. You can't inquire about              4            THE WITNESS: Yes.
     5       any conversations during the                5            MR. PIFKO: Okay. Well,
     6       break. Period.                              6       obviously we'll deal with that.
     7            MR. PIFKO: I can, because              7       The record is what it is.
     8       it's clear that a change was                8   BY MR. PIFKO:
     9       required as a result of something           9       Q. What's the correction that
    10       that occurred during the break.            10   you would like to make that obviously
    11            MR. NICHOLAS: That's not --           11   your counsel told you to make?
    12       that's not true that anything is           12            MR. NICHOLAS: Hold on.
    13       clear. I know what the order               13       Hold on. I'll object to the
    14       says. You've not allowed to                14       snarky comment --
    15       inquire about a conversation --            15            MR. PIFKO: It's the
    16       about any conversations at all             16       reality.
    17       during the break having to do with         17            MR. NICHOLAS: -- which
    18       attorney -- between the attorneys          18       is -- which is --
    19       and the witness. So just don't do          19            MR. PIFKO: Bob, you've got
    20       it. Just ask him your --                   20       a problem. We're already in the
    21   BY MR. PIFKO:                                  21       process of raising it to the
    22       Q. How did you come to -- how              22       court. You have a problem out of
    23   did you come to realize that you wanted        23       every other lawyer in this whole
    24   to make a change to the name to the            24       case of your coaching of
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     1    witnesses. We're building the              1        But that's the reality of the
     2    record. But the transcripts are            2        situation.
     3    very clear about your coaching and         3   BY MR. PIFKO:
     4    your improper conduct.                     4        Q. So what's the correction
     5        And I'm dead serious right             5   that you want to make?
     6    now. I will seek to have your pro          6            MR. NICHOLAS: Before you
     7    hac vice revoked from the case if          7        answer -- and you can answer. I
     8    you can't comply with the rules.           8        just want the record to be clear
     9    That is a remedy that is                   9        that it is my view that there have
    10    appropriate. And if you can't             10        been extensive improper and
    11    comply with the rules, then that's        11        misleading questions asked
    12    where we're going to go.                  12        throughout the depositions that
    13        I hope that we don't need             13        I've been involved in.
    14    that. I think you're a nice               14            I only object when there is
    15    enough guy. But you really got to         15        a need to correct something which
    16    tone it down. Okay? So that's             16        is clearly misleading and
    17    the end of this.                          17        improper.
    18        MR. NICHOLAS: No, wait,               18            MR. PIFKO: There's a way to
    19    wait, wait. I want to wait till           19        make objections. And you go
    20    you complete your statement before        20        beyond what the way is.
    21    I respond.                                21            MR. NICHOLAS: That's your
    22        MR. PIFKO: We're having --            22        opinion.
    23    you're not responding. I'm                23            MR. PIFKO: No, it's
    24    taking --                                 24        obvious. When you state facts in
                                         Page 295                                             Page 297
     1         MR. NICHOLAS: Well, bring             1       your objection, you're going above
     2    your --                                    2       and beyond what you're supposed to
     3         MR. PIFKO: -- a deposition            3       do when you make an objection. I
     4    and you're interrupting the                4       told you this at the last
     5    deposition. Okay? We're not                5       deposition.
     6    doing this.                                6            MR. NICHOLAS: Have I done
     7         MR. NICHOLAS: I didn't                7       it today?
     8    interrupt the deposition.                  8            MR. PIFKO: No. You were
     9         MR. PIFKO: Yeah, you did.             9       better until now. And you're
    10         MR. NICHOLAS: I                      10       coaching the witness during the
    11    interposed --                             11       break.
    12         MR. PIFKO: You did.                  12            MR. NICHOLAS: Well, that --
    13         MR. NICHOLAS: -- an                  13       okay. There's no basis for your
    14    objection.                                14       saying that.
    15         MR. PIFKO: Okay. And you             15            MR. PIFKO: There is.
    16    clearly -- you clearly coached the        16            MR. NICHOLAS: If you want
    17    witness to change the nature of           17       to hear what he has to say, fine.
    18    his testimony during the break.           18       If you don't want to hear --
    19    It's very obvious from the record         19            MR. PIFKO: I'm trying to
    20    that that's what occurred.                20       get it out of him --
    21         That's obviously improper.           21            MR. NICHOLAS: -- what he
    22    Everybody knows that. Okay. And           22       has to say, fine. That's up to
    23    that's what you did. And we're            23       you.
    24    going to have to live with it.            24            MR. PIFKO: -- but you're
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     1        obstructing me from getting it out          1   know when that happened or how it
     2        of him right now.                           2   happened.
     3   BY MR. PIFKO:                                    3        Q. Are you aware that the
     4        Q. Okay. With that said,                    4   company has a duty to identify and report
     5   what's the correction that you would like        5   suspicious orders?
     6   to make?                                         6        A. Yes. We have a
     7        A. The report that I reviewed,              7   responsibility to report suspicious
     8   the periodic report that I referenced            8   orders.
     9   earlier, I indicated that it was a               9        Q. And to identify them as
    10   possible suspicious order report. It's          10   well?
    11   actually called the possible excessive          11        A. Well, I think reporting it
    12   purchase report.                                12   would be identifying them, wouldn't it?
    13        Q. Okay.                                   13        Q. Okay. Well, I just want to
    14        A. That's the correction.                  14   make sure we are using the correct words
    15        Q. But you remember it being               15   here.
    16   called the suspicious order report              16             Okay. So you are aware that
    17   because you were evaluating the                 17   that's a requirement that the company
    18   suspicious natures of the orders; is that       18   has, correct?
    19   correct?                                        19        A. Yes, to review orders and
    20             MR. NICHOLAS: Object to the           20   identify suspicious orders and block them
    21        form.                                      21   and report them.
    22             THE WITNESS: No. We're                22        Q. Okay. Is that a new
    23        just talking multiple years since          23   requirement?
    24        I reviewed the report. So I just           24        A. No.
                                              Page 299                                             Page 301
     1       misunderstood -- I misremembered             1        Q. Okay. That's something that
     2       what it was called.                          2   you've always been required to do,
     3   BY MR. PIFKO:                                    3   correct?
     4       Q. Okay. Why did you think it                4            MR. NICHOLAS: Object to the
     5   was called a possible suspicious order           5        form. Go ahead.
     6   report?                                          6            THE WITNESS: Yes.
     7       A. I don't know. I just didn't               7   BY MR. PIFKO:
     8   remember.                                        8        Q. As long as your tenure with
     9       Q. Do you have an understanding              9   the company going back to the late '90s,
    10   what an order that exceeds the threshold        10   correct?
    11   is?                                             11        A. Yes.
    12       A. Well, it would depend.                   12        Q. Okay.
    13       Q. Well, before 2007, are you               13        A. Well, the regulation has
    14   aware that the company reported all             14   been -- has stated that since the early
    15   orders that exceeded thresholds as              15   '90s, yes.
    16   suspicious to the DEA?                          16        Q. So we were going -- we
    17       A. No. I don't know how those               17   were -- before we went into that sidebar,
    18   reports were submitted and what was             18   we were discussing your training and some
    19   submitted.                                      19   of your responsibilities as the regional
    20       Q. Are you aware that the                   20   manager.
    21   company reported suspicious orders to the       21            So you supervised about
    22   DEA before 2007?                                22   eight compliance managers, five to eight,
    23       A. I did not know that. I                   23   depending on the time, and you were
    24   didn't know when it started. I didn't           24   responsible for conducting the audits,
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     1   correct?                                        1        A. A combination.
     2        A. Some of the audits, yeah.               2        Q. Okay. These were annual
     3        Q. Okay. Based on the schedule             3   meetings, you said?
     4   that was provided to you, correct?              4        A. Yes.
     5        A. Yes.                                    5        Q. How many people would attend
     6        Q. And you said that when you              6   them?
     7   took over that role, you got sort of            7        A. A lot of people. All of the
     8   on-the-job training with people who had         8   compliance managers with the company.
     9   already had experience conducting the           9   And the corporate CSRA associates.
    10   audits; is that correct?                       10        Q. About how many people would
    11        A. Yes, that's correct.                   11   that be at a particular time?
    12        Q. Did you have any formal                12        A. It would depend on the
    13   training sessions, went through a              13   number of distribution centers we had at
    14   presentation at the company, or online         14   that period.
    15   training or anything like that?                15        Q. Okay. Can you give me a
    16        A. I don't recall.                        16   range?
    17        Q. And we were talking about              17        A. Well, when we first merged
    18   your job responsibilities in that you          18   we had 52 distribution centers. We
    19   added this investigations in 2005, and         19   merged those down to 26, and I think it
    20   then you stopped doing them in 2007.           20   stayed right in that level. So 26
    21   That -- that was taken off your plate,         21   compliance managers along with corporate
    22   did I hear you correctly?                      22   associates which would -- which would
    23        A. Yes.                                   23   vary over time.
    24        Q. Okay. And then from 2007 to            24        Q. Did you interact with -- so
                                             Page 303                                           Page 305
     1   2015, your job was to manage the                1   your -- you were under the CSRA
     2   compliance managers and to conduct the          2   department, correct?
     3   audits?                                         3        A. Yes.
     4        A. Yes.                                    4        Q. Okay. But your area was
     5        Q. Any other responsibilities?             5   just one area of the CSRA, correct?
     6        A. No. That pretty much took               6        A. Well, I had a region, but
     7   all my time.                                    7   there were other responsibilities that
     8        Q. Okay. And did you get any               8   the CSRA department handled. But I was
     9   other specific training at that time?           9   regulatory.
    10        A. At what time?                          10        Q. Right. So that's kind of
    11        Q. After 2007.                            11   what I'm trying to get at. So there
    12        A. No, not that I recall.                 12   was an -- was there an investigation
    13        Q. Did you attend -- was there            13   group that was part of the CSRA that was
    14   like any regular annual training or            14   Bruce Gundy's group?
    15   anything you attended?                         15        A. Yes.
    16        A. We would conduct annual                16        Q. Okay. Were there other
    17   conferences with the entire CSRA               17   groups -- and then there -- there was
    18   department. So training sessions were          18   your group that Steve Mays was in charge
    19   conducted during -- during those               19   of; is that correct?
    20   sessions.                                      20        A. Yes.
    21        Q. Who gave those trainings?              21        Q. Okay. Was there another --
    22        A. Various associates.                    22   any other groups that you're aware of?
    23        Q. Managers, or people under              23        A. There was a physical
    24   you, or?                                       24   security manager.
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     1        Q. Okay. And what -- just one                 1        A. It was a week long, I think.
     2   person?                                            2        Q. Okay. So you did that
     3        A. He may have had somebody                   3   full-time for that week for the -- it
     4   that worked under him. I don't recall.             4   wasn't like you were going to work and
     5        Q. Okay. And what was his                     5   then you'd go at night or something. You
     6   role?                                              6   went to that program for the week and
     7        A. To oversee all the physical                7   finished the course?
     8   security of the distribution centers,              8        A. Correct.
     9   alarm components and such.                         9        Q. Okay.
    10        Q. So from time to time would                10        A. Took my whole time for that
    11   you confer with him if you had an issue           11   week.
    12   of physical security at one of the                12        Q. Where was that located?
    13   distribution centers under your audit             13        A. It was in the city, here in
    14   responsibility?                                   14   Philadelphia.
    15        A. Yes, I would.                             15        Q. Any other training that you
    16        Q. What was his name?                        16   were provided?
    17        A. Bob Crow.                                 17        A. We would go to conferences
    18        Q. Was he in the -- that                     18   from time to time, but nothing beyond
    19   position the whole time?                          19   that.
    20        A. Most of the time.                         20        Q. What kind of conferences?
    21        Q. Do you remember who took                  21        A. DEA conferences. They have
    22   over his role?                                    22   a chemical conference, they have a
    23        A. It was reassigned I believe               23   controlled substance conference, some
    24   to -- to the distribution centers,                24   state conferences.
                                                Page 307                                            Page 309
     1   possibly the district directors. I don't           1        Q. Did you go to more than one
     2   remember -- recall exactly who got that            2   of those conferences a year?
     3   role when he -- when he left.                      3        A. No.
     4        Q. Other than the on-the-job                  4        Q. Did you go to one every year
     5   initial kind of training you did working           5   or just some years?
     6   with other auditors and these annual               6        A. Just some years.
     7   meetings, were there any other kinds of            7        Q. How were you invited to
     8   trainings that you attended?                       8   those? Just someone said you should go,
     9        A. When I -- I believe before I               9   or was it a regular schedule?
    10   took over the director role I was sent to         10        A. No. I was assigned by my
    11   Reid Interrogation School.                        11   senior director.
    12        Q. What's that?                              12        Q. Okay. To go to a specific
    13        A. It's a school that teaches                13   conference that occurred or just they
    14   you how to interrogate, conduct                   14   would say, I want you to go to this
    15   interviews and interrogations.                    15   conference next month?
    16        Q. And that was -- what time                 16        A. He would instruct me which
    17   period did you do that?                           17   conferences he wanted me to go to.
    18        A. I don't recall.                           18        Q. Okay. And that was Steve
    19        Q. Have an estimate of a range               19   Mays?
    20   of the years you think it might have              20        A. Yes.
    21   occurred?                                         21        Q. Any other training that you
    22        A. Early 2000s.                              22   took that you can think of?
    23        Q. Okay. How long was that                   23        A. Possibly, but nothing that
    24   program?                                          24   comes to mind right now.
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                                             Page 310                                             Page 312
     1         Q. We talked about the 2007               1   correct?
     2   situation where the Orlando facility got        2            MR. NICHOLAS: Object to the
     3   its registration revoked and -- do you          3        form.
     4   recall that?                                    4            THE WITNESS: I think I
     5         A. Suspended.                             5        stated I assumed there was, yes.
     6         Q. Suspended, correct. Sorry.             6   BY MR. PIFKO:
     7            Do you recall that?                    7        Q. Okay. You had a personal --
     8         A. Yes.                                   8   a loss in the family around that time?
     9         Q. Okay. And you are aware                9        A. That's correct.
    10   that there was some sort of settlement         10        Q. Okay. Did you take a leave
    11   agreement that was entered into between        11   from the company as a result of that?
    12   the company and the DEA?                       12        A. Yes, I did.
    13            MR. NICHOLAS: Object to the           13        Q. Okay. For about how long?
    14         form.                                    14        A. I think it was just over two
    15            THE WITNESS: Yeah, I'm                15   weeks.
    16         aware of some sort of agreement we       16        Q. And do you have a rough
    17         had.                                     17   estimate about when that was?
    18   BY MR. PIFKO:                                  18        A. It was in the 2006-2007 time
    19         Q. Okay. To your knowledge,              19   frame.
    20   did that result in a substantial change        20        Q. Okay. I'm going to hand you
    21   in the policies and procedures for the         21   another document.
    22   CSRA?                                          22            (Document marked for
    23            MR. NICHOLAS: Object to the           23        identification as Exhibit
    24         form.                                    24        AmerisourceBergen-Cherveny-2.)
                                             Page 311                                             Page 313
     1            THE WITNESS: Changes                   1   BY MR. PIFKO:
     2        resulted as a result of the                2        Q. I'm handing you what's been
     3        action.                                    3   marked as Exhibit 2. It is a PowerPoint.
     4   BY MR. PIFKO:                                   4   It doesn't have a Bates number on it
     5        Q. But did you feel that -- you            5   because it was a native printout that we
     6   know, you had already been in your role         6   had. But the Bates number is
     7   for quite a few years at that time. Did         7   ABDCMDL00269291.
     8   you feel there was like a sea change of         8             Take a minute to review it
     9   how the company was looking at diversion        9   and let me know when you're done.
    10   control after that?                            10             MR. NICHOLAS: Just for the
    11        A. A what change.                         11        record, there's no stamp on it.
    12        Q. A sea change, like a                   12             MR. PIFKO: Yeah, that's
    13   dramatic shift in how the company saw its      13        what I was just saying. It was
    14   regulatory responsibilities after that         14        produced natively. So it's
    15   happened?                                      15        ABDCMDL00269291.
    16            MR. NICHOLAS: Object to the           16             MR. NICHOLAS: Can you just
    17        form.                                     17        for the record tell us whether
    18            THE WITNESS: I would say              18        there was a confidentiality
    19        changes were implemented as a             19        designation on the document?
    20        result of that action, yes.               20             MR. PIFKO: I assume it was
    21   BY MR. PIFKO:                                  21        designated. We can go forward as
    22        Q. And I believe you testified            22        if it is. If it's not, we'll
    23   earlier that there was a lot of internal       23        correct the record later.
    24   discussion as a result of that action,         24             THE WITNESS: Okay.
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                                              Page 314                                             Page 316
     1   BY MR. PIFKO:                                    1            Do you see that?
     2        Q. All right. Have you seen                 2        A. Yes.
     3   this document before?                            3        Q. Do you have an understanding
     4        A. Not that I recall.                       4   about what that is?
     5        Q. Do you know what a DCM is if             5        A. I don't remember what DEA's
     6   you look at the first page here?                 6   initiative was with regard to that. That
     7            MR. NICHOLAS: I think you               7   was a long time ago.
     8        need to --                                  8        Q. Okay. You don't recall ever
     9            MR. PIFKO: It's                         9   being asked to do anything as a result of
    10        double-sided, I think.                     10   the initiative?
    11            MR. NICHOLAS: Where are                11        A. No.
    12        you? On the upper page?                    12        Q. You don't recall ever being
    13            MR. PIFKO: Yeah, the                   13   told to do anything specific with respect
    14        very -- very first page. Yeah,             14   to concerns about internet pharmacies?
    15        right there.                               15        A. I don't recall anything that
    16            THE WITNESS: VP/DCM                    16   I was instructed to do specific, no.
    17        meeting? Yes.                              17        Q. Do you remember a discussion
    18   BY MR. PIFKO:                                   18   about any specific concerns about
    19        Q. What is a DCM?                          19   internet pharmacies in general?
    20        A. That's an acronym for                   20        A. We were aware that internet
    21   distribution center manager.                    21   pharmacies existed.
    22        Q. Okay. Those are people that             22        Q. Do you remember them being a
    23   you would have interacted with when you         23   cause for concern?
    24   were conducting the audit?                      24        A. Yes. That was a focus of
                                              Page 315                                             Page 317
     1        A. Yes.                                     1   our reviews.
     2        Q. The date here, August 28,                2        Q. Okay. When do you remember
     3   2007, do you see that?                           3   that being a focus of your reviews?
     4        A. Yes.                                     4        A. That general time period.
     5        Q. Based on your memory of                  5        Q. In 2007?
     6   events, is that consistent with the time         6        A. Yes.
     7   on or around when the company had this           7        Q. And why did they become a
     8   enforcement action in Orlando?                   8   focus of your reviews at that time?
     9        A. Yes, right in that time                  9        A. It was a lot of information
    10   period.                                         10   in the media about internet pharmacies.
    11        Q. Okay. You just spent a few              11   We knew that it was a problem within the
    12   minutes looking at the document. Would          12   country. We knew DEA had an initiative
    13   you agree that this is a discussion of          13   to try to -- to try to address it.
    14   some changes that occurred as a result of       14        Q. Diversion was occurring more
    15   the suspension of the Orlando                   15   at these pharmacies; is that correct?
    16   registration?                                   16            MR. NICHOLAS: Objection.
    17            MR. NICHOLAS: Object to the            17        Object to the form.
    18        form.                                      18            THE WITNESS: According -- I
    19            THE WITNESS: Yes, I would.             19        would say according to DEA. Yes.
    20   BY MR. PIFKO:                                   20   BY MR. PIFKO:
    21        Q. Let's go to the second page             21        Q. And you said you saw media
    22   here. Do you see it says, "DEA's                22   reports?
    23   internet pharmacy initiative, suspicious        23        A. Yeah. There was a lot --
    24   order monitoring"?                              24   there was a lot of information out in the
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     1   media regarding internet pharmacies back        1       A.    Okay.
     2   then.                                           2       Q.    It says, "DEA summary."
     3        Q. What kind of information?               3            Do you see that?
     4        A. Just general information.               4        A. Yes.
     5        Q. Like discussing problems and            5        Q. Okay. It's got a timeline
     6   violations that were occurring at               6   of events here.
     7   internet pharmacies? Is that what you           7            Do you see that?
     8   mean?                                           8        A. Yes, I do.
     9        A. Generally a problem within              9        Q. Okay. Is this consistent
    10   the industry that was resulting in -- in       10   with your understanding of the events
    11   diversion according to the DEA, yes.           11   that occurred in connection with the
    12        Q. Okay. And specifically                 12   registration of the Orlando facility
    13   diversion of opioids?                          13   being suspended?
    14        A. Controlled substances in               14        A. Well, the fact that it's on
    15   general.                                       15   a PowerPoint that we produced, I would
    16        Q. Okay. But that includes                16   assume this information is accurate.
    17   opioids?                                       17        Q. Okay. Did anyone contact
    18        A. Yes, controlled substance              18   you when the Orlando facility first got
    19   includes opioids.                              19   the order to show cause?
    20        Q. You talked about you                   20        A. I don't remember who
    21   understood this was a concern of               21   contacted me.
    22   something that was being discussed at the      22        Q. At some point, someone
    23   company, correct?                              23   contacted you about this issue, the fact
    24        A. We were aware of it, yes.              24   that the Orlando registration had been
                                             Page 319                                             Page 321
     1        Q. Okay. What steps did the                1   suspended, correct?
     2   company take to address those concerns?         2        A. I would say that I became
     3        A. I don't recall. It was too              3   aware of it.
     4   long ago. I don't remember specific             4        Q. Okay. How do you believe
     5   steps that we took.                             5   you first became aware of it?
     6        Q. Do you remember people                  6        A. I have no idea.
     7   talking about taking any steps or just          7        Q. You were conducting audits
     8   being concerned?                                8   at that time, correct?
     9        A. Again, we're talking                    9        A. Yes.
    10   11 years ago. I don't remember specific        10        Q. Did anyone tell you that
    11   steps that were taken.                         11   there should be changes in the way the
    12        Q. Do you remember if anyone              12   company conducts its audit process to
    13   took any effort to take any steps?             13   prevent things like this from happening?
    14        A. I don't recall.                        14        A. No, not that I recall.
    15             MR. PIFKO: Sterling is               15        Q. Do you recall having any
    16        telling me that this is marked            16   meetings about the fact that this was
    17        highly confidential. We can act           17   happening and what the company was going
    18        accordingly with this for the             18   to do?
    19        record.                                   19        A. No. Like I said, as soon as
    20             MR. NICHOLAS: Okay.                  20   it happened -- it was bad timing. My
    21   BY MR. PIFKO:                                  21   father passed away. So I had to leave
    22        Q. Let go to -- Page -- there             22   for, you know, a period of time. It
    23   are page numbers on here -- 4. Tell me         23   might have been more than two and a half
    24   when you're there.                             24   weeks. I think I stated that before.
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     1   And when I got back, a lot of these              1        Q. Yeah.
     2   changes had already been made. So I was          2        A. Yeah, they reported to us.
     3   sort of out of pocket when a lot of this         3        Q. And do you know if their job
     4   occurred.                                        4   performance was measured on how
     5        Q. Okay. When you got back, do              5   effectively they managed a distribution
     6   you recall there being changes to the way        6   center's compliance?
     7   you were supposed to perform your job            7        A. I don't recall.
     8   functions?                                       8        Q. If violations occurred at a
     9        A. I don't recall specifics.                9   facility, would there be disciplinary
    10        Q. How about in general?                   10   action taken against a compliance
    11        A. I don't recall.                         11   manager?
    12        Q. So you don't recall whether             12             MR. NICHOLAS: Object to the
    13   there were any changes in how you had to        13        form.
    14   conduct your job functions after the            14             THE WITNESS: We would
    15   suspension occurred?                            15        manage the compliance managers,
    16        A. Not specifically.                       16        and they would be -- they would
    17        Q. Or generally either, I'm                17        be -- their performance would be
    18   asking.                                         18        reviewed as a result of how
    19        A. I know that the diversion               19        successful they were with regard
    20   program was changed. I know that the            20        to their audit scores. So yes, it
    21   change resulted in the compliance               21        played a direct role.
    22   managers reporting to the regional              22   BY MR. PIFKO:
    23   directors. I know those two changes             23        Q. So at the end of an audit,
    24   occurred. I don't remember exactly when         24   there's an audit score?
                                              Page 323                                            Page 325
     1   those changes occurred following the             1        A. That's correct.
     2   suspension. But I know that that those           2        Q. Okay. So you as one of the
     3   were two changes that occurred.                  3   audits -- auditors, when you fill out the
     4        Q. And you were one of the                  4   audit report, you put a score at the end
     5   regional directors, correct?                     5   of it?
     6        A. Yes.                                     6        A. Yes.
     7        Q. So the compliance managers               7        Q. What was the range of scores
     8   weren't reporting to you prior to that           8   that one could get?
     9   time?                                            9        A. I don't recall back then.
    10        A. That's correct.                         10   But I know when I left the audit findings
    11        Q. They just reported up to the            11   would accumulate and a score of 25 or
    12   distribution center managers? I believe         12   less was a passing score. Anything above
    13   that's what you said.                           13   that would have been considered a failing
    14        A. That's correct.                         14   score.
    15        Q. Do you have an understanding            15        Q. Did you ever discipline any
    16   as to why that change was made for the          16   compliance managers who reported to you?
    17   compliance managers to report directly to       17             MR. NICHOLAS: Object to the
    18   people like you?                                18        form.
    19        A. I'm not sure what factors               19             THE WITNESS: You know, I
    20   played into that change, no.                    20        believe -- I can't remember
    21        Q. Then did you have the                   21        specifically. But I believe that
    22   ability to hire and fire them?                  22        I -- I would put compliance
    23        A. What, after they began                  23        managers on a program if they --
    24   reporting to us?                                24        if they were underperforming.
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     1   BY MR. PIFKO:                                   1        objection.
     2       Q. What was the program?                    2            THE WITNESS: I can't
     3       A. It's a performance program.              3        remember specifics.
     4   They would -- they would be reviewed, you       4   BY MR. PIFKO:
     5   know, for a period of time after the            5        Q. Do you have any
     6   audit occurred that resulted in the plan.       6   understanding about what the action was
     7   I don't remember specifics. It's too            7   about?
     8   long ago. But that's generally how we           8        A. I did --
     9   would handle compliance managers that           9            MR. NICHOLAS: Same
    10   consistently had high scores or failing        10        objection.
    11   audits.                                        11            THE WITNESS: I just don't
    12       Q. Do you believe you ever                 12        recall it right now. I didn't
    13   terminated anyone who was a compliance         13        really prepare for that.
    14   manager as a result of poor performance?       14   BY MR. PIFKO:
    15            MR. NICHOLAS: Object to the           15        Q. Is there something that you
    16       form.                                      16   would look at to refresh your
    17            THE WITNESS: Yes.                     17   recollection?
    18   BY MR. PIFKO:                                  18            MR. NICHOLAS: Same
    19       Q. You can -- on how many                  19        objection. Object to the form.
    20   occasions?                                     20            THE WITNESS: Not here.
    21       A. I terminated our compliance             21   BY MR. PIFKO:
    22   manager in our Bellco distribution             22        Q. Did you ever see a
    23   center. In our Bethlehem distribution          23   settlement agreement between the Bellco
    24   center as well.                                24   distribution center and the government?
                                             Page 327                                            Page 329
     1        Q. When did those terminations             1           MR. NICHOLAS: Object to the
     2   occur?                                          2       form.
     3        A. I can't recall the specific             3           THE WITNESS: I believe I
     4   dates.                                          4       did.
     5        Q. In the last five years or               5   BY MR. PIFKO:
     6   longer ago?                                     6       Q. Would that have been
     7        A. Oh, it was longer ago.                  7   provided to you around the time that it
     8        Q. The Bellco distribution                 8   was executed?
     9   center, was that -- that was under your         9           MR. NICHOLAS: Object to the
    10   purview?                                       10       form.
    11        A. Yes, it was.                           11           THE WITNESS: Yes, I believe
    12        Q. Are you aware that they had            12       it would.
    13   a settlement with the Attorney General?        13   BY MR. PIFKO:
    14            MR. NICHOLAS: Object to the           14       Q. Do you remember changing
    15        form.                                     15   anything about the operations at that
    16            THE WITNESS: I knew they              16   center as a result of the Attorney
    17        had action that was being taken           17   General's action there?
    18        against them. I can't recall the          18           MR. NICHOLAS: Same
    19        specifics of that action.                 19       objection.
    20   BY MR. PIFKO:                                  20           THE WITNESS: I have a
    21        Q. Do you understand that that            21       general recollection that some
    22   action concerned diversion control             22       changes occurred as a result of
    23   issues?                                        23       that action.
    24            MR. NICHOLAS: Same                    24   BY MR. PIFKO:
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     1        Q. But you don't know what                 1   at that time?
     2   changes were made?                              2        A. Karen Girillo was my
     3        A. There were a number of                  3   compliance manager at that facility.
     4   changes. I can't remember specifics. It         4        Q. Is there anything different
     5   was too long ago.                               5   about that facility compared to other
     6        Q. Did it affect diversion                 6   distribution centers?
     7   control activities?                             7             MR. NICHOLAS: Object to the
     8            MR. NICHOLAS: Same                     8        form.
     9        objection.                                 9             THE WITNESS: Yeah. Bellco
    10            THE WITNESS: Possibly. I              10        had two divisions. They had one
    11        don't recall.                             11        full line wholesale operation that
    12   BY MR. PIFKO:                                  12        serviced a Tri-State area and they
    13        Q. Who was the manager of that            13        also had a division called Bellco
    14   facility?                                      14        Generics that shipped products
    15        A. It transitioned over several           15        nationwide.
    16   years to multiple people. I believe it         16   BY MR. PIFKO:
    17   may have been Mike Lawlor at that time.        17        Q. What -- how did the generics
    18   But I can't be certain.                        18   business different from other types of
    19        Q. Were there -- are you aware            19   businesses that occurred at distribution
    20   of whether there were any personnel            20   centers, AmerisourceBergen's distribution
    21   changes as a result of the Attorney            21   centers?
    22   General's action concerning that               22             MR. NICHOLAS: Objection.
    23   facility?                                      23        Form and scope. Go ahead.
    24            MR. NICHOLAS: Object to the           24             THE WITNESS: Bell Generics
                                             Page 331                                               Page 333
     1       form.                                       1        specialized in low cost products,
     2            THE WITNESS: Don't remember            2        limited products that were more
     3       specifics with regards to                   3        competitive than other
     4       personnel changes resulting from            4        distribution centers and other
     5       that.                                       5        wholesalers. So they -- they had
     6   BY MR. PIFKO:                                   6        a market across the United States.
     7       Q. Did you personally interact              7        They had customers in all 50
     8   with anyone from the government in              8        states.
     9   connection with that action?                    9   BY MR. PIFKO:
    10            MR. NICHOLAS: Objection.              10        Q. And then the -- the
    11   BY MR. PIFKO:                                  11   Tri-State regional distribution, was that
    12       Q. The AG action concerning the            12   more similar to the types of business
    13   Bellco facility?                               13   that the other distribution centers did?
    14            MR. NICHOLAS: Object to the           14            MR. NICHOLAS: Same
    15       form. Scope.                               15        objection.
    16            THE WITNESS: I worked with            16            THE WITNESS: Yes, that's
    17       the distribution center to -- to           17        correct.
    18       make corrections, but again it was         18   BY MR. PIFKO:
    19       a long time ago. I don't remember          19        Q. Let's go back to Exhibit 2,
    20       specifics.                                 20   Slide 5. Do you see that?
    21   BY MR. PIFKO:                                  21        A. Yes.
    22       Q. Is there a name of anyone               22        Q. Okay. It talks about
    23   besides the manager of that distribution       23   enhancements for the diversion control
    24   center that you remember interacting with      24   program. Do you see that?
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     1        A. Order monitoring program?                1        Q. Okay. So did you -- did you
     2        Q. Well, where it says,                     2   have any involvement with conducting this
     3   "48-hour reporting to DEA, know your             3   "know your customer" due diligence that's
     4   customer"?                                       4   discussed here that was implemented in
     5        A. Yeah.                                    5   2007?
     6        Q. All those things, do you see             6        A. No, I don't believe so.
     7   that?                                            7   That was handled by a different team.
     8        A. Yeah.                                    8        Q. Do you know the team that
     9        Q. Okay. Are you familiar with              9   handled that?
    10   what those enhancements were?                   10        A. That was the diversion
    11        A. Not in a detailed way, no.              11   control team under corporate.
    12        Q. Do you know what "know your             12        Q. Who -- who was on that team?
    13   customer" means?                                13        A. I don't recall the specific
    14        A. Yes. I understand the DEA's             14   individuals. I know it was headed by Ed
    15   "know your customer" component.                 15   Hazewski.
    16        Q. What is that, what is your              16        Q. Anyone else that you can
    17   understanding of what that means?               17   think of?
    18        A. That we should have a good              18        A. Those investigators
    19   understanding of what their business            19   transitioned in and out. I don't recall.
    20   model is so we have a better                    20   Scott Kirsch was one investigator.
    21   understanding of the orders that they are       21        Q. Anyone else?
    22   placing with -- with our distribution           22        A. I can't remember.
    23   centers.                                        23        Q. Order monitoring program.
    24        Q. And when you say "they," you            24   Next thing down here. It's got establish
                                              Page 335                                           Page 337
     1   mean your customer?                              1   thresholds. Do you know what a threshold
     2       A. Correct.                                  2   is?
     3       Q. Did you -- have you -- other              3        A. Yes, I have a basic
     4   than the investigations that you                 4   understanding of what a threshold is.
     5   conducted between 2005 and 2007, did you         5        Q. Okay. What's your
     6   ever conduct any due diligence                   6   understanding?
     7   investigations concerning customers?             7        A. I don't know exactly what
     8       A. When you say --                           8   went into those thresholds. I know it's
     9           MR. NICHOLAS: Object to the              9   a level at which, you know, purchase
    10       form.                                       10   activity would draw a flag and hold the
    11           THE WITNESS: When you say               11   order until it could be investigated.
    12       due diligence investigations, I             12        Q. And then it says, "Review at
    13       was -- I was conducting                     13   distribution centers." Is that what it
    14       investigations of a possible                14   says?
    15       excessive purchase report. So if            15        A. Yes.
    16       you would classify that as a due            16        Q. Okay. What does that mean,
    17       diligence, then I would say yes.            17   do you know what that means?
    18   BY MR. PIFKO:                                   18        A. I believe that's when the
    19       Q. This is after 2007 is what               19   RPICs were implemented at the DC level.
    20   I'm asking.                                     20        Q. And before that what was the
    21       A. Post 2007?                               21   process?
    22       Q. Yeah.                                    22        A. Prior to 2007 orders weren't
    23       A. No. My responsibilities                  23   held when investigation -- or when a
    24   ceased after 2007 regarding that.               24   suspicious order was flagged. We would
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     1   conduct those investigations after the          1   well.
     2   fact.                                           2        Q. Who else had that
     3         Q. And so was there a personnel           3   responsibility?
     4   change? I believe we -- we talked about         4        A. A number of -- a number of
     5   that under the computer ordering system,        5   associates held that responsibility
     6   there are other reasons for an order to         6   including the warehouse managers,
     7   be flagged like if there was a payment          7   compliance clerks.
     8   credit issue -- I forget, there was some        8        Q. The order -- we talked about
     9   other reason that you said for an order         9   the filling of orders earlier. Do you
    10   to be held. So there was already someone       10   recall that? It comes in from the
    11   whose job it was to be doing that prior        11   computer. They put it in the totes,
    12   to 2007; is that correct?                      12   things like that?
    13             MR. NICHOLAS: Object to the          13        A. Yes.
    14         form. Go ahead.                          14        Q. That occurs at night,
    15             THE WITNESS: Yeah. There             15   correct?
    16         were -- there were other hold            16        A. Depending on the
    17         codes that did not include the           17   distribution center. Some of those
    18         order monitoring program hold            18   happen during the day as well.
    19         code. So there was a number of           19        Q. Okay. Does it primarily
    20         hold codes that would hold an            20   occur at night?
    21         order, like licensing, credit and        21        A. Yes.
    22         that kind of thing.                      22        Q. The investigation thing here
    23   BY MR. PIFKO:                                  23   on Page 5. Do you see that?
    24         Q. Okay. And so there was                24        A. Yes.
                                             Page 339                                             Page 341
     1   already someone's job who it was to deal        1        Q. Do you know what that's
     2   with those holds, correct?                      2   referring to?
     3        A. Yes. I believe so.                      3        A. It states, "Report to DEA."
     4        Q. Okay. Were -- were those                4   I can't state specifically what they are
     5   same people then added this                     5   referring to in that bullet point.
     6   responsibility of reviewing the order           6        Q. The next section, on Page 6,
     7   monitoring program holds?                       7   it says, "Audits, investigations, and
     8        A. Back in that time frame, I              8   regulatory activity."
     9   don't recall who was handling those kinds       9             That's -- that was --
    10   of holds at the distribution center            10   includes activities in your purview as
    11   level.                                         11   the regional director, correct?
    12        Q. You don't know who the RPICs           12        A. Yes.
    13   were when this program was initiated?          13        Q. Go to the next page. It's
    14        A. No.                                    14   got a summary of DEA audits.
    15        Q. Okay. I believe you                    15             Do you see that?
    16   testified earlier that the -- the data         16        A. Yes.
    17   manage -- data management people, I            17        Q. Are you familiar with these
    18   forget what the term you used?                 18   statistics?
    19        A. It was just one of -- they             19        A. Not for this particular
    20   were usually an RPIC.                          20   PowerPoint. But I would take this
    21        Q. Okay.                                  21   information as being accurate.
    22        A. But there were other people            22        Q. These are -- concern audits
    23   at the division -- at the -- at the DC         23   and inspections at AmerisourceBergen's
    24   level who had that responsibility as           24   facilities?
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     1       A. Yes.                                    1   That's for the Orlando facility?
     2       Q. It mentions this MOU here.              2        A. Yes.
     3   Do you see that, in 2006?                      3        Q. And then it says, "Six
     4       A. Yes.                                    4   distribution center inspections for order
     5       Q. Do you know what that was?              5   monitoring program compliance."
     6       A. No, I don't recall.                     6            Is that correct?
     7       Q. It says here, "Not good."               7        A. Yes.
     8           Do you see that?                       8        Q. Do you know what those were?
     9       A. Yes.                                    9        A. I believe they were the six
    10       Q. You agree with -- that an              10   distribution centers that the DEA audited
    11   MOU is not -- not good?                       11   as a precursor to get our registration
    12       A. From a regulatory --                   12   back in active status for the Orlando
    13           MR. NICHOLAS: Object to --            13   distribution center.
    14           THE WITNESS: Sorry.                   14        Q. Okay. So the Orlando
    15           MR. NICHOLAS: Object to the           15   distribution center had issues that led
    16       form.                                     16   to the suspension, and then the DEA went
    17           THE WITNESS: Yeah, from a             17   to inspect other facilities as a result
    18       regulatory standpoint we don't            18   of that?
    19       like MOUs.                                19            MR. NICHOLAS: Object to the
    20   BY MR. PIFKO:                                 20        form.
    21       Q. Why is that?                           21            THE WITNESS: That's my
    22       A. Because we were doing                  22        understanding of the chronology,
    23   something wrong, according to DEA.            23        yes.
    24       Q. When there's an MOU, do you            24   BY MR. PIFKO:
                                            Page 343                                            Page 345
     1   try to change what's going on at the           1        Q. How did you come to that
     2   facility so you don't -- so it doesn't         2   understanding?
     3   happen again?                                  3            MR. NICHOLAS: Same
     4        A. Yes.                                   4        objection.
     5        Q. It's a serious event?                  5            THE WITNESS: Based on this
     6            MR. NICHOLAS: Object to the           6        report.
     7        form.                                     7   BY MR. PIFKO:
     8            THE WITNESS: Yes, it is.              8        Q. Did you talk to anyone at
     9   BY MR. PIFKO:                                  9   the company about that?
    10        Q. How about a letter of                 10        A. I don't recall back in that
    11   admonition? Do you see that? Just above       11   time period.
    12   that?                                         12        Q. Okay. But looking at that,
    13        A. Yes. Yes, I do.                       13   you're able to tell the chronology?
    14        Q. Is that a significant event?          14            MR. NICHOLAS: Same
    15        A. Yes.                                  15        objection.
    16            MR. NICHOLAS: Object to the          16            THE WITNESS: I very vaguely
    17        form.                                    17        recall, you know, what transpired
    18            THE WITNESS: Yes.                    18        in the 2007 time frame. I
    19   BY MR. PIFKO:                                 19        remember there was audits from the
    20        Q. Do you recall what that's             20        DEA in order to get the
    21   referring to in 2006?                         21        registration back in active
    22        A. No, I don't.                          22        status.
    23        Q. It talks about 2007                   23   BY MR. PIFKO:
    24   activities, the registration suspension.      24        Q. Would you have attended any
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     1   of those audits if the DEA conducted an        1         correct. Not routinely.
     2   audit?                                         2   BY MR. PIFKO:
     3             MR. NICHOLAS: Object to the          3         Q. Going to Slide 8, it's got a
     4        form.                                     4   list of different audits of different
     5             THE WITNESS: I don't recall          5   facilities. Are these all facilities
     6        if I attended any of those. I may         6   that the company had around 2007?
     7        have attended one. I don't                7         A. Yes, that appears to be the
     8        recall.                                   8   information on this page.
     9   BY MR. PIFKO:                                  9         Q. It's consistent with what
    10        Q. As an auditor, was that               10   your understanding is about the
    11   something that you would do from time to      11   facilities based on your experience with
    12   time if the DEA wanted to audit the           12   the company?
    13   facility, would they -- would you             13         A. I'm not sure I understand
    14   accompany them on such an audit?              14   your question.
    15             MR. NICHOLAS: Object to the         15         Q. I'm just -- well, you said
    16        form.                                    16   this is what's on the page. But I'm
    17             THE WITNESS: Not routinely.         17   asking you, you worked there. Is this --
    18        Normally the DEA would conduct           18   these names of these places, is this
    19        unannounced audits, and the audit        19   consistent with facilities that the
    20        was initiated at one of our              20   company had at the time?
    21        distribution centers. We would           21         A. Yes, I would agree with
    22        work with the compliance manager.        22   that.
    23        But we wouldn't travel there to          23         Q. Okay. And these would be
    24        conduct the audit with the DEA.          24   months and years when the facilities had
                                            Page 347                                             Page 349
     1   BY MR. PIFKO:                                  1   audits?
     2        Q. Okay. So DEA arrives at a              2        A. Yeah. This would be the
     3   facility on such an occasion. The              3   most recent DEA audit for these subject
     4   compliance manager might call you to ask       4   distribution centers.
     5   for advice?                                    5        Q. Okay. Some of these have a
     6             MR. NICHOLAS: Object to the          6   letter G after it. Do you know what that
     7        form.                                     7   refers to?
     8             THE WITNESS: Per internal            8            MR. NICHOLAS: Object to the
     9        policy, if the DEA walks in to            9        form, and no foundation.
    10        initiate an audit, they're               10            THE WITNESS: That's a
    11        required to notify their regional        11        designation for Greenfield
    12        director immediately.                    12        distribution centers.
    13   BY MR. PIFKO:                                 13   BY MR. PIFKO:
    14        Q. The compliance manager is             14        Q. What?
    15   required to notify you? Is that what          15        A. I believe the G is a
    16   you're saying?                                16   designation for Greenfield distribution
    17        A. Yes, correct.                         17   centers.
    18        Q. And so you would interact             18        Q. Okay. What does that mean?
    19   with them on the phone and maybe by           19        A. Those facilities were larger
    20   e-mail, but you wouldn't show up in           20   than a standard facility. They had a
    21   person?                                       21   common footprint. They had a common
    22             MR. NICHOLAS: Object to the         22   blueprint. And we mimicked that
    23        form.                                    23   blueprint and footprint in multiple
    24             THE WITNESS: That's                 24   distribution centers throughout the
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     1   company. So it's just a -- designates a          1        A. Yes. This looks -- this
     2   larger distribution center.                      2   looks routine for those years.
     3        Q. Okay. They're like clones                3        Q. Let's go to Slide 11. It
     4   of each other, essentially?                      4   talks about audit results.
     5            MR. NICHOLAS: Object to the             5            Do you see this?
     6        form.                                       6        A. Yes.
     7            THE WITNESS: Not exactly.               7        Q. Do you have an understanding
     8        But generally they have the common          8   about what's being communicated here?
     9        footprint and blueprint, yeah.              9            MR. NICHOLAS: Objection.
    10   BY MR. PIFKO:                                   10        Form. Foundation.
    11        Q. And these were the largest              11            THE WITNESS: Yes.
    12   facilities?                                     12   BY MR. PIFKO:
    13            MR. NICHOLAS: Same                     13        Q. Can you tell me what's being
    14        objection.                                 14   communicated here?
    15            THE WITNESS: Within the ABC            15        A. It's showing CSRA audits
    16        network, yes.                              16   that were conducted in the years 2005,
    17   BY MR. PIFKO:                                   17   2006, 2007, and 2008 with the high level
    18        Q. You visited all these                   18   results of those audits.
    19   facilities over your tenure as an               19        Q. What does that mean? The
    20   auditor?                                        20   results there, how do I understand that?
    21        A. Yes, I visited all of them.             21   Level 1, Level 2, Level 3, and it's got
    22        Q. In the copy that was                    22   some percentages.
    23   produced in its actual -- as we call it,        23        A. As I indicated before, I
    24   native format, you can see up on the            24   don't remember exactly the audit score
                                              Page 351                                            Page 353
     1   screen it's in color. The facilities on          1   requirements to be a passing audit in
     2   the right are in red.                            2   2005, 2006, 2007, during those years.
     3            Do you have an understanding            3   But I believe 25 was the audit score that
     4   about why those are in red? Is there             4   would be considered a passing score. So
     5   something different about those                  5   that would be considered a Level 1 audit.
     6   facilities as it concerns audit history          6            There was a subsequent score
     7   versus the other facilities?                     7   of Level 2 that was a range above 25, and
     8            MR. NICHOLAS: Objection.                8   then that was a Level 2. And if it went
     9        Form. Foundation.                           9   above that level two and it became a
    10            THE WITNESS: No, I don't               10   Level 3 audit. So it was just degrees
    11        recall what that designates.               11   above a passing audit that was, you know,
    12   BY MR. PIFKO:                                   12   different degrees of failing the audit.
    13        Q. Go to Slide 10, please.                 13        Q. Okay.
    14   State agencies would audit your                 14        A. So that's basically what
    15   facilities from time to time as well; is        15   you're seeing here. 25 had a passing
    16   that correct?                                   16   audit. One had a Level 2 audit, which
    17        A. That's correct.                         17   was a low -- low level fail, and then one
    18        Q. Okay. Seeing these                      18   had a Level 3 audit which was a higher
    19   statistics here, Board of Pharmacy,             19   level fail.
    20   Department of Health inspections from           20        Q. And it looks like, if I go
    21   2004 to 2007, is that consistent with           21   to 2006, you can have a Level 4 failure,
    22   your understanding of the number of             22   which is even higher?
    23   inspections that would have occurred by         23        A. Yes.
    24   state agencies?                                 24        Q. So this is reflecting the
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     1   number of facilities and how they fell            1         A. Yes.
     2   into the passing rates?                           2         Q. Is it your understanding
     3        A. Yes.                                      3   there's a financial impact when there's
     4        Q. Go to Slide 13. Are you                   4   regulatory action taken against a
     5   there?                                            5   AmerisourceBergen facility?
     6        A. Yes.                                      6             MR. NICHOLAS: Object to the
     7        Q. It talks about                            7         form and to foundation.
     8   investigations. Are you familiar what             8             THE WITNESS: Not always.
     9   this slide is reflecting?                         9   BY MR. PIFKO:
    10            MR. NICHOLAS: Objection.                10         Q. Do you agree with the --
    11        Form. Foundation.                           11             MR. PIFKO: Can people on
    12            THE WITNESS: It indicates               12         the phone mute their phone?
    13        the number of investigations that           13   BY MR. PIFKO:
    14        were conducted in each year, it             14         Q. Do you have an understanding
    15        looks like.                                 15   about what this is referring to here when
    16   BY MR. PIFKO:                                    16   it talks about the financial impact?
    17        Q. Okay. It talks about                     17             MR. NICHOLAS: Objection to
    18   projecting a 1,500 percent increase from         18         the form and to the foundation.
    19   2004 to 2007.                                    19             THE WITNESS: Well, if it
    20            Do you see that?                        20         relates to the action in Orlando,
    21        A. Yes.                                     21         we had to take a lot of steps to
    22        Q. Do you have an understanding             22         service our customers from
    23   about why there was a projection that it         23         distribution centers other than
    24   would increase to that degree?                   24         Orlando DC. So that obviously
                                               Page 355                                             Page 357
     1           MR. NICHOLAS: Same                        1        would have a financial impact.
     2       objection. Form. Foundation.                  2        Beyond that, I couldn't really
     3           THE WITNESS: No, I don't                  3        speak to it.
     4       have a -- I don't have a detailed             4   BY MR. PIFKO:
     5       recollection of what these                    5        Q. When you say you had to take
     6       investigations entailed or what               6   steps to serve your customers from other
     7       type of investigations they were.             7   distribution centers, what do you mean?
     8       So I -- I don't recall.                       8        A. Well, those accounts were
     9   BY MR. PIFKO:                                     9   set up under the Orlando distribution
    10       Q. Do you have an understanding              10   center. And if we have to change the
    11   about why they were projecting a                 11   system to ship these products from other
    12   substantial increase in investigations in        12   distribution centers, then that took a
    13   2007?                                            13   lot of work.
    14           MR. NICHOLAS: Same                       14        Q. So when that distribution
    15       objection. Form. Foundation.                 15   center was shut down, you serviced its
    16           THE WITNESS: I don't                     16   accounts through other distribution
    17       recall.                                      17   centers; is that correct?
    18   BY MR. PIFKO:                                    18        A. Yes, that's correct.
    19       Q. Go to Slide 16. It talks                  19        Q. Do you know if any accounts
    20   about the impact to AmerisourceBergen            20   were terminated as a result of the
    21   Corporation. Do you see that?                    21   suspension and the activities that
    22       A. Yes.                                      22   occurred at that facility?
    23       Q. One of them is financial                  23        A. I don't know. That would
    24   impact. Do you see that?                         24   not have been in my area at that time.
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     1        Q. Have you ever heard of                  1          MR. PIFKO: Yeah, but --
     2   something called the do-not-ship list?          2      just this document will be quick.
     3        A. Yes, I'm familiar with that.            3      I guess we don't -- we can take a
     4        Q. What does that mean if                  4      quick break.
     5   somebody is on the do-not-ship list?            5          MR. NICHOLAS: How much
     6        A. It's a list that indicates              6      longer do you think you have,
     7   customers that the company has terminated       7      Mark?
     8   so we just have kept a record of it over        8          MR. PIFKO: I'll give you a
     9   years.                                          9      better estimate when we come back.
    10        Q. Are you supposed to be                 10          THE VIDEOGRAPHER: Going off
    11   shipping controlled substances to a            11      the record at 4:09 p.m.
    12   facility or a customer who is on the           12          (Short break.)
    13   do-not-ship list?                              13          THE VIDEOGRAPHER: Back on
    14        A. Well, the list indicates a             14      record. The time is 4:20 p.m.
    15   documented history of customers that were      15          (Document marked for
    16   blocked. So it didn't indicate that we         16      identification as Exhibit
    17   couldn't reactivate them at a later date       17      AmerisourceBergen-Cherveny-3.)
    18   based on current information that we had       18   BY MR. PIFKO:
    19   on them. So just to clarify that answer.
    20        Q. Okay. But --
    21        A. While they were on there we
    22   would not ship to that customer.
    23        Q. Okay. But if they are on
    24   the do-not-ship list and they haven't
                                             Page 359                                        Page 361
     1   been reactivated, you shouldn't be
     2   shipping controlled substances to them;
     3   is that correct?
     4        A. Yeah, unless they were on
     5   there in error, I would agree with that.
     6        Q. Okay. It would violate the
     7   company's policy to do so, correct?
     8            MR. NICHOLAS: Object to the
     9        form. Go ahead.
    10            THE WITNESS: I'm not sure
    11        how the -- the do-not-ship list
    12        was documented in policy. But I
    13        would agree generally that, yeah,
    14        unless they are on there in error,
    15        they shouldn't be receiving
    16        controlled substances.
    17            MR. NICHOLAS: Before you
    18        get to the next document, if
    19        you're going to be a while, can we
    20        get a break?
    21            MR. PIFKO: It'll be quick.
    22            MR. NICHOLAS: Is this the
    23        last -- are you close to the end
    24        of the examination?
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                                                         1   the regulatory section of the DEA that
                                                         2   oversees suspicious order investigations
                                                         3   and DEA audits. Do you see that?
                                                         4         A. Yeah, I don't know. I
                                                         5   didn't know who Barbara was based on
                                                         6   this. But are you stipulating that
                                                         7   it's --
                                                         8         Q. Well, it says in the middle
                                                         9   here: "All, we have a tentative
                                                        10   agreement from the chief of the
                                                        11   regulatory section that oversees..."
                                                        12            Do you see that?
                                                        13         A. Yes.
                                                        14         Q. Okay. She is someone at the
                                                        15   DEA as far as you know?
                                                        16         A. Yeah, I don't know who
                                                        17   Barbara Bookholdt is, yeah.
                                                        18         Q. Do you recall discussing a
                                                        19   meeting with the DEA to go over the
                                                        20   issues that are reflected on 145774?
                                                        21         A. No, I don't remember this --
                                                        22   this meeting being conducted.
                                                        23         Q. Do you remember these --
                                                        24   these e-mails?
                                             Page 367                                             Page 369
                                                         1        A. No.
                                                         2        Q. It says here, you write at
                                                         3   the top, you say: I'm not sure how
                                                         4   specific we want to get with the CSOS
                                                         5   issues given our current setup."
                                                         6            Do you see that?
     7        Q. Handing you what's been                 7        A. Yes.
     8   marked as Exhibit 6.                            8        Q. Do you know what that's
     9            (Document marked for                   9   referring to?
    10        identification as Exhibit                 10        A. I don't recall.
    11        AmerisourceBergen-Cherveny-6.)            11        Q. Do you remember having
    12   BY MR. PIFKO:                                  12   concerns?
    13        Q. For the record it's a                  13            MR. NICHOLAS: Object to the
    14   two-page document Bates labeled                14        form.
    15   ABDCMDL00145773 and 774.                       15            THE WITNESS: I don't think
    16            Your name is at the top               16        it was a concern. I think it was
    17   sending an e-mail to Steve Mays dated          17        regarding CSOS. The DEA largely
    18   February 26, 2013. Subject, proposed           18        doesn't understand their own CSOS
    19   meeting. Barbara Bookholdt.                    19        program. And then we have to
    20            Let me know when you're               20        explain it to them in more times
    21   ready to discuss.                              21        than not. So I think that's
    22        A. Okay.                                  22        probably where I was going here.
    23        Q. So this is talking about               23        But I don't recall this e-mail.
    24   setting up a meeting with the chief of         24   BY MR. PIFKO:
   Golkow Litigation Services                                               Page 93 (366 - 369)
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                                            Page 370                                            Page 372
     1        Q. So is there something unique           1   involvement with -- did you take on
     2   about your -- the way your system is set       2   serving on the regulatory affairs
     3   up compared to other members of the            3   committee at the HDA when you took on
     4   industry as far as you know?                   4   that role?
     5            MR. NICHOLAS: Object to the           5        A. No, I did not.
     6        form. Lack of foundation.                 6        Q. Do you now have any
     7            THE WITNESS: Not that I               7   involvement with the HDA?
     8        recall, no.                               8        A. No, none.
     9   BY MR. PIFKO:                                  9        Q. Okay. The -- the second
    10        Q. It talks about on 145774 the          10   page, I don't know if you understand when
    11   settlement agreement expiring. Do you         11   a document is produced in litigation, if
    12   see that?                                     12   you imagine like in your -- on your
    13        A. Yes.                                  13   desktop, if you click on a document it
    14        Q. Do you have an understanding          14   carries with it that it was created by
    15   about that?                                   15   someone or you know that it's connected
    16        A. Yeah. That's -- I think               16   to someone's computer. So the data that
    17   that's an error. I know it expired at         17   accompanied this file shows that it came
    18   one point. But it was renewed subsequent      18   from your files, the second page here.
    19   to that. So I don't think that's --           19            And so my question to you
    20   that's an accurate statement. But I do        20   is, do you remember looking at or
    21   see where they state that in the e-mail.      21   drafting redlines of this bill that was
    22        Q. What's your basis for                 22   being discussed here?
    23   understanding that there was a renewal?       23        A. No, I don't.
    24        A. General, my general                   24        Q. Okay. Do you know what this
                                            Page 371                                            Page 373
     1   understanding of where we currently are        1   discussion is about?
     2   with the agreement with the DEA resulting      2        A. It looks like HDMA having a
     3   from the 2007 action.                          3   discussion with regards to regulation.
     4        Q. Do you recall discussing               4        Q. Well, they are talking about
     5   that with anyone specifically?                 5   a Senate Bill 483, DEA enforcement bill,
     6        A. No.                                    6   do you see that?
     7            MR. NICHOLAS: Object to the           7        A. Yes. Yeah.
     8        form.                                     8        Q. Do you have any knowledge
     9            (Document marked for                  9   about what that is?
    10        identification as Exhibit                10            MR. NICHOLAS: Objection.
    11        AmerisourceBergen-Cherveny-4.)           11        Lack of foundation. And object to
    12   BY MR. PIFKO:                                 12        the form.
    13        Q. I'm handing you what's                13            THE WITNESS: No, I had
    14   marked as Exhibit 4.                          14        nothing to do with any review of
    15            For the record, this is a            15        this document.
    16   two-page document, Bates labeled              16   BY MR. PIFKO:
    17   ABDCMDL001731146 and 147.                     17        Q. Did you have any
    18        A. Okay.                                 18   understanding about why your name would
    19        Q. Okay. You were in your                19   be linked to the -- the attached language
    20   diversion control function at this point,     20   on this document?
    21   correct?                                      21            MR. NICHOLAS: Objection.
    22        A. Yeah. I was just -- it was            22        Lack of foundation, and object to
    23   in my first six months, yeah.                 23        the form of the document and -- go
    24        Q. Okay. Did you have any                24        ahead.
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                                            Page 374                                              Page 376
     1            THE WITNESS: No. It might             1   specific conference call.
     2       have been on the distribution              2        Q. Do you know what the Masters
     3       list. It might have come to me.            3   decision is? Do you see that reflected
     4   BY MR. PIFKO:                                  4   here?
     5       Q. Have you heard of the                   5        A. I have a basic understanding
     6   Ensuring Patient Access to Care Act?           6   of the Masters decision.
     7       A. No.                                     7        Q. What's your understanding of
     8       Q. Are you aware that through              8   it?
     9   the HDA, certain members of the                9        A. Masters was a wholesale
    10   pharmaceutical industry were trying to        10   distributor, and they were cited by the
    11   change laws and regulations that the DEA      11   DEA for not following internal policy
    12   enforced?                                     12   with regards to the regulation.
    13            MR. NICHOLAS: Objection to           13        Q. That's all of your
    14       the lack of foundation as well as         14   understanding?
    15       to the form.                              15        A. They didn't follow internal
    16            THE WITNESS: No, I don't             16   regulations, and they were cited as a
    17       recall this.                              17   result of that. That's basically my
    18            (Document marked for                 18   understanding of it. I don't -- I don't
    19       identification as Exhibit                 19   get too involved in litigation like this.
    20       AmerisourceBergen-Cherveny-5.)            20   That really is handled by David May. I
    21   BY MR. PIFKO:                                 21   spend all of my time with managing our
    22       Q. I'm handing you what's been            22   day-to-day operation of our diversion
    23   marked as Exhibit 5.                          23   program. So I really don't get into the
    24            For the record Exhibit 5 is          24   analysis too much of things like this.
                                            Page 375                                              Page 377
     1   Bates-labeled ABDCMDL0047022 through           1        Q. Did anyone discuss the
     2   47078. It's an e-mail dated July 12,           2   Masters decision with you or talk about
     3   2017. David May is asking you to listen        3   any changes that need to be made to the
     4   on this call on his behalf.                    4   company because of it?
     5            Do you see that?                      5        A. No. Those kinds of
     6        A. Yes.                                   6   discussions happened over my head.
     7        Q. Do you recall that                     7        Q. Okay. How about the
     8   occurring?                                     8   Mallinckrodt settlement? You see that's
     9        A. I do not.                              9   referenced there?
    10        Q. Did David from time to time           10        A. Yes.
    11   ask you to sit in on had calls for him?       11        Q. Do you know what that is?
    12        A. Very seldom.                          12        A. I don't even recall exactly
    13        Q. But on occasions, certain             13   what the Mallinckrodt settlement
    14   occasions you did?                            14   entailed.
    15        A. Like I said, very seldom.             15        Q. Okay. Do you know who
    16   This may have been the only time.             16   Mallinckrodt is?
    17        Q. And do you recall the                 17        A. Yes.
    18   discussion being reflected here?              18        Q. What are they?
    19        A. Not at all.                           19        A. They are a manufacturer.
    20        Q. Do you believe that you               20        Q. Okay. You're aware that
    21   would have dialed into this call?             21   they had some sort of issue that led to a
    22        A. Unless he subsequently told           22   settlement?
    23   me that he had it covered by somebody         23        A. Yes. I'm generally aware of
    24   else. But I don't recall attending this       24   it.
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                                             Page 378                                             Page 380
     1         Q.   Okay. What were you aware            1   compliance managers had to -- I'm sorry,
     2   of?                                             2   compliance managers, not the RPICs. That
     3        A. Generally that they had an              3   add to your workload?
     4   issue that resulted in a settlement.            4            MR. NICHOLAS: Object to the
     5        Q. Okay. Do you know if it                 5        form.
     6   concerned diversion control issues?             6            THE WITNESS: I'm not sure I
     7        A. I don't remember to what                7        understand. You mean at the point
     8   degree diversion was involved in that           8        that they started reporting to me?
     9   settlement cited.                               9   BY MR. PIFKO:
    10        Q. Do you know if anyone at the           10        Q. Yes.
    11   company was concerned about the company's      11        A. Yes, that added -- that
    12   activities as a result of that                 12   added work to our -- to our positions.
    13   settlement?                                    13        Q. Did you get any additional
    14            MR. NICHOLAS: Object to the           14   staffing to help you with that?
    15        form. Lack of foundation.                 15        A. No.
    16            THE WITNESS: I don't know.            16            MR. PIFKO: I don't have any
    17   BY MR. PIFKO:                                  17        further questions.
    18        Q. Do you feel that you had               18            MR. NICHOLAS: Just give me
    19   adequate resources to perform your job         19        one minute.
    20   functions?                                     20            THE VIDEOGRAPHER: Going off
    21        A. Under what job title?                  21        the record. 4:47 p.m.
    22        Q. When you were -- from -- in            22            (Short break.)
    23   the job you held from -- as the regional       23            MR. NICHOLAS: We have no
    24   manager from 2002 to 2015?                     24        questions.
                                             Page 379                                             Page 381
     1             MR. NICHOLAS: Object to the           1          MR. PIFKO: I think -- we
     2        form.                                      2      may meet and confer with you in
     3             THE WITNESS: Yes. I had               3      the future. But I think there's
     4        adequate resources to do my job.           4      some issues with documents, and
     5   BY MR. PIFKO:                                   5      we'll discuss it, but to the
     6        Q. Did you feel that -- you                6      extent that that affects this
     7   said it took all your time. Do you feel         7      deposition, we hold it open for
     8   like you had too much to do?                    8      that.
     9             MR. NICHOLAS: Object to the           9          (Excused.)
    10        form. Go ahead.                           10          (Deposition concluded at
    11             THE WITNESS: It was a very           11      approximately 4:50 p.m.)
    12        demanding job, a lot of putting           12
    13        out of fires. But yes, I had              13
    14        adequate sources to do the job            14
    15        adequately.                               15
    16   BY MR. PIFKO:                                  16
    17        Q. When you took the job of               17
    18   managing the RPICs, did that add to your       18
    19   workload?                                      19
    20        A. I don't know what you mean             20
    21   by when I took my job to manage the            21
    22   RPICs. Meaning when -- I don't know            22
    23   what--                                         23
    24        Q. When the -- when the                   24


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     1                                                     1           - - - - - -
     2            CERTIFICATE                                           ERRATA
     3
     4
                                                           2           - - - - - -
     5           I HEREBY CERTIFY that the                 3
         witness was duly sworn by me and that the         4   PAGE LINE CHANGE
     6   deposition is a true record of the                5   ____ ____ ____________________________
         testimony given by the witness.
     7                                                     6     REASON: ____________________________
                 It was requested before                   7   ____ ____ ____________________________
     8   completion of the deposition that the             8     REASON: ____________________________
         witness, ERIC CHERVENY, have the                  9   ____ ____ ____________________________
     9   opportunity to read and sign the
         deposition transcript.                           10     REASON: ____________________________
    10                                                    11   ____ ____ ____________________________
    11                                                    12     REASON: ____________________________
    12       _____ ____________________________
             MICHELLE L. GRAY,
                                                          13   ____ ____ ____________________________
    13       A Registered Professional                    14     REASON: ____________________________
             Reporter, Certified Shorthand                15   ____ ____ ____________________________
    14       Reporter, Certified Realtime                 16     REASON: ____________________________
             Reporter and Notary Public
    15       Dated: November 14, 2018                     17   ____ ____ ____________________________
    16                                                    18     REASON: ____________________________
    17                                                    19   ____ ____ ____________________________
    18             (The foregoing certification           20     REASON: ____________________________
    19   of this transcript does not apply to any
    20   reproduction of the same by any means,           21   ____ ____ ____________________________
    21   unless under the direct control and/or           22     REASON: ____________________________
    22   supervision of the certifying reporter.)         23   ____ ____ ____________________________
    23
    24                                                    24     REASON: ____________________________
                                               Page 383                                                   Page 385
     1        INSTRUCTIONS TO WITNESS                      1
     2                                                     2       ACKNOWLEDGMENT OF DEPONENT
                                                           3
     3            Please read your deposition
     4   over carefully and make any necessary
                                                           4           I,_____________________, do
     5   corrections. You should state the reason
                                                           5   hereby certify that I have read the
                                                           6   foregoing pages, 1 - 386, and that the
     6   in the appropriate space on the errata            7   same is a correct transcription of the
     7   sheet for any corrections that are made.          8   answers given by me to the questions
     8            After doing so, please sign              9   therein propounded, except for the
     9   the errata sheet and date it.                    10   corrections or changes in form or
    10            You are signing same subject            11   substance, if any, noted in the attached
    11   to the changes you have noted on the             12   Errata Sheet.
    12   errata sheet, which will be attached to          13
    13   your deposition.                                 14
    14            It is imperative that you               15   _______________________________________
    15   return the original errata sheet to the          16   ERIC CHERVENY             DATE
                                                          17
    16   deposing attorney within thirty (30) days
                                                          18
    17   of receipt of the deposition transcript          19   Subscribed and sworn
    18   by you. If you fail to do so, the
                                                               to before me this
    19   deposition transcript may be deemed to be        20   _____ day of ______________, 20____.
    20   accurate and may be used in court.               21   My commission expires:______________
    21
                                                          22
    22
                                                               ____________________________________
    23                                                    23   Notary Public
    24                                                    24


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     1          LAWYER'S NOTES
     2   PAGE LINE
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